Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 1 of 189 Page ID #:1




   1    Terry W. Bird – Bar No. 49038
           tbird@birdmarella.com
   2    Dorothy Wolpert – Bar No. 73213
           dwolpert@birdmarella.com
   3    *Naeun Rim – Bar No. 263558
           nrim@birdmarella.com
   4    Shoshana E. Bannett – Bar No. 241977
           sbannett@birdmarella.com
   5    Christopher J. Lee – Bar No. 322140
           clee@birdmarella.com
   6    Jimmy Threatt – Bar No. 325317
           jthreatt@birdmarella.com
   7    BIRD, MARELLA, BOXER,
        WOLPERT, NESSIM, DROOKS,
   8    LINCENBERG & RHOW, P.C.
        1875 Century Park East, 23rd Floor
   9    Los Angeles, California 90067-2561
        Telephone: (310) 201-2100
  10    Facsimile: (310) 201-2110
  11    Peter J. Eliasberg – Bar No. 189110          Donald Specter – Bar No. 83925
           peliasberg@aclusocal.org                     dspecter@prisonlaw.com
  12    Peter Bibring – Bar No. 223981               Sara Norman – Bar No. 189536
           pbibring@aclusocal.org                       snorman@prisonlaw.com
  13    ACLU FOUNDATION OF                           PRISON LAW OFFICE
        SOUTHERN CALIFORNIA                          1917 Fifth Street
  14    1313 W 8th Street                            Berkeley, California 94710
        Los Angeles, CA 90017                        Telephone: (510) 280-2621
  15    Telephone: (213) 977-9500                    Facsimile: (510) 280-2704
        Facsimile: (213) 977-5297
  16
        Attorneys for Plaintiff-Petitioners
  17
  18                              UNITED STATES DISTRICT COURT
  19             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  20 YONNEDIL CARROR TORRES;                         CASE NO.
     VINCENT REED; FELIX SAMUEL
  21 GARCIA; ANDRE BROWN;                            COMPLAINT—CLASS ACTION
     SHAWN L. FEARS, individually and                FOR DECLARATORY AND
  22 on behalf of all others similarly situated,     INJUNCTIVE RELIEF AND
                                                     PETITION FOR WRIT OF
  23                     Plaintiff-Petitioners,      HABEAS CORPUS
  24             vs.                                 Immediate Relief Requested
  25 LOUIS MILUSNIC, in his capacity as
     Warden of Lompoc; and MICHAEL
  26 CARVAJAL, in his capacity as Director
     of the Bureau of Prisons,
  27
                 Defendant-Respondents.
  28
       3649388
                       COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                 AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 2 of 189 Page ID #:2




   1                                            I.
   2                                   INTRODUCTION
   3         1.     The Federal Bureau of Prisons (“BOP”) is mismanaging one of the
   4 worst public health catastrophes related to COVID-19 anywhere in the country—
   5 and at the epicenter of the outbreak are FCI Lompoc and USP Lompoc (collectively
   6 “Lompoc”), where more than 1,000 incarcerated persons have tested positive for
   7 COVID.
   8         2.     FCI Lompoc is a low security prison located in Santa Barbara County,
   9 California. Just down the road is its sister facility USP Lompoc, which houses
  10 medium security individuals and is adjacent to a low security satellite camp.
  11 Prisoners are often transferred among these facilities. Lompoc is the site of by far
  12 the largest COVID-19 outbreak at a BOP facility. As of the morning of May 15,
  13 2020, BOP reports that 1,023 of the 2,680 individuals collectively incarcerated at
  14 Lompoc have tested positive for COVID-19.1
  15         3.     The cases at Lompoc account for more than 65 percent of cases in
  16 Santa Barbara County and are so staggering that local officials are asking the State
  17 of California to allow them to exclude the numbers from Lompoc in their reopening
  18 criteria.2 Shockingly, these numbers, high as they seem, are still underreported.
  19 Only the 963 prisoners at FCI Lompoc have undergone a round of mass testing
  20 (which was completed weeks past the point where testing could have helped actually
  21 prevent the virus from spreading), with 882 reporting positive—meaning that nearly
  22
  23
       1
  24      Bureau of Prisons, COVID-19 Update, https://www.bop.gov/coronavirus/ (last
       visited May 15, 2020).
  25
       2
          Delaney Smith, Santa Barbara County Urges State to Exclude Lompoc Prison
  26 Cases from Reopening Criteria, SANTA BARBARA INDEPENDENT, May 11, 2020,
  27 https://www.independent.com/2020/05/11/santa-barbara-county-urges-state-to-
     exclude-lompoc-prison-cases-from-reopening-criteria/.
  28
     3649388
                                             2
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 3 of 189 Page ID #:3




   1 100% now have the virus.3 There is no clearer indication of how ineffective BOP’s
   2 COVID-19 prevention policies have been than their own statistics.
   3             4.     Plaintiff-Petitioners (“Petitioners”) are forced to bring this class action
   4 seeking court intervention to prevent Lompoc from becoming the site of a national
   5 tragedy. Respondents Michael Carvajal, the Director of the BOP, and Louis
   6 Milusnic, the Warden of Lompoc, have demonstrated that they will not take the
   7 measures necessary to prevent the coronavirus from converting more prison
   8 sentences into death sentences without court intervention. Public health experts have
   9 been clear—to prevent the disease from spreading and reduce the burden on prison
  10 medical resources, Respondents must conduct testing in time for isolation to be
  11 effective, provide adequate personal protective equipment (“PPE”), properly treat
  12 and monitor those who are sick, and most importantly, reduce the prison population
  13 to allow for adequate social distancing and sufficient access to medical care.4
  14             5.     As part of the Coronavirus Aid, Relief, and Economic Security
  15 (“CARES”) Act, Congress modified 18 U.S.C. § 3624(c) to enable BOP to do just
  16 that—section 12003(b)(2) of the CARES Act gave Respondents and the BOP the
  17 broad discretion to allow home confinement and reduce crowding at prisons during
  18 the COVID-19 emergency period. Despite this and the guidance of Attorney
  19 General William Barr urging the BOP to immediately transfer medically “at-risk”
  20 prisoners to home confinement,5 Respondents are refusing to consider home
  21
       3
  22    Tyler Haden, Santa Barbara County Urges State to Exclude Lompoc Prison
     Cases from Reopening Criteria, SANTA BARBARA INDEPENDENT, May 13, 2020,
  23 https://www.independent.com/2020/05/13/lompoc-prison-explodes-with-active-
  24 covid-19-cases/ (USP Lompoc, which houses 1717 individuals, has not yet
     conducted a round of mass testing and is likely to have far more than the 22 cases
  25 BOP is currently reporting).
  26 4 See, e.g., Exhibit 7 (“Exh. 7”, Declaration of Shamsher Samra, M.D.) ¶¶ 20–22;
  27 Exhibit 8 (“Exh. 8”, Declaration of Marc Stern, M.D.) ¶¶ 18–20.
       5
  28       Office of the Attorney General, Prioritization of Home Confinement as
       3649388
                                                      3
                      COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 4 of 189 Page ID #:4




   1 confinement for the vast majority of those incarcerated at Lompoc. At the same
   2 time, Respondents have failed to conduct timely testing, provide adequate PPE, or
   3 effectively isolate those who are infected and those who have had contact with the
   4 infected. The recent round of mass testing was helpful only to prove just how
   5 ineffective BOP’s policies have been. For many, the actions and inactions of
   6 Respondents will lead to a death sentence. This deliberate indifference amounts to
   7 cruel and unusual punishment prohibited by the Eighth Amendment.
   8        6.     The accounts of the named Petitioners to this action show the inhumane
   9 manner in which BOP’s COVID-19 policies are being implemented at Lompoc.
  10 When Petitioner Yonnedil Carror Torres, who has asthma, reported symptoms
  11 consistent with coronavirus, he was ignored for days and denied medical treatment
  12 until he went into respiratory shock and had to be put on a ventilator. For Petitioner
  13 Vincent Reed, being “quarantined” after testing positive meant being put in solitary
  14 confinement for days without medical care. Petitioner Felix Samuel Garcia is
  15 scheduled to be released in the fall—but instead of using the power granted to BOP
  16 by Congress under the CARES Act to release him early to home confinement,
  17 thereby reducing the risk to him and to others, Respondents are arbitrarily forcing
  18 him to spend two more months of his sentence at Lompoc in a hastily-converted
  19 warehouse, where he is locked in a cell and not even allowed to shower. Due to the
  20 burden on Lompoc’s medical resources from COVID-19-related care, Petitioner
  21 Andre Brown cannot get treatment for his prostate cancer. To make matters worse,
  22 Lompoc is one of the few BOP facilities that has made the unusual decision to
  23 severely restrict access to phone and email for prisoners under the guise of
  24
  25 Appropriate in Response to COVID-19 Pandemic (Mar. 26, 2020),
     https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement.pdf; Office
  26 of the Attorney General, Increasing Use of Home Confinement as Institutions Most
  27 Affected by COVID-19 (Apr. 3, 2020),
     https://www.bop.gov/coronavirus/docs/bop_memo_home_confinement_april3.pdf.
  28
     3649388
                                              4
                 COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                           AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 5 of 189 Page ID #:5




   1 preventing the spread of the virus. Petitioners have barely been able to access
   2 phones and internet to ask for help from their lawyers or family members. State jails
   3 and most other federal facilities have not implemented similar restrictions on
   4 communication with the outside world, and in fact, some state jails are permitting
   5 free phone calls due to bans on in-person visiting.6
   6        7.     Respondents and their ineffectual and unnecessarily cruel policy of
   7 isolating positive cases in solitary confinement and unsanitary makeshift living
   8 spaces has completely failed to stop or even slow the spread of the virus. Having
   9 failed to prevent the outbreak, Respondents cannot now be trusted to provide those
  10 who have tested positive with proper medical treatment or to protect those who
  11 remain uninfected from infection. Nor are there indications that Respondents are
  12 adapting quickly and learning from their mistakes. Somehow, a month and a half
  13 since the first BOP prisoner in the country tested positive and a week after the
  14 numbers from FCI Lompoc demonstrated how quickly the virus had spread at
  15 a nearby facility with shared resources, Lompoc still has not tested the nearly 2000
  16 prisoners housed at USP. Moreover, prisoners are still going without basic supplies
  17 like soap, hand sanitizer, and face masks.
  18        8.     Petitioners cannot afford to wait and see if Respondents will be able to
  19 handle the treatment of coronavirus any better than they handled the prevention of
  20 its spread. Already, the media is reporting that Respondents are mishandling
  21 medical treatment in the same manner in which they mishandled prevention.7
  22
  23   6
        Sareen Habeshian, California Inmates Granted Free Calls Following Halted
  24 Visitations Amid Coronavirus Fears, KTLA5, Apr. 1, 2020,
     https://ktla.com/news/california/california-inmates-granted-free-calls-following-
  25 halted-visitations-amid-coronavirus-fears/.
       7
  26      Tyler Haden, Lompoc Prison Explodes with Active COVID-19 Cases, SANTA
     BARBARA INDEPENDENT, May 13, 2020,
  27
     https://www.independent.com/2020/05/13/lompoc-prison-explodes-with-active-
  28 covid-19-cases/.
     3649388
                                             5
                 COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                           AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 6 of 189 Page ID #:6




   1 Unless immediate action is taken to ensure that Lompoc provides proper medical
   2 care to those infected and implements measures to protect those who are not yet
   3 infected, including by reducing the size of the incarcerated population, soon,
   4 substantially all incarcerated people at Lompoc—many of whom are especially
   5 vulnerable due to underlying medical conditions—will be infected with COVID-19.
   6 More will die. Dr. Shamsher Samra, a noted physician with ample experience
   7 working with incarcerated individuals, delivers an urgent warning: “BOP should
   8 take immediate steps to dramatically downsize the population at Lompoc, with
   9 priority given to those at high risk of harm due to their age and health status and
  10 thus are likely to require a disproportionate amount of medical resources.”8
  11             9.      Accordingly, Petitioners Yonnedil Carror Torres, Vincent Reed, Felix
  12 Samuel Garcia, Andre Brown, and Shawn L. Fears, on behalf of themselves and
  13 a class of all persons incarcerated at Lompoc now and in the future, bring this action
  14 for declaratory and injunctive relief, for enlargement of custody to include home
  15 confinement, and ultimately, if they cannot be held in custody constitutionally, for
  16 release.
  17                                                 II.
  18                                             PARTIES
  19             10.     Plaintiff-Petitioner Yonnedil Carror Torres (“Petitioner Torres”) is
  20 incarcerated at USP Lompoc. He is 24 years old and has suffered from chronic
  21 asthma since he was a child, making him especially vulnerable to complications
  22 resulting from COVID-19. On April 24, 2020, Petitioner Torres started feeling
  23 seriously ill and developed COVID-19 symptoms including fever, diarrhea, and
  24 body aches. For five days, Petitioner Torres asked for medical assistance. For five
  25 days, he was ignored. On the sixth day, Petitioner Torres went into acute respiratory
  26 shock and collapsed in his cell. Only then was he tested and confirmed to be positive
  27
  28   8
           Exh. 7 ¶ 20 (emphasis added); accord Exh. 8 ¶ 17.
       3649388
                                                6
                       COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                 AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 7 of 189 Page ID #:7




   1 for COVID-19. Petitioner Torres was put into a medically-induced coma, intubated,
   2 and put on a ventilator. As a result of his battle with COVID-19, he has suffered
   3 severe lung damage. On their most recent phone call, his sister could no longer
   4 recognize his voice. Petitioner Torres’s family submitted a submitted a request for
   5 compassionate release on his behalf to the Warden of Lompoc on May 11, 2020.
   6 They have not received a response.
   7        11.     Plaintiff-Petitioner Vincent Reed (“Petitioner Reed”) is incarcerated at
   8 USP Lompoc. He is 53 years old and has hypertension, making him especially
   9 vulnerable to complications resulting from COVID-19. Petitioner Reed’s son has
  10 juvenile diabetes, is fully blind, and was recently diagnosed with kidney failure at
  11 the age of 30. Petitioner Reed may be the only viable candidate to donate a kidney
  12 to his son. Around March 27 or 28, 2020, Petitioner Reed began developing
  13 symptoms of COVID-19. On March 30, 2020, he was tested and immediately put
  14 into solitary confinement. After Petitioner Reed’s results came back positive, he was
  15 left in solitary confinement for days and then transferred to an old and unsanitary
  16 housing unit where—along with others who had tested positive—he languished
  17 without treatment. On April 14, 2020, Mr. Reed was returned to the general
  18 population. He was not tested again for COVID-19 prior to his return. Petitioner
  19 Reed submitted a request for compassionate release/reduction in sentence to the
  20 Warden of Lompoc on January 7, 2020. His request was rejected.
  21        12.     Plaintiff-Petitioner Andre Brown (“Petitioner Brown”) is incarcerated
  22 at USP Lompoc. He is 55 years old, illiterate, and has learning disabilities. Because
  23 Petitioner Brown is illiterate, the communications blackout at Lompoc which
  24 severely restricts access to phone and email for prisoners has functionally cut him
  25 off from the outside world. His conviction is currently under appeal with the Ninth
  26 Circuit Court of Appeals, with argument expected in late 2020. Petitioner Brown has
  27 prostate cancer which must be treated with chemotherapy or surgery. He is also
  28 asthmatic, suffers from high blood pressure, and has arthritis in both wrists. Through
     3649388
                                              7
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 8 of 189 Page ID #:8




   1 counsel, Petitioner Brown submitted a request for compassionate release to the
   2 Warden of Lompoc on May 13, 2020. He has not received a response.
   3             13.     Plaintiff-Petitioner Felix Samuel Garcia (“Petitioner Garcia”) is
   4 incarcerated at USP Lompoc. He is 36 years old and is set to be transferred to
   5 a “halfway house” on July 7, 2020, and released from custody on November 6,
   6 2020. Petitioner Garcia was originally housed in a low-security facility at FCI
   7 Lompoc. In early May, he tested negative for COVID-19. Afterwards, Petitioner
   8 Garcia was abruptly moved to a makeshift cell block set up in a warehouse at USP
   9 Lompoc. There, he sits in a small cell with one other prisoner, under total lockdown
  10 almost twenty-four hours a day. He is not allowed to shower or change into clean
  11 clothes, and has been forced to wet his body with water from his sink in a last resort
  12 to maintain personal hygiene. Petitioner Garcia has attempted to submit an
  13 application for Compassionate Release and/or Home Confinement to the Warden of
  14 Lompoc. However, since the COVID-19 outbreak in Lompoc, those incarcerated
  15 have been denied access to the administrative remedy process. Staff have not been
  16 accepting the forms required to initiate the process, claiming they cannot do so due
  17 to the exigency of the COVID-19 pandemic.
  18             14.     Plaintiff-Petitioner Sean L. Fears (“Petitioner Fears”) is 50 years old
  19 and incarcerated at USP Lompoc. Petitioner Fears lives in a crowded open-plan
  20 dormitory with more than a hundred other prisoners, many of whom are sick. He is
  21 relying only on a single mask given to him in late April to protect him from
  22 infection. Over a month after the outbreak at Lompoc started, he has still not been
  23 tested for COVID-19. Petitioner Fears attempted to submit an application for
  24 Compassionate Release and/or Home Confinement to the Warden of Lompoc.
  25 However, since the COVID-19 outbreak in Lompoc, those incarcerated have been
  26 denied access to the administrative remedy process. Staff have not been accepting
  27 the forms required to initiate the process, claiming they cannot do so due to the
  28 exigency of the COVID-19 pandemic.
       3649388
                                                       8
                       COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                 AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 9 of 189 Page ID #:9




   1             15.     Respondent Louis Milusnic (“Respondent Milusnic,” “Warden
   2 Milusnic,” or “Warden”) is the Warden at Lompoc. As Warden, Respondent
   3 Milusnic is responsible for and oversees all day-to-day activity at Lompoc. He is in
   4 charge of all aspects of the operations and functions of Lompoc. His responsibilities
   5 include ensuring the safety of all in the institution and ensuring that the institution
   6 operates in an orderly fashion. Warden Milusnic is aware of and has adopted and
   7 enforced policies that leave Petitioners and all those similarly situated exposed to
   8 infection, severe illness, and death due to COVID-19. Warden Milusnic has also
   9 declined to release people who qualify under BOP and Department of Justice
  10 guidance despite having the authority to do so. Warden Milusnic is the immediate
  11 and physical custodian responsible for the detention of the Petitioners. He is sued in
  12 her official capacity only.
  13             16.     Respondent Michael Carvajal is the Director of the Federal Bureau of
  14 Prisons (“Respondent Carvajal,” “Director Carvajal,” or “Director”). As Director,
  15 Respondent Carvajal is responsible for all BOP policies implemented at Lompoc,
  16 including those pertaining to resource distribution and factors that BOP facility
  17 leadership should consider in determining an incarcerated individual’s eligibility for
  18 early release. His responsibilities include ensuring the safety of all in the BOP
  19 system and ensuring that institutions operate in an orderly fashion. Director Carvajal
  20 is aware of and has adopted and enforced policies that leave Petitioners and all those
  21 similarly situated exposed to infection, severe illness, and death due to COVID-19.
  22 He is sued in his official capacity only.
  23                                                 III.
  24                                 JURISDICTION AND VENUE
  25             17.     This Court has jurisdiction over this action pursuant to 28 U.S.C.
  26 § 2241 because Petitioners seek relief from being held in custody in violation of the
  27 Eighth Amendment to the U.S. Constitution, and pursuant to 28 U.S.C.
  28    § 1331 for relief from conditions of confinement that are in violation of the Eighth
       3649388
                                                 9
                       COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                 AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 10 of 189 Page ID #:10




    1       Amendment.
    2           18.     The Court has subject-matter jurisdiction over this Petition pursuant to
    3 28 U.S.C. § 1331 (federal question), 5 U.S.C. § 702 of the Administrative Procedure
    4 Act, 28 U.S.C. § 2241 (habeas corpus) and Article I, § 9, cl. 2 of the U.S.
    5 Constitution (Suspension Clause). In addition, the Court has jurisdiction to grant
    6 declaratory relief pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201.
    7           19.     Venue is proper in the Central District of California pursuant to 28
    8 U.S.C. § 1391(b)(2) because a substantial part of the events and omissions giving
    9 rise to these claims occurred and continues to occur in this district.
   10           20.     This Court has personal jurisdiction over Warden Milusnic because at
   11 all times relevant to this action, she has been employed at Lompoc in Santa Barbara
   12 County, California, and all the actions and omissions at issue occurred at Lompoc.
   13 This Court has personal jurisdiction over Director Carvajal because at all times
   14 relevant to this action, he has set BOP policies and issued guidance that Respondent
   15 Milusnic has applied at Lompoc in Santa Barbara County, California.
   16                                               IV.
   17                                 FACTUAL ALLEGATIONS
   18 A.        The COVID-19 Crisis
   19           21.     The novel coronavirus that causes COVID-19 has led to a global
   20 pandemic. As of May 15, 2020, worldwide there are over 4.3 million reported
   21 COVID-19 cases and 297,241 confirmed deaths.9 In the United States, the case
   22 count stands at 1,412,121 and the death count at 85,990.10 In California, there are
   23
   24
        9
           World Health Org., Coronavirus disease (COVID-19) Pandemic (May 11, 2020),
   25 https://www.who.int/emergencies/diseases/novel-coronavirus-2019.
   26 10 Ctrs. for Disease Control & Prevention, Coronavirus Disease 2019 (COVID-19),
   27 https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last
      visited May 15, 2020).
   28
      3649388
                                               10
                      COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 11 of 189 Page ID #:11




    1 currently 74,936 confirmed cases of coronavirus.11 There are 5,843 individuals who
    2 have been hospitalized with confirmed or suspected cases of coronavirus and 3,108
    3 fatalities.12 Los Angeles County has been epicenter of the pandemic in California,
    4 with 28,644 cases and 1,367 deaths.13
    5         22.     The virus is known to spread from person to person through respiratory
    6 droplets, close personal contact, and from contact with contaminated surfaces and
    7 objects.14 Infected people can spread the virus to others even if they are
    8 asymptomatic, such that simply avoiding people who are coughing or visibly
    9 feverish is insufficient.15
   10         23.     According to the CDC, people who suffer from certain underlying
   11 medical conditions face elevated risk.16 Such conditions include chronic lung
   12 disease, moderate to severe asthma, serious heart conditions, hypertension, high
   13 blood pressure, chronic kidney disease, liver disease, diabetes, compromised
   14 immune systems (such as from cancer treatment, HIV, autoimmune disease, or use
   15 of immunosuppressing medication for other conditions), and severe obesity.17 One
   16 analysis found mortality rates of 13.2% for patients with cardiovascular disease,
   17 9.2% for diabetes, 8.4% for hypertension, 8.0% for chronic respiratory disease, and
   18
   19   11
              California Dep’t of Public Health, COVID-19,
   20 https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.asp
      x (last visited May 15, 2020).
   21
      12
          Id.
   22
      13
          https://covid19.lacounty.gov/
   23 14
          Exh. 7 ¶ 4.
   24 15
          Exh. 7 ¶ 5.
   25 16      Ctrs. for Disease Control & Prevention, Groups at Higher Risk for Severe
   26 Illness, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-
      at-higher-risk.html (last visited May 7, 2020).
   27
      17
           Id.
   28
      3649388
                                                11
                    COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                              AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 12 of 189 Page ID #:12




    1 7.6% for cancer.18
    2         24.     The risk of illness or death from COVID-19 is increased for older
    3 populations. In a February 29, 2020 preliminary report, individuals age 50-59 had an
    4 overall mortality rate of 1.3%, those age 60-69 had an overall 3.6% mortality rate,
    5 and those age 70-79 had an 8% mortality rate.19
    6         25.     In many people, COVID-19 causes fever, cough, and shortness of
    7 breath. But for people over the age of fifty or with medical conditions that increase
    8 the risk of serious COVID-19 infection, shortness of breath can be severe. Most
    9 people in higher-risk categories who develop serious illness will need advanced
   10 support. This level of supportive care requires highly specialized equipment that is
   11 in limited supply, and an entire team of care providers, including 1:1 or 1:2 nurse-to-
   12 patient ratios, respiratory therapists, and intensive-care physicians.20
   13         26.     In patients who do not die, COVID-19 can severely damage lung tissue,
   14 requiring an extensive period of rehabilitation, and in some cases, can cause
   15 a permanent loss of respiratory capacity. COVID-19 may also target the heart
   16 muscle, causing a medical condition called “myocarditis,” or inflammation of the
   17 heart muscle. Myocarditis can affect the heart muscle and electrical system,
   18 reducing the heart’s ability to pump. This reduction can lead to rapid or abnormal
   19 heart rhythms in the short term, and long-term heart failure that limits exercise
   20
   21
        18
         World Health Org., Report of the WHO-China Joint Mission on Coronavirus
   22
      Disease 2019 (COVID-19) at 12 (Feb. 28, 2020), https://www.who.int/docs/default-
   23 source/coronaviruse/who- china-joint-mission-on-covid-19-final-report.pdf.
        19
   24      Worldometer, Age, Sex, Existing Conditions of COVID-19 Cases and Deaths
      Chart (May 13, 2020), https://cutt.ly/ytEimUQ (data analysis based on WHO China
   25 Joint Mission Report).
   26 20 See Exh. 7 ¶ 7 (noting that treatment for vulnerable people infected by
   27 COVID-19 may require “significant advanced support” including ventilator
      assistance).
   28
      3649388
                                                12
                    COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                              AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 13 of 189 Page ID #:13




    1 tolerance and the ability to work.21
    2         27.     Emerging evidence also suggests that COVID-19 can trigger an
    3 over-response of the immune system, further damaging tissues in a cytokine release
    4 syndrome that can result in widespread damage to other organs, including
    5 permanent injury to the kidneys and neurologic injury. These complications can
    6 manifest at an alarming pace. Patients can show the first symptoms of infection in as
    7 little as two days after exposure, and their condition can seriously deteriorate in as
    8 little as five days.22
    9         28.     Even some younger and healthier people who contract COVID-19 may
   10 require supportive care, which includes supplemental oxygen, positive pressure
   11 ventilation, and in extreme cases, extracorporeal mechanical oxygenation.23
   12         29.     The estimated fatality rate associated with COVID-19 has been
   13 estimated to range from 0.1 to 6 percent, meaning COVID-19 may be as much as
   14 35 times more fatal than seasonal influenza.24 Although many people who contract
   15 COVID-19 will exhibit relatively mild symptoms, the virus will manifest in some
   16 20 percent of cases as a “more severe disease requiring medical intervention and
   17
   18   21
           Cynthia Weiss, How does COVID-19 affect the heart?, Mayo Clinic News
   19 Network (Apr. 3, 2020), https://newsnetwork.mayoclinic.org/discussion/how-does-
      covid-19-affect-the-heart/.
   20 22
           Lenny Bernstein, et al., Coronavirus destroys lungs. But doctors are finding its
   21 damage in kidneys, hearts and elsewhere, WASH. POST, Apr. 15, 2020,
      https://www.washingtonpost.com/health/coronavirus-destroys-lungs-but-doctors-
   22
      are-finding-its- damage-in-kidneys-hearts-and-elsewhere/2020/04/14/7ff71ee0-
   23 7db1-11ea-a3ee- 13e1ae0a3571_story.html; Aria Bendix, A Day-By-Day
      Breakdown of Coronavirus Symptoms Shows How the Disease COVID-19 Goes
   24
      from Bad to Worse, BUSINESS INSIDER, Mar. 31, 2020,
   25 https://www.businessinsider.com/coronavirus-covid19-day-by-day-symptoms-
      patients-2020-2.
   26
      23
           See Exh. 7 ¶ 9.
   27
      24
           Exh. 7 ¶ 6.
   28
      3649388
                                                 13
                    COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                              AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 14 of 189 Page ID #:14




    1 support.”25
    2              30.     There is no vaccine against COVID-19 and there is no known
    3 medication to prevent or treat infection from COVID-19. Social distancing, or
    4 remaining physically separated from known or potentially infected individuals, and
    5 vigilant hygiene, including frequently and thoroughly washing hands with soap and
    6 water and cleaning and disinfecting high-touch surfaces, are the only known
    7 effective measures for protecting people from COVID-19.26 This is especially
    8 significant because the virus can spread through people who appear asymptomatic.27
    9              31.     State and local officials have been taking aggressive action in
   10 California. On March 4, in response to then-emerging coronavirus outbreak,
   11 Governor Newsom declared a State of Emergency in California,28 doing so even
   12 before the President had declared a national emergency.29 That same day, the Los
   13 Angeles County Board of Supervisors and Los Angeles County Health Officer
   14 declared a local and public health emergency.30 On March 19, 2020, Governor
   15 Newsom issued Executive Order No. N-22-20 requiring all California residents to
   16 “stay home or at their place of residence” unless the resident works in critical
   17
        25
             Id.
   18   26
             Id. ¶¶ 11–12.
   19   27
             Id. ¶ 5.
   20   28
           Executive Department, State of California, Proclamation of a State of Emergency
   21 (Mar. 4, 2020), https://www.gov.ca.gov/wp-content/uploads/2020/03/3.4.20-
      Coronavirus-SOE-Proclamation.pdf
   22
      29
           See Charlie Savage, Trump Declared an Emergency Over Coronavirus. Here’s
   23 What It Can Do., N.Y. TIMES, Mar. 13, 2020,
   24 https://www.nytimes.com/2020/03/13/us/politics/coronavirus- national-emergency-
      html.
   25
      30
           County of Los Angeles Public Health, County of Los Angeles Declares Local
   26 Health Emergency in Response to New Novel Coronavirus Activity (Mar. 4,
   27 2020),http://www.publichealth.lacounty.gov/phcommon/public/media/mediapubhpd
      etail.cfm?prid=2248.
   28
      3649388
                                                14
                         COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 15 of 189 Page ID #:15




    1 infrastructure sectors. 31
    2        32.     Local officials have also taken extraordinary measures aimed at
    3 slowing the virus’s spread. For example, on March 19, Los Angeles Mayor issued
    4 a “Safer at Home” order ordering residents of the City of Los Angeles to remain in
    5 their homes with lawful exceptions for critical tasks such as securing food and
    6 health, safety and medical necessities.32 Los Angeles County Health Officer Muntu
    7 Davis signed a “Safer at Home” order the same day, which prohibited all indoor
    8 public and private gatherings and all outdoor public and private events within
    9 a confined space where at least 10 people were expected to be in attendance at the
   10 same time.33 The Los Angeles County Order was strengthened on March 21, 2020,
   11 to prohibit all gatherings and events, and will be extended through at least August.34
   12 B.     Incarcerated People and Staff Are Particularly Vulnerable.
   13        33.     People in environments with confined spaces such as correctional
   14
   15   31
           Executive Department, State of California, Order No. N-22-20 (Mar. 19, 2020),
   16 https://www.gov.ca.gov/wp-content/uploads/2020/03/3.19.20-attested-EO-N-33-20-
   17 COVID-19-HEALTH-ORDER.pdf.
      32
           Office of Los Angeles Mayor, The “Safer at Home” Emergency Order Has Been
   18
      Extended (Mar. 19, 2020), https://www.lamayor.org/mayor-garcetti-angelenos-are-
   19 %E2%80%98safer-home-new-emergency-order-stops-non-essential-activities-
      outside.
   20
      33
           County of Los Angeles Public Health, Safer At Home Order for Control of
   21 COVID-19 (Mar. 19, 2020),
   22 http://file.lacounty.gov/SDSInter/lac/1070029_COVID-19_SaferAtHome_HealthOf
      ficerOrder_20200319_Signed.pdf.
   23
      34
           Colleen Shalby and Sarah Parvini, L.A. County could keep stay-at-home orders
   24 in place well into summer, depending on conditions, LOS ANGELES TIMES, May 12,
   25 2020, https://www.latimes.com/california/story/2020-05-12/coronavirus-beaches-
      reopen-los-angeles-county-move-toward-new-normal; County of Los Angeles
   26 Public Health, Los Angeles County Announces Two New Deaths (Mar. 23, 2020),
   27 http://www.publichealth.lacounty.gov/phcommon/public/media/mediapubhpdetail.cf
      m?prid=2279.
   28
      3649388
                                                15
                   COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                             AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 16 of 189 Page ID #:16




    1 facilities, where people live, eat, and sleep in close proximity, face increased danger
    2 of contracting COVID-19, as already evidenced by the rapid spread of the virus in
    3 cruise ships35 and nursing homes.36 The close quarters and limited freedom of
    4 movement inherent in correctional facilities makes social distancing and other
    5 preventive measures difficult or impossible. Moreover, the ability of incarcerated
    6 people to adopt preventative measures is completely subject to the dictates of
    7 correctional officials who control the housing, schedules, sanitary supplies, and
    8 nearly every other aspect of their lives.37
    9             34.     Correctional facilities increase the risk of rapid spread of an infectious
   10 disease, like COVID-19, because of the high numbers of people with chronic, often
   11 untreated, illnesses housed in a setting with minimal levels of sanitation, limited
   12 access to personal hygiene, limited access to medical care, and no possibility of
   13 staying at a distance from others.38
   14
        35
   15    E.g., Jason Hanna & Melissa Alonso, CNN, Coral Princess Docks in Miami With
      2 Dead and Several Ill of Coronavirus, After Ports Shunned it For Days (Apr. 4,
   16
      2020), https://www.cnn.com/2020/04/04/us/coral-princess-cruise-ship-docks-miami-
   17 coronavirus/index.html.
        36
   18      E.g., Stacey Burling, Assume Coronavirus is Already There, Says a Philly
        Nursing Home Doctor Who Learned the Hard Way, PHILA. INQUIRER, Apr. 3, 2020,
   19   https://www.inquirer.com/health/coronavirus/coronavirus-renaissance-nursing-
   20   home- philadelphia-20200403.html; see also Suzy Khimm & Laura Strickler, NBC
        News, Nursing Homes Overwhelmed By Coronavirus, (Apr. 1, 2020),
   21   https://www.nbcnews.com/news/us- news/nursing-homes-overwhelmed-
   22   coronavirus-it-impossible-us-stop-spread-n1174171.
        37
   23    See Exh. 8 ¶ 10 (“prisons are congregate enivronments . . . [s]ocial distancing in
      ways that are recommended by public health officials can be difficult, if not
   24 impossible”).
   25 38 See generally I.A. Binswanger et al., Prevalence of Chronic Medical Conditions
   26 Among Jail and Prison Inmates in the USA Compared With the General Population,
      63 J. Epidemiology & Community Health 912 (2009) (concluding that people
   27 incarcerated in U.S. jails and prisons had a higher burden of most chronic medical
   28 conditions than the general population, even when adjusting for sociodemographic
        3649388
                                                       16
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 17 of 189 Page ID #:17




    1             35.     The CDC has issued guidance urging prison administrators to take
    2 action to prevent overcrowding of correctional and detention facilities during
    3 a community outbreak.39 The CDC guidance emphasizes that social distancing is “a
    4 cornerstone of reducing transmission of respiratory disease such as COVID-19.”40 It
    5 calls not only for social distancing, but also measures for isolating and quarantining
    6 detainees and staff who have (or are suspected of having) COVID- 19 from those
    7 who do not have (or presumably do not have) the virus.
    8             36.     Many correctional facilities find implementation of these preventive
    9 strategies challenging without a significant reduction in prison populations.
   10             37.     As a general matter, correctional facilities frequently lack sufficient
   11 medical supplies for the population, and, in times of crisis, medical staff may cease
   12 coming to the facilities. Hot water, soap, and paper towels are often in limited
   13 supply. Incarcerated people themselves, rather than professional cleaners, are often
   14 responsible for cleaning the facilities and often are not given appropriate supplies.
   15 This means there are more people who are susceptible to infection all congregated
   16 together in a location where fighting the spread of an infection is nearly
   17 impossible.41
   18             38.     For these reasons, correctional public health experts have
   19 recommended the release from custody of people most vulnerable to COVID-19.
   20 Exercising authority to enlarge custody to include home confinement or release
   21 detainees protects the people with the greatest vulnerability to COVID-19 from
   22
        differences and alcohol consumption).
   23
        39
         Ctrs. for Disease Control and Prevention, Interim Guidance on Management of
   24 Coronavirus Disease 2019 (COVID-19) in CORRECTIONAL AND DETENTION
   25 FACILITIES (CDC GUIDANCE) (Mar. 23, 2020),
      https://www.cdc.gov/coronavirus/2019-ncov/community/correction-
   26 detention/guidance-correctional-detention.html.
   27 40 Id.
   28   41
             See Exh. 8 ¶¶ 10–12.
        3649388
                                                       17
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 18 of 189 Page ID #:18




    1 transmission of the virus, and it also allows for greater risk mitigation for all people
    2 held or working in a prison, jail, or detention center. Release of the most vulnerable
    3 people from custody also reduces the burden on the region’s health-care
    4 infrastructure by reducing the likelihood that an overwhelming number of people
    5 will become seriously ill from COVID-19 at the same time. As Dr. Samra observes:
    6 “BOP should take immediate steps to dramatically downsize the population at
    7 Lompoc, with priority given to those at high risk of harm due to their age and health
    8 status and thus are likely to require a disproportionate amount of medical
    9 resources.”42
   10             39.     Courts have responded to this urgent call to reduce incarcerated
   11 populations. On March 24, 2020, Presiding Judge Kevin C. Brazile of the Superior
   12 Court of California, County of Los Angeles, announced an expedited process for the
   13 release of individuals jailed while awaiting trial.43 By April 13, 2020, the Los
   14 Angeles County jail had released 700 individuals.44 On May 1, 2020, Judge Brazile
   15 announced that a further 250 individuals had been released on their own
   16 recognizance pursuant to the Court’s continued efforts “to protect public safety
   17 while achieving social distancing inside . . . the jail system.”45 Between the onset of
   18
        42
   19        Exh. 7 ¶ 20.
        43
   20     Los Angeles Superior Court, Superior Court of Los Angeles County Orders
      Release of County Jail Inmates Awaiting Trial After Justice Partners Reach
   21 Agreement (Mar. 24, 2020),
   22 http://www.lacourt.org/newsmedia/uploads/142020324174155NR_Justice_Partners
      _Request_March_24_2020_FINAL.pdf.
   23
      44
         Los Angeles Superior Court, Superior Court of Los Angeles County Continues to
   24 Work With Justice Partners On Jail Release of Adults (Apr. 13, 2020),
   25 http://www.lacourt.org/newsmedia/uploads/14202041491026NR_Release_Orders_0
      4_13_20.pdf.
   26 45
         Los Angeles Superior Court, More Than 250 People Released So Far From L.A.
   27 County Jail System Under Statewide Emergency Bail Schedule (May 1, 2020),
   28 http://www.lacourt.org/newsmedia/uploads/14202051114247NR_Bail_Order_05_0
        3649388
                                                      18
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 19 of 189 Page ID #:19




    1 COVID-19 and May 13, 2020, Los Angeles lowered its county jail population from
    2 17,076 to 11,813, a reduction of 31%.46 High courts in other states have issued
    3 similar orders aimed at reducing state prison populations.47
    4             40.     Officials in California have echoed the calls to release prisoners and
    5 facilitate social distancing. On March 31, 2020, the California Department of
    6 Corrections and Rehabilitation announced that it would be transitioning nearly 3,500
    7 non-violent inmates to parole or supervised release in order to “mitigate the spread
    8 of COVID-19 . . . [and] increase physical distancing, and assist . . . with isolation
    9 and quarantine efforts for suspected or positive COVID-19 cases[.]”.48 As of
   10 April 13, all of these individuals had been released.49
   11
   12 1_20(003).pdf.
        46
   13    Vera Institute of Justice, COVID-19: Criminal Justice Responses to the
      Coronavirus Pandemic, https://www.vera.org/projects/covid-19-criminal-justice-
   14 responses/covid-19-data (last visited May 15, 2020).
   15 47 See, e.g., In re: The Petition of the Pennsylvania Prison Society et al., No. 70
   16 MM 2020 (Pa. Apr. 3, 2020), https://law.justia.com/cases/pennsylvania/supreme-
      court/2020/70- mm-2020.html (Pennsylvania Supreme Court ordered the chief judge
   17 of all counties to “immediately” engage in a review of the “current capabilities of
   18 their county correctional institutions . . . to address the spread of COVID-19,” “to
      ensure that the county correctional institutions in their districts address the threat of
   19 COVID-19,” as necessary “to identify individuals of incarcerated persons for
   20 potential release” and “to undertake efforts to limit the introduction of new inmates
      into the county prison system.”); Comm. for Pub. Counsel Servs. v. Chief Justice of
   21 the Trial Court, No. SJC-12926 (Mass. Apr. 3, 2020),
   22 https://www.mass.gov/files/documents/2020/04/03/12926.pdf (Massachusetts
      Supreme Court ruled that pre-trial detainees not charged with certain violent
   23 offenses, as well as incarcerated individuals held on technical probation and parole
   24 violations, is entitled to a rebuttable presumption of release).
      48
   25    California Department of Corrections and Rehabilitation, CDCR Announces Plan
      to Further Protect Staff and Inmates from the Spread of COVID-19 in State Prisons
   26 (Mar. 31, 2020), https://www.cdcr.ca.gov/news/2020/03/31/cdcr-announces-plan-to-
   27 further-protect-staff-and-inmates-from-the-spread-of-covid-19-in-state-prisons/
      49
   28    California Department of Corrections and Rehabilitation, Frequently Asked
        3649388
                                                       19
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 20 of 189 Page ID #:20




    1             41.     Had Respondents similarly reduced the population at Lompoc as called
    2 for by the science, the catastrophe we are faced with today may have been avoided.
    3 Because they did not, the outbreak at Lompoc is now out of control. This not only
    4 poses an unacceptable risk to the health and safety of the incarcerated, but also
    5 burdens local hospitals and thus endangers the broader community. Correctional
    6 facilities lack adequate medical facilities to treat serious COVID-19 cases, so an
    7 outbreak in a prison could overwhelm local hospitals. And as correctional staff enter
    8 and leave the facility, they will carry the virus with them. Like the incarcerated
    9 people in the facilities where they work, correctional officers face an increased risk
   10 of COVID-19 exposure because they are less able to engage in social distancing and
   11 because of the shortage of personal protective equipment, also known as PPE.
   12 Indeed, as of May 3, the BOP had reported 498 confirmed past and present
   13 infections among its prison staff nationwide.50
   14             42.     Given these dangers, on an accelerating basis since mid-March of this
   15 year, courts in this Circuit and across the country have ordered the release of
   16 prisoners and detainees in response to the COVID-19 crisis.51
   17
   18 Questions for Plan on Expedited Release and Increased Physical Space Within State
      Prisons, https://www.cdcr.ca.gov/covid19/frequently-asked-questions-for-plan-on-
   19 expedited-release-and-increased-physical-space-within-state-prisons/ (last visited
   20 May 15, 2020).
      50
   21    See Fed. Bureau of Prisons, COVID- 19, https://www.bop.gov/coronavirus/ (last
      visited May 4, 2020).
   22 51
         See, e.g., Arriaga Reyes. v. Decker, No. 2:20-cv-03600 (D.N.J. Apr. 12, 2020)
   23 (ordering five petitions for immediate release of ICE detainees from New Jersey
   24 facilities); Basank v. Decker, ---F. Supp.3d---, 2020 WL1481503 (S.D.N.Y. Mar.
      26, 2020) (ordering release of ten individuals detained by ICE housed in New Jersey
   25 county jails because of preexisting medical conditions); United States v. Rodriguez,
   26 No. 03-CR-271 (E.D. Pa. Apr. 1, 2020) (granting motion for compassionate release
      where the presence of COVID-19, the inmate’s health conditions, the proximity to
   27 his release date, and his demonstration of rehabilitation created extraordinary and
   28 compelling reasons justifying release); United States v. Colvin, No. 3:19-CR-179,
        3649388
                                                     20
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 21 of 189 Page ID #:21




    1        43.     When the dangers of COVID-19 have reached a level where a prison is
    2 no longer able to incarcerate its population in constitutional conditions, courts have
    3 granted emergency habeas relief for entire classes of prisoners to be evaluated for
    4 enlargement of custody on an accelerated basis.52
    5 C.     Lompoc’s Failure to Slow the Spread of its COVID-19 Outbreak Has
    6        Allowed the Virus to Spread Like Wildfire.
    7        44.     The numbers speak for themselves: Respondents have lost control of
    8 the COVID-19 outbreak at Lompoc entirely. There are over 870 positive COVID-19
    9 cases at the Lompoc among a population of approximately 2,600, almost twice as
   10 many cases as the whole of Santa Barbara County—with a population of almost
   11 450,000—combined.
   12        45.     This sad reality is borne out by the information prisoners have relayed
   13 to family members and friends despite Lompoc’s best efforts to keep them silenced.
   14 Since April 16, 2020, the prison has cut off most communications with the outside
   15 world, forcing prisoners to communicate with their loved ones only through letters
   16 and, since around May 9, sporadic five-minute phone calls.
   17        46.     Counsel for Petitioners have attempted to arrange legal calls with eight
   18
      2020 WL 1613943 (D. Conn. 2020) (waiving exhaustion requirement and granting
   19 motion or compassionate release for vulnerable inmate at FDC Philadelphia where
   20 “the risks faced by the Defendant will be minimized by her immediate release to
      home, where she will quarantine herself”); Coronel v. Decker, ---F. Supp. 3d---,
   21 2020 WL 1487274 (S.D.N.Y. Mar. 27, 2020) (granting release of four detainees
   22 with medical conditions that render them particularly vulnerable to severe illness or
      death if infected by COVID-19).
   23
      52
           Wilson v. Williams, No. 4:20-CV-00794, 2020 WL 1940882, at *10 (N.D. Ohio
   24 Apr. 22, 2020), appeal filed, (6th Cir. Apr. 27, 2020) (granting in part emergency
   25 motion and ordering FCI Elkton to evaluate all prisoners for enlargement of
      custody); Martinez-Brooks v. Easter, 3-20-cv-00569-MPS, 2020 WL 2405350, at *32
   26 (D. Conn., May 12, 2020) (granting in part temporary restraining order and ordering
   27 FCI Danbury to evaluate prisoners with COVID-19 risk factors for home confinement
      and compassionate release).
   28
      3649388
                                                21
                   COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                             AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 22 of 189 Page ID #:22




    1 prisoners incarcerated at FCI Lompoc and USP Lompoc who had been identified to
    2 counsel by their family members and friends as seeking representation in this
    3 action. Counsel have not spoken with any of them. Although several calls were
    4 initially scheduled, they were each abruptly cancelled by the BOP. As of now, there
    5 are no legal calls scheduled with any of the eight prisoners.53
    6             47.     Whatever Respondents may say, the facts demonstrate that they had no
    7 strategy at all for addressing the virus. As late as late March and early April, when
    8 the world outside had already shuttered schools and businesses for weeks, Lompoc
    9 simply ignored sick prisoners and left them in place to infect others, or approached
   10 isolation by simply hauling infected people into solitary confinement (the Special
   11 Housing Unit, or “SHU”)—something ordinarily done as punishment—to forget
   12 about them entirely. Prisoners displaying symptoms of COVID-19 were left in
   13 solitary with no medical attention for days at a time.54 This deterred other prisoners
   14 from reporting symptoms lest they also be placed into solitary. Afterwards, as the
   15 number of positive cases grew, prison authorities began to isolate the infected in
   16 a variety of temporary housing units, such as dormitories that had previously been
   17 closed due to mold contamination,55 and hastily-converted warehouses.56 Prisoners
   18 were also moved from minimum-and-low security facilities with communal
   19 dormitories to cells at USP Lompoc’s medium-security facility.57 All of Lompoc’s
   20 prisoner housing units were placed on total lockdown, confining prisoners to their
   21 cells or dormitories for most of the day. This heavy-handed isolation strategy has
   22 been a complete failure, for four reasons.
   23
   24   53
             Exhibit 10 (“Declaration of Jimmy Threatt”) ¶ 2.
   25   54
             Exhibit 2 (“Exh. 2”, Declaration of Joanna Perales) ¶ 6.
   26   55
             Id. ¶ 7.
   27   56
             Exhibit 3 (“Exh. 3”, Declaration of Graciela Zavala-Garcia) ¶ 4.
   28   57
             Exh. 2 ¶ 7
        3649388
                                                     22
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 23 of 189 Page ID #:23




    1             1.      Even with Many Prisoners Moved to Temporary Housing, Social
    2                     Distancing is Impossible in Lompoc’s Dormitories and Cells
    3             48.     Hundreds of people held at the Lompoc USP camps and at several units
    4 of FCI are housed in open-plan dormitories for anywhere from 150 to 250 prisoners.
    5 In these dormitories, there are no internal walls, and the prisoners sleep on bunk
    6 beds that are no more than 2-to-3 feet from each other. There is no air conditioning
    7 and ventilation is extremely poor. Everyone shares six toilets, six showers, and one
    8 water fountain.58 Over a hundred prisoners must stand in line outside to pick up their
    9 meals, and 25-30 people stand in line outside a tiny five-foot-by-five-foot room to
   10 pick up their medication.
   11             49.     Things are not much better for the USP Lompoc prisoners who live in
   12 cells. Due to the influx of prisoners from the dormitories, tiny single-occupancy
   13 cells are now occupied by two prisoners at a time.59 Due to the facility-wide
   14 lockdown, prisoners are unable to leave their cells to take a shower or change into
   15 clean clothes.
   16             2.      Unsanitary Conditions in Temporary Housing Units Offer Fertile
   17                     Ground for the Other Diseases to Spread.
   18             50.     The conditions in the temporary housing units are appalling and are
   19 putting the lives of those who have tested positive in further danger. Unit H—
   20 a dormitory that had been closed three years prior due to mold contamination—was
   21 reopened filled with prisoners without proper cleaning, and prisoners were forced to
   22 sleep on mattresses which the guards had scattered across the dirty floor.60 In the
   23 warehouses that had been hastily converted into blocks of double-occupancy cells,
   24 prisoners were not permitted to leave their cells to shower, and were not given clean
   25
        58
             See Exhibit 5 (“Exh. 5”, Declaration of Nema Zayed Fears) ¶ 4.
   26
        59
             Exhibit 1 (“Exh. 1”, Declaration of Kiara Carror) ¶ 5.
   27
        60
             Exh. 3 ¶ 5.
   28
        3649388
                                                      23
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 24 of 189 Page ID #:24




    1 clothes.61
    2             3.      The Frequent Movement of Prisoners Combined with Lack of
    3                     Adequate Testing Is Accelerating the Spread of the Virus.
    4             51.     As discussed supra, Lompoc’s heavy-handed isolation strategy has
    5 resulted in a large numbers of prisoners moving from minimum and low security
    6 dormitories to temporary housing units and prison cells. In a belated effort to
    7 segregate Lompoc’s infected population from its healthy and recovered population,
    8 Respondents are moving inmates back and forth between housing units, transferring
    9 them from one place to another when they are sick, and then either sending them
   10 back or transferring them to yet another place when they are deemed “recovered.”
   11             52.     Due to Respondents’ inadequate testing policies, their isolation strategy
   12 has been rendered completely ineffectual. Over a month since its outbreak initially
   13 started, Lompoc still does not have the capacity to fully test its entire population.62
   14 Instead, Respondents do not test prisoners at USP Lompoc until they display
   15 symptoms,63 and sometimes not until several days after that, when their health has
   16 already deteriorated precipitously.64 In addition, prisoners are not re-tested and
   17 confirmed to be negative before being returned to housing units meant to be
   18 populated with non-infected prisoners, a practice Dr. Samra explicitly cites as
   19 “problematic.”65 Some prisoners have simply been never tested at all.66
   20
        61
   21        Id. ¶ 7.
        62
   22    Taylor Hadsen, Lompoc Prison Explodes with Active COVID-19 Cases, SANTA
      BARBARA INDEPENDENT, May 13, 2020,
   23 https://www.independent.com/2020/05/13/lompoc-prison-explodes-with-active-
   24 covid-19-cases/.
      63
   25    Exh. 2 ¶ 6.
        64
             Exh. 1 ¶ 8.
   26
        65
             Exh. 2 ¶ 9; Exh. 7 ¶ 16.
   27
        66
             Exh. 5 ¶ 6.
   28
        3649388
                                                      24
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 25 of 189 Page ID #:25




    1             53.     Infected individuals can spread COVID-19 even when they are
    2 completely asymptomatic.67 As a result, the lack of asymptomatic testing and re-
    3 entry testing means that Lompoc is likely allowing infected prisoners to remain with
    4 healthy populations and spread the virus, and then allowing prisoners who are not
    5 fully recovered but asymptomatic to return to those populations and spread the virus
    6 again.
    7             4.      Lompoc’s Inadequate Efforts at Isolation Ignore Other
    8                     Fundamental Areas of Infection Prevention.
    9             54.     As Lompoc isolates its prisoners in crowded, unsanitary confines, it has
   10 failed to take any of the most basic measures necessary to ensure that the virus does
   11 not spread in these confines unabated. Since the outbreak started, Lompoc has
   12 distributed only one face mask to prisoners, who have been forced to reuse it
   13 indefinitely.68 Not only do prisoners not have access to hand sanitizer, there are
   14 often shortages of soap.69 Due to the total lockdown, many prisoners are not even
   15 able to use the shower.70 Given that the pervasive lack of testing at USP Lompoc
   16 likely means that even “healthy” housing units have at least a few infected prisoners,
   17 this lack of baseline protective measures more or less ensures that those few will
   18 eventually becoming many—as the alarming rate of growth in positive cases at
   19 Lompoc is demonstrating.
   20 D.          Lompoc Is Incapable of Providing Adequate Medical Care for
   21             COVID-19 Patients, Posing an Unconstitutional Threat Both to the
   22             Incarcerated and to the Local Community.
   23             55.     Providing adequate medical care in the face of an outbreak of this size
   24
        67
   25        Exh. 7 ¶ 16.
        68
             See Exh. 5 ¶ 5; Exh. 3 ¶ 6.
   26
        69
             Exh. 3 ¶ 6; Exh. 2 ¶¶ 8, 10.
   27
        70
             Exh. 3 ¶ 5; Exh. 2 ¶ 8.
   28
        3649388
                                                      25
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 26 of 189 Page ID #:26




    1 would be challenging for any community. For a prison like Lompoc, it is an
    2 impossibility. The medical facilities at Lompoc consist of only “a small medical bay
    3 capable of caring for a few patients.”71 BOP claims that Lompoc’s medical
    4 capabilities have been supplemented with a newly-constructed Hospital Care Unit
    5 (“HCU”). In reality, the 20-bed HCU—yet another converted warehouse—has been
    6 little more than an exercise in public relations: the HCU lacks any ventilators, and is
    7 “not properly equipped to handle serious COVID-19 cases.”72 BOP has not yet
    8 actually staffed the HCA with doctors and nurses, and local health officials have
    9 remarked that as of May 8, it was “unclear whether the [HCU] is in fact
   10 operational.”73 In lieu of adequate care —rendered impossible due to a serious lack
   11 of medical resources—prison authorities at Lompoc have adopted a chilling
   12 indifference towards those affected by COVID-19.
   13             56.     Petitioner Yonnedil Carror Torres shares a tiny, single-occupancy cell
   14 with a cellmate at USP Lompoc.74 Petitioner Torres suffers from chronic asthma,
   15 which makes him especially vulnerable to COVID-19.75 On April 24, 2020, he
   16 wrote to his family that he was feeling very sick and was concerned that he may
   17 have COVID-19.76 Six days later, Petitioner Torres’s family received a letter from
   18
        71
   19    Taylor Hayden, Inmates and Families Panic as Lompoc Prison Goes Into
      Lockdown, SANTA BARBARA INDEPENDENT, Apr. 22, 2020,
   20 https://www.independent.com/2020/04/22/inmates-and-families-panic-as-lompoc-
   21 prison-goes-into-lockdown/
      72
   22    Taylor Hayden, Lompoc Prison Explodes with Active COVID-19 Cases, SANTA
      BARBARA INDEPENDENT, May 13, 2020,
   23 https://www.independent.com/2020/05/13/lompoc-prison-explodes-with-active-
   24 covid-19-cases/.
      73
   25    Id.
        74
             Exh. 1 ¶ 5.
   26
        75
             Id. ¶ 3.
   27
        76
             Id. ¶ 6.
   28
        3649388
                                                      26
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 27 of 189 Page ID #:27




    1 his cellmate saying that he had went into acute respiratory failure and collapsed in
    2 his cell.77 Mr. Torres had suffered from fever, diarrhea, and body aches, and had
    3 been asking the guards for medical assistance for five days, but was completely
    4 ignored.78 He was only taken to the hospital after every prisoner in his block began
    5 to bang on their cell doors in unison to demand that he be taken care of.79 At the
    6 hospital, he was put into a medically-induced coma, intubated, and put on
    7 a ventilator.80 Mr. Torres suffered serious lung damage from COVID-19 which has
    8 severely deteriorated his lung capacity.81
    9              57.     The story of Mr. Torres is not an isolated incident but part of a larger
   10 pattern of deliberate indifference to that shocks the conscience: at Lompoc, medical
   11 care is now “limited or nonexistent[,]”82 and prisoners with COVID-19 are not
   12 tested or treated until they hit “rock bottom.”83 Even when they test positive, they
   13 are not immediately isolated from other prisoners, sometimes being left in
   14 dormitories housing approximately 100 people for as long as 14 days.84
   15              58.     Even when Respondents actually identify COVID-19 patients, the
   16 treatment they provide resembles prison discipline more than medical care. On
   17 March 27 or 28, 2020, Petitioner Reed began exhibiting symptoms of COVID-19.85
   18 Respondents waited until March 30, 2020to test him, and immediately placed him in
   19
   20   77
             Id. ¶ 7.
   21   78
             Id.
        79
   22        Id. ¶ 8.
        80
   23        Id.
        81
   24        Id. ¶ 10.
        82
   25        Exhibit 6 (“Exh. 6”, Declaration of Darwin P. Roberts) ¶ 7.
        83
             Id. ¶ 11.
   26
        84
             Exh. 6 ¶¶ 7-8.
   27
        85
             Exh. 2 ¶ 5.
   28
        3649388
                                                        27
                         COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 28 of 189 Page ID #:28




    1 solitary confinement while they awaited results.86 On March 31, 2020, Petitioner
    2 Reed received a temperature and symptom check from a doctor.87 After that,
    3 Respondents left him to languish in solitary confinement, and did not allow him to
    4 see a doctor again until April 7, 2020.88 Respondents’ approach of throwing people
    5 like Mr. Reed into solitary confinement when they display COVID-19 symptoms
    6 has incentivized prisoners at Lompoc to hide symptoms, even when they feel sick.89
    7              59.     As Dr. Samra notes, “the allegations” “show[] that virtually no effort is
    8 being made at Lompoc to monitor or treat prisoners, with staff waiting until the last
    9 minute to intervene,” and also has significant ripple effects on even regular medical
   10 care for prisoners with conditions unrelated to COVID-19.90 This is precisely what
   11 is happening inside Lompoc, as prison staff have stopped accepting requests for
   12 medical care from prisoners since the outbreak started.91 As a result, Petitioner
   13 Brown—who requires chemotherapy or surgery to treat his prostate cancer—and
   14 others similarly situated have been rendered unable to obtain the care they need to
   15 survive.92
   16              60.     As the outbreak at Lompoc rages on and the prison’s medical resources
   17 deplete further still, the risk of infection to staff who go home to the community will
   18 continue to rise. Every prisoner at a local hospital, in turn, must be guarded 24 hours
   19 a day by two correctional officers on eight-hour shifts, meaning each of these
   20 officers are returning to their homes and surrounding communities after long-term
   21
        86
   22        Id. ¶ 6.
        87
   23        Id.
        88
   24        Id.
        89
   25        Id. ¶ 6.
        90
             Exh. 7 ¶¶ 18, 21.
   26
        91
             Exh. 5 ¶ 7.
   27
        92
             See Exhibit 4 (Declaration of Verna Wefald) ¶ 6
   28
        3649388
                                                       28
                         COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 29 of 189 Page ID #:29




    1 exposure to coronavirus patients.93
    2              61.     The only solution is to reduce the prison population to the point where
    3 Lompoc’s medical resources become sufficient to provide adequate care for those
    4 who remain.
    5 E.           The Efforts of the Bureau of Prisons Are Inadequate.
    6              62.     The BOP has failed to respond effectively to the COVID-19 pandemic.
    7 The BOP failed to anticipate and prepare for the magnitude of the threat that
    8 COVID-19 poses to its own staff and the people it detains; it then failed to respond
    9 in any meaningful way to initial signs of uncontrolled outbreaks at several of its
   10 facilities across the country, including Lompoc; and it has continued to fail to
   11 implement even the baseline measures that would assure the safety of its own staff,
   12 of Petitioners and their fellow class members and others incarcerated by the BOP,
   13 and of the communities into which staff and others travel on a daily basis.
   14              63.     The BOP’s preparations were inadequate from the start. Initial
   15 guidance from the BOP was not issued until March 9, and it addressed only the
   16 possibility of telework for some employees at an agency where the vast majority of
   17 workers must physically appear at facilities to do their jobs, and it mentioned
   18 restrictions only for people who had traveled to already-impacted countries.94
   19              64.     Moreover, the BOP did not make any changes to protocols that call for
   20 prisoners to purchase their own cleaning supplies from commissary—preventing
   21 many indigent and poor prisoners from being able to buy those supplies—and for
   22 them to maintain responsibility for cleaning and sanitizing their spaces (whether
   23 they have supplies or not).95
   24
        93
             Id.
   25
        94
         See Federal Bureau of Prisons, Coronavirus Disease 2019 (COVID-19):
   26 Screening and Leave Guidance (May 9, 2020),
   27 https://cdn.govexec.com/media/gbc/docs/pdfs_edit/031020cb.pdf.
      95
   28    See, e.g., Federal Bureau of Prisons, Inmate Information Handbook for FCI
        3649388
                                                       29
                         COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 30 of 189 Page ID #:30




    1         65.     In fact, as late as March 26—weeks after many cities and states had
    2 closed restaurants and non-essential businesses, restricted travel, and ordered people
    3 to shelter in place—the BOP Director announced that the BOP had merely taken an
    4 inventory of soap, rather than taken steps to distribute it at no cost or even at
    5 a reduced cost.96
    6         66.     Among other failures that contributed to spread at BOP facilities,
    7 officers reported that even as of late March, they were given only gloves—not
    8 masks, face shields, or other PPE—when interacting with prisoners sick enough to
    9 require transport to the hospital.97 Those same officers were ordered back to the job
   10 in defiance of CDC guidance that called for self-isolation by correctional staff who
   11 had been exposed.98
   12         67.     Unicor, an entity that runs prisoner work programs for the BOP,
   13 continued operating throughout the pandemic and did not began distributing masks
   14 to prisoner workers and correctional officers until about April 2, 2020.99
   15
   16 Elkton, Ohio (Nov. 10, 2012),
      https://www.bop.gov/locations/institutions/elk/ELK_aohandbook.pdf.
   17 96
         That day the BOP Director issued a statement that “all cleaning, sanitation, and
   18 medical supplies have been inventoried. Ample supplies are on hand and ready to be
   19 distributed or moved to any facility as deemed necessary.” Federal Bureau of
      Prisons, Statement from BOP Director (Mar. 26, 2020),
   20 https://www.bop.gov/resources/news/20200326_statement_from_director.jsp.
        97
   21      Joseph Neff & Keri Blakinger, The Marshall Project, Federal Prisons Agency
      “Put Staff in Harm’s Way” of Coronavirus: Orders at Oakdale in Louisiana Help
   22
      Explain COVID-19 Spread (Apr. 3, 2020),
   23 https://www.themarshallproject.org/2020/04/03/federal-prisons-agency- put-staff-in-
      harm-s-way-of-coronavirus.
   24
      98
           Id.
   25
      99
           Cary Aspinwall, Keri Blakinger, & Joseph Neff, The Marshall Project, Federal
   26 Prison Factories Kept Running as Coronavirus Spread (Apr. 10, 2020),
   27 https://www.themarshallproject.org/2020/04/10/federal-prison-factories-kept-
      running-as- coronavirus-spread.
   28
      3649388
                                               30
                    COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                              AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 31 of 189 Page ID #:31




    1               68.     Across facilities, the BOP has been “scrambling” to address staffing
    2 and resource needs. Despite this, the BOP has continued to limit the number of
    3 contractors who can supply PPE, does not have enough tests, and has been sued by
    4 its own staff for requiring them to work in hazardous working conditions.100
    5               69.     When the BOP loses control at a facility, dozens of prisoners must go
    6 to local hospitals, straining the local healthcare infrastructure, as well.Even those
    7 figures are almost certainly an undercount. The BOP has repeatedly understated the
    8 scope of the problem and refused to take steps to assess the situation transparently.
    9 For example, the BOP has been artificially reducing their number of reported
   10 positive cases by classifying individuals who previously tested positive for
   11 COVID-19 but no longer showing symptoms as “recovered” and removing them
   12 from the count of positive cases, without re-testing them to confirm that the virus is
   13 no longer present in their bodies.101
   14               70.     BOP’s under-reporting of the outbreak at FCI Elkton provides another
   15 stark example of their lack of transparency. As of April 6, the BOP had reported
   16 eight prisoners and one staff had tested positive at FCI Elkton.102 Press accounts,
   17 however, reported that medical staffing had fallen to fifty percent of capacity, and
   18 that three prisoners had already died as of April 6.103 The full scope of the problem
   19 did not become clear until a federal judge ordered the facility to increase testing,
   20
        100
   21    Luke Barr, ABC News, Federal Prisons Facing Shortages of Resources Amid
      Coronavirus Outbreak (Apr. 1, 2020), https://abcnews.go.com/Health/federal-
   22 prisons-facing-shortages-resources- amid-coronavirus-outbreak/story?id=69920966.
        101
   23         A “problematic” practice according to Dr. Samra. Exh. 7 ¶ 16.
        102
   24         Id.
        103
   25      WKYC, Ohio Gov. Mike DeWine Authorized Ohio National Guard to Assist
      Elkton Prison (Apr. 6, 2020),
   26 https://www.wkyc.com/article/news/health/coronavirus/ohio-gov-mike-dewine-
   27 authorizes-ohio-national-guard-to-assist-elkton-prison/95-d620f3c6-c560-486f-
      9eac- ebce7c09d4e7.
   28
      3649388
                                               31
                          COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                    AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 32 of 189 Page ID #:32




    1 after the BOP admitted that it only had 55 tests on hand for a facility of more than
    2 2,400 prisoners.104
    3             71.     Conditions had already deteriorated so thoroughly that Ohio Governor
    4 Mike DeWine called in the state’s National Guard to FCI Elkton, a federal prison.105
    5 At the press conference announcing that decision, Governor DeWine called on the
    6 BOP to stop sending new prisoners to Elkton.106 And the accuracy of the BOP’s
    7 reporting of COVID-19 cases in Elkton is in doubt.107
    8             72.     Ultimately, the U.S. District Court for the Northern District of Ohio
    9 ordered enlargement of custody for medically vulnerable prisoners at FCI Elkton
   10 pending resolution of a class habeas petition on the merits, because of the outbreak
   11 already raging at the facility.108
   12
        104
          Cleveland.com, Judge grills federal prisons lawyer on lack of coronavirus tests at
   13
      Ohio facility in wake of Trump’s claim that ‘anybody’ can get tested (Apr. 18,
   14 2020), https://www.cleveland.com/court-justice/2020/04/judge-grills-federal-
      prisons-lawyer-on-lack-of-coronavirus-tests-at-ohio-facility-in-wake-of-trumps-
   15
      claim-that-anybody-can-get-tested.html.
   16 105
          WKYC, Ohio Gov. Mike DeWine Authorized Ohio National Guard to Assist
   17 Elkton Prison (Apr. 6, 2020),
      https://www.wkyc.com/article/news/health/coronavirus/ohio-gov-mike-dewine-
   18
      authorizes-ohio-national-guard-to-assist-elkton-prison/95-d620f3c6-c560-486f-
   19 9eac- ebce7c09d4e7.
        106
   20       Cory Shaffer, Cleveland.com, Ohio National Guard Will Assist With Response
        at Elkton Federal Prison, Cleveland.com (Apr. 6, 2020),
   21   https://www.cleveland.com/coronavirus/2020/04/ohio-national-guard-will-assist-
   22   with-coronavirus-response-at-elkton-federal-prison.html; see also Brandon Brown,
        WFMJ, Sen. Portman Urges Prisoners Not to be Transferred to FCI Elkton (Apr. 6,
   23   2020), https://www.wfmj.com/story/41979544/sen-portman-urges-prisoners-not-be-
   24   transferred-to-fci-elkton.
        107
   25     WKBN, Elkton Union President Reports Different COVID-19 Stats Than
      Federal Bureau of Prisons (Apr. 9, 2020),
   26 https://www.wkbn.com/news/coronavirus/elkton-union-president-reports-different-
   27 covid-19-stats-than-federal-bureau-of-prisons/.
      108
   28     Wilson v. Williams, No. 4:20-CV-00794, 2020 WL 1940882, at *10 (N.D. Ohio
        3649388
                                                      32
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 33 of 189 Page ID #:33




    1             73.     Such conditions at numerous facilities across the country have led BOP
    2 employees, including corrections officers, to file a complaint with the Occupational
    3 Safety and Health Administration (OSHA) alleging unsafe conditions at numerous
    4 federal prisons nationwide, including Lompoc. Among other things, the officers’
    5 OSHA complaint points to the BOP having “directed staff through the Bureau of
    6 Prisons who have come in contact with, or been in close proximity to, prisoners who
    7 show or have shown symptoms of COVID-19, to report to work and not be
    8 self-quarantined for 14 days per the CDC guidelines.” It also complains of the BOP
    9 having failed to undertake any workplace or administrative controls to address
   10 transmission, to require social distancing or other measures in the CDC guidance, or
   11 to provide sufficient PPE.109
   12             74.     In apparent response, the BOP released a short document titled
   13 “Correcting Myths and Misinformation about BOP and COVID-19.”110 In
   14 responding to the assertion that staff who had been in contact with prisoners who
   15 showed symptoms of COVID-19 still had to come to work, the BOP simply
   16 confirmed that such employees were required to come to work, with masks.111
   17
        Apr. 22, 2020).
   18
        109
          See U.S. Dep’t of Labor, Notice of Alleged Safety or Health Hazards (March 31,
   19 2020),
   20 https://www.afge.org/globalassets/documents/generalreports/coronavirus/4/osha-7-
      form-national-complaint.pdf.
   21 110
          See Fed. Bureau of Prisons, Correcting Myths and Misinformation About BOP
   22 And COVID-19 (Apr. 11, 2020),
   23 https://www.bop.gov/coronavirus/docs/correcting_myths_and_misinformation_bop_
      covid19.pdf.
   24 111
          Id. at 3 (“In keeping with CDC ‘Guidance for Safety Practices for Critical
   25 Infrastructure Workers Who May Have Had Exposure to a Person with Suspected or
   26 Confirmed COVID-19,’ the BOP performs pre-screening of all employees reporting
      to work and requires exposed workers to wear a mask for 14 days after last
   27 exposure. They are also expected to perform regular self-monitoring for symptoms,
   28 practice social distancing and to disinfect and clean their work spaces. Anyone who
        3649388
                                                     33
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 34 of 189 Page ID #:34




    1            75.     CARES Act, signed into law on March 27, makes funding available for
    2 federal prisons to purchase PPE and test kits for COVID-19 in addition to
    3 authorizing the Department of Justice to lengthen the maximum amount of time that
    4 a prisoner can be placed in home confinement during the pandemic, as discussed
    5 above.112 Acting under that authority, Attorney General Barr made a finding that
    6 emergency conditions are materially affecting the functioning of the BOP, and on
    7 April 3 he directed Respondent Carvajal to review prisoners with COVID-19 risk
    8 factors to determine their eligibility for home confinement, stating that the BOP’s
    9 efforts to prevent COVID-19 from entering BOP facilities and infecting prisoners
   10 have “not been perfectly successful at all institutions.”113
   11            76.     Attorney General Barr also released guidance in the form of a series of
   12 letters suggesting that some BOP prisoners should be released.114 Those letters
   13 merely encourage the BOP to exercise discretion that it has declined to use, and they
   14 do not actually direct the release of categories of prisoners, much less on a scale that
   15 would allow for safe social distancing in the facilities or with the speed that the
   16 health crisis requires. Of the relatively small number of people released, the BOP
   17 has not reported the number who subsequently died.
   18            77.     The BOP’s April 22 guidance gave wardens virtually unchecked
   19 discretion to deny a request for release and imposes unnecessary and arbitrary
   20 barriers on prisoners seeking release. For example, pursuant to the BOP’s guidance
   21 from April 22: (i) prisoners must have had no disciplinary infractions of any kind for
   22
        develops signs or symptoms of illness are sent home.”).
   23
        112
              CARES Act, Pub. L. No. 116-136, § 12003(b), 134 Stat. 281 (2020).
   24   113
           Office of the Attorney General, Increasing Use of Home Confinement at
   25 Institutions Most Affected by COVID-10 (Apr. 3, 2020),
   26 https://www.justice.gov/file/1266661/download.
      114
           See US Dep’t of Justice, Memoranda For Director of Bureau Prisons from
   27
      Attorney General Barr (Mar. 26, 2020 & Apr. 3, 2020),
   28 https://www.justice.gov/coronavirus.
      3649388
                                                 34
                       COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                 AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 35 of 189 Page ID #:35




    1 12 months; (ii) prisoners must provide verification that they would have a lower risk
    2 of contracting COVID-19 outside the prison than inside of it, and, (iii) prisoners
    3 with any on-going medical care must show their medical needs can be met outside
    4 the prison, and that they have a 90-day supply of prescribed medications. After
    5 reports of positive cases continued to explode, on May 8, 2020, BOP amended this
    6 guidance to relax a few criteria, but it continues to be far more restrictive than the
    7 recommendations proposed by Attorney General Barr.
    8         78.     The BOP’s April 22 guidance gives wardens virtually unchecked
    9 discretion to deny a request for release and imposes unnecessary and impractical
   10 barriers on prisoners seeking release. For example, pursuant to the BOP’s guidance:
   11 (i) prisoners must have had no disciplinary infractions of any kind for 12 months;
   12 (ii) prisoners must provide verification that they would have a lower risk of
   13 contracting COVID-19 outside the prison than inside of it, and, (iii) prisoners with
   14 any on-going medical care must show their medical needs can be met outside the
   15 prison, and that they have a 90-day supply of prescribed medications.
   16         79.     The appalling conditions of BOP facilities across the country, and the
   17 BOP’s failures to address the constitutional rights of prisoners in its care, have
   18 forced federal courts to address BOP failures in a large number of individual cases
   19 seeking compassionate release115; bail pending appeal, trial, or sentencing116;
   20
        115
           E.g., United States v. Smith, No. 12-cr-133, 2020 WL 1849748 (S.D.N.Y. Apr.
   21 13, 2020) (granting release; finding exhaustion waivable and waived); United States
   22 v. Zukerman, ---F.Supp.3d ---, 2020 WL1659880 (S.D.N.Y. Apr. 3, 2020) (waiving
      exhaustion and granting immediate compassionate release in light of COVID-19 to
   23 defendant convicted in multi-million dollar fraud scheme); United States v. Sawicz,
   24 No. 08-cr-287, 2020 WL1815851 (E.D.N.Y. Apr. 10, 2020) (releasing child-
      pornography offender); United States v. Oreste, No. 14-cr-20349 (S.D. Fla. Apr. 6,
   25 2020).
   26 116 E.g., United States v. Chavol, No. 20-50075 (9th Cir. Apr. 2, 2020) (stipulation
   27 in a FRAP(9) appeal to release on conditions); United States v. Hector, No. 2:18-cr-
      3-2, ECF 748 (W.D. Va. Mar. 27, 2020).
   28
      3649388
                                                  35
                    COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                              AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 36 of 189 Page ID #:36




    1 delayed self-surrender117; writs of habeas corpus118; class-wide relief for groups of
    2 prisoners119; and furloughs.120
    3             80.     As noted, the Northern District of Ohio ordered FCI Elkton to release
    4 potentially hundreds of medically vulnerable prisoners who face a greater threat
    5 from COVID-19. It did this because Elkton had “altogether failed” to follow CDC
    6 guidance for correctional settings, and that the measures were “necessary to stop the
    7 spread of the virus and save lives.”121 Similarly, the District of Connecticut has
    8 ordered FCI Danbury to evaluate and release medically vulnerable inmates on an
    9 accelerated basis.122
   10
   11
   12
   13
   14   117
           United States v. Roeder, No. 20-1682, ___ F. App’x ___, 2020 WL 1545872 (3d
        Cir. Apr. 1, 2020) (reversing district court’s denial of defendant’s motion to delay
   15
        execution of his sentence because of the COVID-19 pandemic); United States v.
   16   Garlock, No. 18-CR-418, 2020 WL 1439980, at *1 (N.D. Cal. Mar. 25, 2020)
   17   (observing that “[b]y now it almost goes without saying that we should not be
        adding to the prison population during the COVID-19 pandemic if it can be
   18   avoided”); United States v. Matthaei, No. 19-CV-243, 2020 WL 1443227, at *1 (D.
   19   Idaho Mar. 16, 2020) (extending self-surrender date by 90 days in light of
        pandemic).
   20   118
          E.g., Xochihua-Jaimes v. Barr, No. 18-71460, 798 F. App’x 52 (9th Cir. Mar. 23,
   21 2020) (Mem) (sua sponte releasing detainee from immigration detention “in light of
      the rapidly escalating public health crisis”); Fraihat v. Wolf, No. 5:20-CV-590,
   22
      (C.D. Cal. Mar. 30, 2020).
   23 119 E.g., In re Request to Commute or Suspend County Jail Sentences, Docket No.
   24 084230 (N.J. Mar. 22, 2020) (releasing large class of defendants serving time in
      county jail “in light of the Public Health Emergency” caused by COVID-19).
   25
      120
          E.g., United States v. Stahl, No. 18-cr-694, 2020 WL 1819986 (S.D.N.Y. Apr.
   26 10, 2020).
   27 121 Wilson, 2020 WL 1940882, at *8.
   28   122
              Martinez-Brooks, 2020 WL 2405350, at *32
        3649388
                                                 36
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 37 of 189 Page ID #:37




    1                                            V.
    2                          LEGAL GROUNDS FOR PETITION
    3 A.      Respondents’ Failure to Take Steps to Mitigate Transmission of
    4         COVID-19 Constitutes Deliberate Indifference to the Serious Medical
    5         Needs of Petitioner.
    6         81.     Respondents are violating Petitioners’ Eighth Amendment rights by
    7 continuing to incarcerate them in conditions that place them at substantial risk of
    8 serious harm from transmission of an infectious and deadly disease, especially
    9 considering Petitioners’ vulnerable conditions.
   10         82.     All individuals held at Lompoc have been convicted and assigned by
   11 the BOP to serve time at Lompoc. Therefore, the treatment of all individuals
   12 incarcerated at Lompoc, including the treatment of Petitioners, is governed by the
   13 Eighth Amendment. See Wilhelm v. Rotman, 680 F.3d 1113, 1122 (9th Cir. 2012).
   14 The Ninth Circuit employs a two-part test in assessing whether prison officials have
   15 violated the Eighth Amendment by way of deliberately indifference to the medical
   16 needs of inmates: (1) the plaintiff must have “a serious medical need by
   17 demonstrating that failure to treat a prisoner’s condition could result in further
   18 significant injury or the unnecessary and wanton infliction of pain”; and (2) the
   19 defendants’ “response to the need” must have been “deliberately indifferent.” Id.
   20         83.     Government officials act with deliberate indifference when they
   21 “ignore a condition of confinement that is sure or very likely to cause serious illness
   22 and needless suffering the next week or month or year,” even when “the
   23 complaining inmate shows no serious current symptoms.” Helling v. McKinney, 509
   24 U.S. 25, 33 (1993). This Court need not “await a tragic event” to find that
   25 Respondents are maintaining unconstitutional conditions of confinement. Id. at 32-
   26 33. This is so not only because a tragedy is ongoing, but because even petitioners
   27 and class members who have not yet tested positive have a constitutional right to be
   28 free from conditions of confinement that “pose an unreasonable risk of serious
      3649388
                                               37
                    COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                              AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 38 of 189 Page ID #:38




    1 damage to [Petitioner’s] future health.” Id. at 35.
    2             84.     Indeed, the threat of exposure to a deadly infectious disease such as
    3 COVID-19 and subsequent mistreatment due to lack of medical resources
    4 constitutes a serious risk to health, particularly for the Petitioners with unique
    5 vulnerability to COVID-19. See Helling, 509 U.S. at 34 (noting with approval
    6 Eighth Amendment claims based on exposure to serious contagious diseases);
    7 Unknown Parties v. Johnson, No. cv-15-00250, 2016 WL 8188563, at *15 (D. Ariz.
    8 Nov. 18, 2016), aff’d sub nom, Doe v. Kelly, 878 F.3d 710 (finding evidence of
    9 medical risks associated with . . .being exposed to communicable diseases” adequate
   10 to establish irreparable harm under the Eighth Amendment); Castillo v. Barr, --- F.
   11 Supp. 3d ---, 2020 WL 1502864, at *5 (C.D. Cal. Mar. 27, 2020) (in civil
   12 detainment context, ruling that officials could not “be deliberately indifferent to the
   13 potential exposure of civil detainees to a serious, communicable disease on the
   14 ground that the complaining detainee shows no serious current symptoms, or ignore
   15 a condition of confinement that is more than very likely to cause a serious illness”).
   16             85.     As such, Petitioners are entitled to be protected from conditions of
   17 confinement that create a serious risk to health or safety, including through release
   18 from custody when necessary. Brown v. Plata, 563 U.S. 493, 531–32 (2011)
   19 (upholding lower court’s order releasing people from state prison even though
   20 release was based on prospect of future harm caused by prison overcrowding); see
   21 also Farmer v. Brennan, 511 U.S. 825, 834 (1994) (correctional official violates
   22 Eighth Amendment by consciously failing to prevent “a substantial risk of serious
   23 harm”).
   24             86.     Under Lompoc’s current conditions, Respondents have not and cannot
   25 protect Petitioners and the class from this well-known risk of serious harm. In these
   26 circumstances, enlargement of custody and, if necessary, release, is required to
   27 protect Petitioners and other prisoners with high- risk health conditions from
   28 unconstitutional custody.
        3649388
                                                      38
                        COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                  AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 39 of 189 Page ID #:39




    1         87.     In this case, as established by the facts above, Petitioners face
    2 a significant risk of exposure to COVID-19, with the attendant risk of death that
    3 follows given their vulnerable conditions. Respondents are well aware of this risk,
    4 having been alerted to it by the CDC, the Attorney General, BOP guidance,
    5 widespread news reporting, and the ongoing outbreak at various BOP facilities
    6 including Lompoc itself. Indeed, the Second Circuit Court of Appeals, unprompted,
    7 acknowledged over a month ago the “grave and enduring” risk posed by COVID-19
    8 in the correctional context. Fed. Defs. of New York, Inc. v. Fed. Bureau of Prisons,
    9 No. 19-1778, -- F.3d --, 2020 WL 1320886, at *12 (2d Cir. Mar. 20, 2020).
   10         88.     Finally, as established above, Respondents have not taken steps
   11 sufficient to protect Petitioners from the grave risks that are present every moment
   12 he is incarcerated at Lompoc. Respondent Milusnic has recklessly failed to follow or
   13 implement CDC guidance or directives from Attorney General Barr or the BOP.
   14 Respondents are not capable of managing the risk to Petitioners in the facility’s
   15 current environment. Respondents are holding Petitioners in violation of their
   16 Eighth Amendment rights by detaining them in the face of significant threats to their
   17 health and safety without taking reasonable steps to prevent or address that harm.
   18 B.      Overcrowding Ensures That Respondents Cannot Implement
   19         Recommended Measures Required to Protect Petitioner’s Health, and
   20         Violates the Eighth Amendment.
   21         89.     Respondents are violating Petitioners’ Eighth Amendment rights by
   22 continuing to incarcerate them in conditions that place them at substantial risk of
   23 serious harm from transmission of an infectious and deadly disease.
   24         90.     As alleged above, the BOP has thus far failed to implement effective
   25 social distancing across its facilities, including and particularly at Lompoc, with
   26 disastrous effects. Part of this failure reflects the nature of correctional confinement;
   27 however, a large part here owes to the particular circumstances of Lompoc’s design,
   28 capacity, and deliberate choices about policies by Respondents.
      3649388
                                               39
                    COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                              AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 40 of 189 Page ID #:40




    1        91.     In the midst of a pandemic, Respondents have chosen to maintain
    2 overcrowding at Lompoc at a rate of 130% capacity. The profound and purposeful
    3 overcrowding Lompoc ensures that effective social distancing is impossible, and it
    4 stymies Respondents’ ability to follow and implement the CDC Interim Guidance
    5 and other viral-transmission prevention measures.
    6        92.     Courts have long found that facilities’ populations may exacerbate
    7 existing harms entirely unrelated to the fact of crowding itself, including cases
    8 where overcrowding may inhibit a facility’s ability to mitigate incarcerated
    9 individuals’ risk of contracting dangerous diseases. The Supreme Court itself has
   10 recognized that correctional defendants such as Respondents can violate the Eighth
   11 Amendment when they crowd prisoners into shared spaces with others who have
   12 “infectious maladies.” Helling v. McKinney, 509 U.S. 25, 33 (1993); see also Hutto
   13 v. Finney, 437 U.S. 678, 682–85 (1978) (recognizing the need for a remedy where
   14 prisoners were crowded into cells and some had infectious diseases).
   15        93.     Such decisions make particular sense in light of substantial
   16 corroborating evidence that transmission becomes more likely in light of, among
   17 other factors, relative crowding of people together. See, e.g., Joseph A. Bick,
   18 Infection Control in Jails and Prisons, 45 Clinical Infectious Diseases 1047, 1047
   19 (Oct. 2007) (“The probability of transmission of potentially pathogenic organisms is
   20 increased [in jails and prisons] by crowding, delays in medical evaluation and
   21 treatment, rationed access to soap, water, and clean laundry, [and] insufficient
   22 infection-control expertise.”), available at https://bit.ly/2QZA494.
   23        94.     In this case, Petitioner faces an elevated risk of serious illness both
   24 because of particular failures on the part of Respondents as alleged above, and
   25 because Respondents have chosen to overcrowd the facility. The current population
   26 of Lompoc, both of incarcerated individuals and the staff who come through on
   27 a daily basis and work in the same confined space, ensures that any effective
   28 measures that would mitigate Petitioner’s exposure to and risk of serious illness
      3649388
                                               40
                   COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                             AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 41 of 189 Page ID #:41




    1 from COVID-19 are impossible to implement.
    2                                             VI.
    3                           CLASS ACTION ALLEGATIONS
    4        95.     Petitioners bring this action pursuant to Rule 23(b)(2) of the Federal
    5 Rules of Civil Procedure on their own behalf and on behalf of all persons similarly
    6 situated.
    7        96.     Petitioners seek to represent a class consisting of all current and future
    8 people in post-conviction custody at Lompoc (the “Class”).
    9        97.     The members of both the Class are too numerous to be joined in one
   10 action, and their joinder is impracticable. Upon information and belief, the Class
   11 exceeds 1,000 individuals.
   12        98.     Several common questions of law and fact apply to all Class members.
   13 These common questions of fact and law include but are not limited to: (1) whether
   14 the conditions of confinement described in this Petition amount to constitutional
   15 violations; (2) what measures Respondents have taken and are taking in response to
   16 the COVID-19 crisis; (3) whether Respondents have implemented and are
   17 implementing an adequate emergency plan during the COVID-19 crisis; (4) whether
   18 Respondents’ practices during the COVID-19 crisis have exposed and are exposing
   19 prisoners at Lompoc to a substantial risk of serious harm; (5) whether the
   20 Respondents have known of and disregarded a substantial risk of serious harm to the
   21 safety and health of the Class; and (6) what relief should be awarded to redress the
   22 harms suffered by members of the Class as a result of the conditions.
   23        99.     Absent class certification, individuals incarcerated at Lompoc during
   24 the COVID- 19 pandemic would face a series of barriers in accessing the relief
   25 sought. Lompoc has suspended visitation, and individuals incarcerated there have
   26 limited access to communication with the outside world, impeding their ability to
   27 obtain legal representation and pursue litigation. Because the Class are all sentenced
   28 prisoners, they do not have defense attorneys already working with them on their
      3649388
                                                41
                   COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                             AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 42 of 189 Page ID #:42




    1 criminal proceedings. And a large portion of the Class has limited educational
    2 backgrounds and financial means.
    3              100. Respondents’ practices and the claims alleged in this Petition are
    4 common to all members of the Class and members of the Class.
    5              101. The claims of Petitioners are typical of those of the Class. Petitioners,
    6 like all others at Lompoc, are currently being held in unconstitutional custody at
    7 Lompoc. Petitioners Torres, Reed, and Brown, like many other members of the
    8 Class, have underlying conditions that enhance their risk of serious illness or death
    9 from COVID-19.
   10              102. The legal theories on which Petitioner relies are the same or similar to
   11 those on which all Class members would rely, and the harms suffered by them are
   12 typical of those suffered by all the other Class members.
   13              103. Petitioner will fairly and adequately protect the interests of the Class.
   14 The interests of the Class representatives are consistent with those of the Class
   15 members. In addition, counsel for Petitioner is experienced in class action and civil
   16 rights litigation and in criminal law.
   17              104. Counsel for Petitioner knows of no conflicts of interest among Class
   18 members or between the attorneys and Class members that would affect this
   19 litigation.
   20                                                VII.
   21                                     CLAIMS FOR RELIEF
   22                                  FIRST CLAIM FOR RELIEF
   23                                       (Eighth Amendment)
   24
                  Unconstitutional Conditions of Confinement in Violation of the Eighth
   25                             Amendment to the U.S. Constitution
   26                                28 U.S.C. § 2241/28 U.S.C. § 2243
   27                                    Class versus All Defendants
   28              105. Petitioner incorporates by reference each and every allegation
        3649388
                                                     42
                      COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 43 of 189 Page ID #:43




    1 contained in the preceding paragraphs as if set forth fully herein.
    2          106. Petitioners bring this claim on their own behalf and on behalf of the
    3 Class.
    4          107. The Eighth Amendment guarantees sentenced prisoners custody free of
    5 “a condition of confinement that is sure or very likely to cause serious illness and
    6 needless suffering the next week or month or year.” Helling, 509 U.S. at 33; see also
    7 U.S. Const. Amend VIII. The government’s failure to protect the prisoners in its
    8 custody from a widespread outbreak of a serious contagious disease that causes
    9 potentially permanent damage or death constitutes deliberate indifference in
   10 violation of the Eighth Amendment to the United States Constitution.
   11          108. Petitioners and the Class are at severe risk of contracting COVID-19
   12 because 60% of prisoners have already tested positive. Petitioners and the sub-class
   13 are uniquely vulnerable to serious complications or death from contracting
   14 COVID-19 because of their age and/or because they suffer from medical conditions
   15 that render them uniquely vulnerable.
   16          109. Because of the conditions at Lompoc, Petitioners and Class members
   17 cannot take steps to protect themselves—such as social distancing, hand-washing
   18 hygiene, or self-quarantining—and the government has not provided adequate
   19 protections. As COVID-19 rapidly spreads inside Lompoc, the already deplorable
   20 conditions at the prison will continue to deteriorate, and incarcerated individuals
   21 there will continue to contract COVID-19 at staggering rates. Due to inadequate
   22 medical care at Lompoc, the health and safety of those who contract COVID-19 will
   23 be put in unconstitutional danger.
   24          110. Petitioners contend that the fact of their confinement in prison itself
   25 amounts to an Eighth Amendment violation under these circumstances, and nothing
   26 short of an order ending their confinement at Lompoc will alleviate that violation.
   27          111. Respondent’s failure to adequately protect Petitioners from these
   28 unconstitutional conditions, or release them from the conditions altogether,
      3649388
                                                 43
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 44 of 189 Page ID #:44




    1 constitutes deliberate indifference to a substantial risk of serious harm to Petitioners,
    2 and all members of the Class, thereby establishing a violation of the Eighth
    3 Amendment to the United States Constitution.
    4             112. Respondents were aware or should have been aware of these
    5 conditions, which were and are open and obvious throughout the entire prison
    6             113. Respondents knew of and disregarded an excessive risk to health and
    7 safety.
    8             114. Respondents failed to act with reasonable care to mitigate these risks,
    9 subjecting Petitioners to a grave and serious risk of harm of serious illness,
   10 permanent injury, or death.
   11             115. Because Respondents failed to act to remedy Petitioners’ and the
   12 Class’s degrading and inhumane conditions of confinement in violation of their
   13 Eighth Amendment rights, Petitioners seek relief under this Writ of Habeas Corpus
   14 Petition and Class Action Complaint.
   15             116. Because of the unlawful conduct of Respondents, Petitioners and the
   16 Class are threatened with imminent physical injury, pain and suffering, emotional
   17 distress, humiliation, and death.
   18                               SECOND CLAIM FOR RELIEF
   19                                     (Eighth Amendment)
   20               Unconstitutional Conditions of Confinement in Violation of the
                             Eighth Amendment to the U.S. Constitution
   21
                                          Injunctive Relief Only
   22
                        U.S. Const, Amend. VIII; 28 U.S.C. § 1331; 5 U.S.C. § 702
   23
                          Class versus All Defendants in their Official Capacities
   24
                  117. Petitioners incorporate by reference each and every allegation
   25
        contained in the preceding paragraphs as if set forth fully herein.
   26
                  118. Petitioners bring this claim on their own behalf and on behalf of the
   27
        Class.
   28
        3649388
                                                    44
                     COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                               AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 45 of 189 Page ID #:45




    1         119. This claim does not seek the release of any members of the Class and
    2 accordingly is not maintained pursuant to 28 U.S.C. § 2241. However, it is well-
    3 established that individuals may sue to enjoin constitutional violations, either
    4 directly under the Constitution or under the Administrative Procedure Act. See
    5 Sierra Club v. Trump, 929 F.3d 670, 694 (9th Cir. 2019) (“Plaintiffs may bring their
    6 challenge through an equitable action to enjoin unconstitutional official conduct, or
    7 under the judicial review provisions of the Administrative Procedure Act
    8 (“APA”), 5 U.S.C. § 701 et seq., as a challenge to a final agency decision that is
    9 alleged to violate the Constitution, or both.”); Fazaga v. FBI, 916 F.3d 1202, 1239–
   10 1241 (9th Cir. 2019) (permitting claims against federal officials in their official
   11 capacities for injunctive relief directly under the Fourth Amendment, even though
   12 Privacy Act provides for other remedies, and contrasting them to direct actions
   13 under the Fourth Amendment for money damages, which are Bivens claims); Jones
   14 v. Hurwitz, 324 F. Supp. 3d 97, 100 (D.D.C. 2018) (finding that a Bivens claim
   15 could not be maintained because allegations were against defendants in their official
   16 capacities but that equitable action could have been maintained as a “direct cause of
   17 action arising under the Constitution”); Farmer v. Brennan, 511 U.S. 825, 846
   18 (1994) (“If the court finds the Eighth Amendment’s subjective and objective
   19 requirements satisfied” with regard to a federal prisoner, “it may grant appropriate
   20 injunctive relief.”).
   21         120. Because of the conditions at Lompoc, Petitioners and Class members
   22 cannot take steps to protect themselves—such as social distancing, hand-washing
   23 hygiene, or self-quarantining—and the government has not provided adequate
   24 protections. As COVID-19 rapidly spreads inside Lompoc, the already deplorable
   25 conditions at the prison will continue to deteriorate, and incarcerated individuals
   26 there will continue to contract COVID-19 at staggering rates.
   27         121. Respondent’s failure to adequately protect Petitioners from these
   28 unconstitutional conditions, or release them from the conditions altogether,
      3649388
                                                 45
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 46 of 189 Page ID #:46




    1 constitutes deliberate indifference to a substantial risk of serious harm to Petitioners,
    2 and all members of the Class, thereby establishing a violation of the Eighth
    3 Amendment to the United States Constitution.
    4        122. Because of the unlawful conduct of Respondents, Petitioners and the
    5 Class are threatened with imminent physical injury, pain and suffering, emotional
    6 distress, humiliation, and death.
    7                                           VIII.
    8                                 RELIEF REQUESTED
    9        WHEREFORE, Petitioners, and the Class respectfully request that the Court:
   10        1.     Declare that Lompoc’s custody of Petitioners and the Class violates the
   11 Eighth Amendment right against cruel and unusual punishment with respect to
   12 Petitioners and the Class;
   13        2.     Order a highly expedited process—for completion within no more than
   14 48 hours—for Respondents to use procedures available under the law to review
   15 members of the Class for enlargement of custody to home confinement (or bail
   16 pending habeas corpus) in order to reduce the density of the prison population to
   17 a number that allows for the implementation of appropriate measures to prevent the
   18 spread of COVID-19, during the pendency of this petition for a writ of habeas
   19 corpus;
   20        3.     Order respondents to comply with the Constitution for any Class
   21 members who do not receive temporary enlargement and remain at Terminal Island
   22 during the pendency of the petition;
   23        4.     Grant a writ of habeas corpus for all members of the class that received
   24 temporary enlargement within one day of the Court’s order and release all such
   25 persons within twenty-four hours;
   26        5.     Enter a temporary restraining order, preliminary injunction and
   27 permanent injunction requiring Respondents to immediately adopt mitigation efforts
   28 to protect all Class Members not released, including but not limited to:
      3649388
                                               46
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 47 of 189 Page ID #:47




    1                     A.    Providing adequate spacing of six feet or more between
    2                           incarcerated people so that social distancing can be
    3                           accomplished in accordance with CDC guidelines;
    4                     B.    Ensuring that each incarcerated person receives, free of
    5                           charge, an individual supply of hand soap and paper
    6                           towels sufficient to allow frequent hand washing and
    7                           drying each day; an adequate supply of clean implements
    8                           for cleaning such as sponges and brushes and disinfectant
    9                           hand wipes or disinfectant products effective against the
   10                           virus that causes COVID-19 for daily cleanings;
   11                     C.    Ensuring that all incarcerated people have access to hand
   12                           sanitizer containing at least 60% alcohol;
   13                     D.    Providing access to daily showers and daily access to
   14                           clean laundry, including clean personal towels and
   15                           washrags after each shower;
   16                     E.    Requiring that all Terminal Island staff wear personal
   17                           protective equipment, consistent with the CDC guidance,
   18                           including masks and gloves, when interacting with any
   19                           person or when touching surfaces in cells or common
   20                           areas;
   21                     F.    Requiring that all Terminal Island staff wash their hands,
   22                           apply hand sanitizer containing at least 60% alcohol, or
   23                           change their gloves both before and after interacting with
   24                           any person or touching surfaces in cells or common areas;
   25                     G.    Taking the temperature of all class members and screening
   26                           for symptoms of COVID-19 of all class members, prison
   27                           staff, and visitors daily (with a functioning and properly
   28                           operated and sanitized thermometer) to identify potential
        3649388
                                               47
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 48 of 189 Page ID #:48




    1                           COVID-19 infections;
    2                     H.    Assessing (through questioning) each incarcerated person
    3                           daily to identify potential COVID-19 infections;
    4                     I.    Ensuring that all class member and prison staff exposed to
    5                           individuals with known cases of COVID-19 be isolated
    6                           from individuals who have not tested positive.
    7                     J.    Immediately providing on a daily basis clean masks for all
    8                           individuals who display or report potential COVID-19
    9                           symptoms until they can be evaluated by a qualified
   10                           medical professional or placed in non-punitive quarantine
   11                           and ensure the masks are properly laundered with
   12                           replacements as necessary;
   13                     K.    Ensuring that individuals identified as having COVID-19
   14                           or having been exposed to COVID-19 receive adequate
   15                           medical care and are properly quarantined (without
   16                           resorting to cohorting, if possible), in a non-punitive
   17                           setting, with continued access to showers, recreation,
   18                           mental health services, reading materials, phone and video
   19                           visitation with loved ones, communications with counsel,
   20                           and personal property;
   21                     L.    Cleaning and disinfecting frequently touched surfaces with
   22                           disinfectant products effective against the virus that causes
   23                           COVID-19 (at the manufacturer's recommended
   24                           concentration), as well as surfaces in common areas, every
   25                           two hours during waking hours, and at least once during
   26                           the night;
   27                     M.    Assuring incarcerated people are told they will not be
   28                           retaliated against for reported COVID-19 symptoms;
        3649388
                                                48
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 49 of 189 Page ID #:49




    1                          N.     Providing necessary medical treatment consistent with
    2                                 community standards for incarcerated people who are ill
    3                                 because of COVID-19;
    4                          O.     Responding to all emergency (as defined by the medical
    5                                 community) requests for medical attention within an hour;
    6                          P.     Crafting a mechanism to ensure compliance through the
    7                                 appointment of an independent monitor with medical
    8                                 expertise to ensure compliance with these conditions, and
    9                                 provide the monitor with unfettered access to medical
   10                                 units, confidential communication with detained
   11                                 individuals in and out of quarantine, and surveillance
   12                                 video of public areas of the facilities;
   13             6.     Certify this petition as a class action, for the reasons stated herein;
   14             7.     Award Plaintiffs’ attorneys’ fees and costs, as provided by statute and
   15 law; and
   16             8.     Order such other and further relief as this Court deems just, proper and
   17 equitable.
   18
   19             Local Rule 5-4.3.4(a)(2)(i) Compliance: Filer attests that all other
   20 signatories listed concur in the filing’s content and have authorized this filing.
   21
   22 DATED: May 16, 2020                        Bird, Marella, Boxer, Wolpert, Nessim,
                                                 Drooks, Lincenberg & Rhow, P.C.
   23
   24                                            By:         /s/ Naeun Rim
                                                                   Naeun Rim
   25
                                                       Attorneys for Plaintiff-Petitioners
   26
   27
   28
        3649388
                                                       49
                       COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                                 AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 50 of 189 Page ID #:50




    1 DATED: May 16, 2020                Peter J. Eliasberg
                                         Peter Bibring
    2                                    ACLU Foundation of Southern California
    3                                    By:         /s/ Peter Bibring
    4                                                          Peter Bibring
                                               Attorneys for Plaintiff-Petitioners
    5
    6 DATED: May 16, 2020                Donald Specter
    7                                    Sara Norman
                                         Prison Law Office
    8
                                         By:         /s/ Donald Specter
    9                                                        Donald Specter
                                               Attorneys for Plaintiff-Petitioners
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
        3649388
                                               50
                  COMPLAINT—CLASS ACTION FOR DECLARATORY AND INJUNCTIVE RELIEF
                            AND PETITION FOR WRIT OF HABEAS CORPUS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 51 of 189 Page ID #:51




                    EXHIBIT 1
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 52 of 189 Page ID #:52




    1                             DECLARATION OF KIARA CARROR
    2               I, Kiara Carror, am over the age of 18 and fully competent to declare as
    3 follows:
    4               1.    My brother is Yonnedil Carror Torres. He is currently incarcerated at
    5 USP Lompoc in Lompoc, California. His BOP Register Number is 41928-069.
    6               2.    My brother is 24 years old, and has suffered from chronic asthma since
    7 he was a child.
    8               3.    I periodically converse with my brother through telephone and letters.
    9 From about mid-April until May 9, the prison would not allow any prisoners to use
   10 the telephone, and my brother could only reach me through letters. He has not been
   11 able to get in direct contact with any lawyers. He confirmed for me over the phone
   12 that he consented to being a party to this lawsuit. Through phones and letters, my
   13 brother has described to me how he almost lost his life at Lompoc.
   14               4.    My brother currently resides in the medium-security prison at USP
   15 Lompoc. He lives in a tiny cell. The cells in his block are normally single
   16 occupancy, but currently each cell houses two prisoners. He shares a single toilet in
   17 his cell with his cellmate. Many prisoners in his block are visibly sick.
   18               5.    On April 24, 2020, we received a letter from my brother telling us that
   19 he was extremely sick and was concerned that he may have COVID-19.
   20               6.    On April 30, 2020, we received a letter from my brother’s cellmate,
   21 informing us that my brother had asked the guards for medical assistance for five
   22 days, but was completely ignored. He suffered from fever, diarrhea, body aches, and
   23 eventually went into acute respiratory failure and collapsed in his cell.
   24               7.    Every inmate in his block began to bang their cell doors in unison to
   25 demand that my brother receive medical attention. Only then was my brother rushed
   26 to a hospital and put into a medically-induced coma. Only then was he tested for
   27 COVID-19. He tested positive and was intubated and put on a ventilator.
   28               8.    On May 1, 2020, I contacted the prison and was only told that my
        3649759.1
                                         DECLARATION OF KIARA CARROR
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 53 of 189 Page ID #:53




    1 brother was no longer at the hospital. They would not give me any other information
    2 about his whereabouts. On May 4, 2020, we belatedly received a letter from my
    3 brother saying that he had been taken to the hospital and was waiting to be put on a
    4 ventilator. We had no way of knowing whether he was even still alive.
    5               9.    On May 9, 2020, I finally received a phone call from my brother. His
    6 voice sounded hoarse and unfamiliar. He said that a doctor had told him that he
    7 suffered acute lung damage from COVID-19 due to his asthma, and his lung
    8 capacity was severely deteriorated as a result. After my brother regained
    9 consciousness, they briefly placed him in a quarantine unit and then returned him to
   10 his original cell.
   11               10.   My brother has seen other sick prisoners and their experiences have
   12 been similar. He says the prison allows people who are infected with COVID-19 to
   13 hit “rock bottom” before any testing or treatment is offered.
   14               11.   I submitted a request for compassionate release to the Warden of USP
   15 Lompoc on my brother’s behalf on May 11, 2020, but have not received a response.
   16               12.   If transferred to home confinement, my brother would stay with me at
   17 my home in 420 Bay Leaf Dr Kissimmee, FL 34759. He would have access to
   18 doctors familiar with his medical history.
   19               I declare under penalty of perjury under the laws of the United States of
   20 America that the foregoing is true and correct.
   21               Executed on May 14, 2020, at Kissimmee, FL
   22
   23
   24
   25
                                                    Kiara Carror
   26
   27
   28
        3649759.1
                                                       2
                                         DECLARATION OF KIARA CARROR
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 54 of 189 Page ID #:54




                    EXHIBIT 2
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 55 of 189 Page ID #:55
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 56 of 189 Page ID #:56
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 57 of 189 Page ID #:57
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 58 of 189 Page ID #:58




                    EXHIBIT 3
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 59 of 189 Page ID #:59



                          DECLARATION OF GRACIELA ZAVALA-GARCIA
    1
    2               I, Graciela Zavala-Garcia, am over the age of 18 and fully competent to
    3 declare as follows:
    4               1.    My name is Graciela Zavala-Garcia. I am a practicing attorney,
    5 licensed in the State of California for 36 years, with California State Bar No.
    6 113901.
    7               2.    My son’s name is Felix Samuel Garcia. He is 36 years old and has been
    8 incarcerated since September, 2015. He is currently in Lompoc, California for the
    9 past three years. He was at FCI Lompoc for most of that time, but on May 7, 2020,
   10 he was moved to USP Lompoc. My son has a release date of November 6, 2020, and
   11 a release date to a “halfway house” for July 7, 2020. His BOP Register Number is
   12 46693-298.
   13               3.    Sometime in March 2020, FCI Lompoc went into lockdown and
   14 beginning on April 17, 2020, my son was denied all access to telephones, email, and
   15 commissary. Until May 12, 2020, the only way I could communicate with him was
   16 through letters. On May 12, 2020, I received one phone call from my son, and he
   17 told me that he wanted to participate in this lawsuit as a named plaintiff. The
   18 following information is based on what my son has told me through that call and
   19 through his letters.
   20               4.    In early May, my son tested negative for COVID-19. A few days later,
   21 on May 7, 2020, he was moved out of Unit J at FCI Lompoc and to a makeshift
   22 prisoner housing unit set up in a warehouse at USP Lompoc. The warehouse has
   23 multiple small cells that are occupied by two prisoners each. He shares a toilet and
   24 sink with his cellmate. The warehouse is on total lockdown, and my son is kept in
   25 his cell almost twenty-four hours a day.
   26               5.    The conditions at the warehouse are extremely unsanitary. Since
   27 moving to the warehouse, my son has not been able to shower or change into clean
   28

        3649384.1
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 60 of 189 Page ID #:60




    1 clothes. My son has been forced to wet his body with water from his sink in a
    2 desperate attempt to maintain hygiene.
    3               6.    In late April, while still at FCI Lompoc, my son received a single mask.
    4 He has had to reuse that mask since then. My son has not been given access to hand
    5 sanitizer, and says that there is currently a shortage of soap in the warehouse where
    6 he lives.
    7               7.    My son says that other prisoners have been retaliated against for
    8 expressing concerns about their safety to the warden. My son also tells me that some
    9 prisoners in at FCI Lompoc are being held past their release dates due to the total
   10 lockdown.
   11               8.    On May 11, 2020, my son submitted a request for home confinement to
   12 the warden at USP Lompoc through his attorney. We have not yet received a
   13 response.
   14               8.    My son’s current release date is November 6, 2020. He is scheduled to
   15 go to a halfway house in July 2020. I do not understand why the BOP would
   16 continue to place him and others at risk in an overcrowded prison, rather than
   17 transfer him to home confinement just two months before he was scheduled for
   18 release to a halfway house.
   19               9.     If transferred to home confinement, my son would self-quarantine at
   20 my house in Imperial Beach, California, with his father and me. He would have
   21 access to doctors who are familiar with his medical history.
   22               I declare under penalty of perjury under the laws of the United States of
   23 America that the foregoing is true and correct.
   24
   25               Executed on May 14, 2020, at Imperial Beach, California
   26
   27
   28

        3649384.1                                      2
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 61 of 189 Page ID #:61
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 62 of 189 Page ID #:62




                    EXHIBIT 4
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 63 of 189 Page ID #:63




    1                           DECLARATION OF VERNA WEFALD
    2         I, Verna Wefald, am over the age of 18 and fully competent to declare as follows:
    3         1.     I am an attorney licensed to practice law in the State of California (Bar
    4 No. 127104). I make this declaration on behalf of my client Andre Brown, Reg.
    5 No. 54460-097, who is incarcerated at the United States Penitentiary in Lompoc,
    6 California. Mr. Brown, who is 55 years old (DOB 7/13/65) and a United States citizen by
    7 birth, is learning disabled and illiterate. He therefore asked that I make this request on his
    8 behalf to join a lawsuit to be filed by the ACLU regarding the COVID-19 emergency at
    9 various federal correctional institutions, including Lompoc.
   10         2.     I was appointed by the Ninth Circuit Court of Appeals to represent Andre
   11 Brown in the appeal of his criminal conviction in the Central District of California. United
   12 States v. Brown, 19-50025 (13 CR 822). The appeal is fully briefed and may be argued
   13 sometime between September and November 2020.
   14         3.     Mr. Brown was sentenced by the Honorable Otis D. Wright on January 28,
   15 2018, to 150 months in prison after being convicted by a jury of two counts of drug
   16 trafficking (PCP). He was convicted of distribution and conspiracy in violation of 21
   17 U.S.C. §§ 841(a)(1), (b)(1)(B)(iv), and 846. Mr. Brown has been in custody since his
   18 arrest on February 12, 2014, or for more than half of his sentence. The BOP website
   19 indicates his projected release date is 10/06/2024. See Exhibit A
   20         4.     Mr. Brown has some minor prior convictions but the last one was 20 years
   21 ago.
   22         5.     On Tuesday, May 12, 2020, I spoke to Mr. Brown in a legal call arranged by
   23 the Regional Counsel Dennis Wong. I sent a fax per Lompoc’s request to set up a legal
   24 call on May 1. Mr. Wong sent me an email on May 7, to set up the call. He explained that
   25 after each call the office and phone needs to be cleaned so arranging for phone calls is
   26 a complicated matter. We arranged for me to be awaiting a call between 9:00 A.M. and
   27 noon from Tuesday through Thursday but I was able to speak with Mr. Brown early
   28 Tuesday morning. During this call, Mr. Brown confirmed to me that he wanted to

                                                      1
                                      DECLARATION OF VERNA WEFALD
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 64 of 189 Page ID #:64




    1 participate as a named plaintiff in this litigation.
    2         6.      I did not have a chance to ask Mr. Brown about the details of his housing.
    3 However, he is very concerned for his health given the serious outbreak of COVID-19 at
    4 Lompoc. At his sentencing, the Presentence Report (PSR) verified that Mr. Brown has
    5 prostate cancer. He will need chemotherapy or surgery in the future. I do not know how he
    6 is being treated for his cancer at this time.
    7         7.      Yesterday I sent a request to Lompoc Warden J. Engleman (by email, fax,
    8 and certified mail) requesting compassionate release and/or home confinement for
    9 Mr. Brown. If the warden does not respond within 30 days I will file a motion in the
   10 district court requesting that he be released forthwith.
   11         8.      I have communicated with Mr. Brown’s daughter Andrea Brown several
   12 times. She said that he would be able to live with her as he has in the past. Mr. Brown also
   13 has five other children in the Los Angeles area to whom he is close and who could help to
   14 support him as well. He will certainly be eligible for Medicaid and can continue to see his
   15 doctors at the Martin Luther King Hospital and the Centinela Medical Center in Lawndale.
   16         9.      Mr. Brown is particularly vulnerable at Lompoc given his underlying serious
   17 health problems and his inability to communicate with the outside world by mail. At
   18 present there are no phone calls or visits allowed at Lompoc. Legal calls have to be
   19 arranged and this takes some time.
   20         I declare under penalty of perjury under the laws of the United States of America
   21 that the foregoing is true and correct.
   22
   23
   24
   25
   26
   27
   28

                                                      2
                                      DECLARATION OF VERNA WEFALD
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 65 of 189 Page ID #:65




                    EXHIBIT 5
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 66 of 189 Page ID #:66




    1                             DECLARATION OF NEMA ZAYED FEARS
    2               I, Nema Zayed Fears, declare as follows:
    3               1.    I am over the age of 18, and if called as a witness, I could and would
    4 competently testify.
    5               2.    My father is Shawn L. Fears. He is 50 years old and currently incarcerated at
    6 USP Lompoc in Lompoc, California. His BOP Register Number is 34183-060.
    7               3.    Since April 16 2020, the prison has been under lockdown, and my father has
    8 not been permitted to use a computer or telephone. I have only been able to converse with
    9 him through letters. Through a letter dated May 10, 2020, he told me that he wanted to
   10 participate in this lawsuit as a named plaintiff. The following information is based on what
   11 my father has told me through his letters.
   12               4.    My father currently resides in the South Camp at USP Lompoc. He lives in
   13 an open-plan dormitory, where prisoners reside in extremely close quarters with each other
   14 and share a bathroom. Many prisoners in my father’s dormitory are sick.
   15               5.    Since the COVID-19 outbreak started, a single mask is the only piece of
   16 protective equipment that my father has received. He has had to re-use that mask for
   17 weeks.
   18               6.    My father has never been tested for COVID-19. The only testing he has seen
   19 in his dormitory is temperature checks.
   20               7.    My father says that guards have stopped accepting requests for medical care
   21 from prisoners since the outbreak started. He has seen other prisoners being denied regular
   22 medical treatment that they would have received prior to the outbreak.
   23               8.    If transferred to home confinement, my father would self-quarantine at
   24 10135 Shoreline Pkwy., Villa Rica, GA 30180. He would have access to doctors who are
   25 familiar with his medical history.
   26               I declare under penalty of perjury under the laws of the United States of America
   27 that the foregoing is true and correct.
   28

        3649743.1
                                        DECLARATION OF NEMA ZAYED FEARS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 67 of 189 Page ID #:67




    1               Executed May 15, 2020, at Villa Rica, Georgia.
    2
    3
                                                         Nema Zayed Fears
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

        3649743.1
                                                        2
                                       DECLARATION OF NEMA ZAYED FEARS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 68 of 189 Page ID #:68




                    EXHIBIT 6
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 69 of 189 Page ID #:69




    1                          DECLARATION OF DARWIN P. ROBERTS
    2               I, Darwin P. Roberts, declare as follows:
    3               1.    I am an attorney and a member of the Criminal Justice Act panel in the
    4 Western District of Washington. I was appointed counsel for Charles Cheatham in
    5 pretrial proceedings in the case United States v. Charles Cheatham, U.S. District
    6 Court, Western District of Washington, cause number 2:18-CR-00131-RAJ-1.
    7 I represent Mr. Cheatham in his currently pending appeal in the Ninth Circuit Court
    8 of Appeals, cause number 19-30294.
    9               2.    Mr. Cheatham is in the custody of the United States Bureau of Prisons
   10 serving a sentence of incarceration imposed by the U.S. District Court. His current
   11 projected release date is in March of 2031. His BOP register number is 48768-086.
   12               3.    In early 2020, Mr. Cheatham was transferred from the Federal
   13 Detention Center in Seattle, Washington, to Lompoc Federal Correctional Institution
   14 in Lompoc, CA.
   15               4.    Since COVID-19 cases began to develop in the Bureau of Prisons,
   16 Mr. Cheatham’s ability to communicate with me has been limited. Mr. Cheatham
   17 has lost most or all of his access to email, and only occasionally can contact me by
   18 telephone.
   19               5.    I was able to speak with Mr. Cheatham today, May 14, 2020, for five
   20 minutes. Mr. Cheatham stated he could only speak for five minutes at a time and
   21 that there were “80 people” waiting their turn to use the telephone for five minutes.
   22 I also received information on May 12, 2020, from family members Mr. Cheatham
   23 was able to reach by telephone then.
   24               6.    Mr. Cheatham told me that COVID-19 cases at Lompoc FCI have
   25 “blown up” in recent weeks. This is consistent with the figures reported on the
   26 BOP’s website (https://www.bop.gov/coronavirus/), which currently lists 885 cases
   27 among inmates at Lompoc FCI, and 13 cases among staff.
   28               7.    Mr. Cheatham told me that medical care offered by the BOP for
        3649763.2
                                       DECLARATION OF DARWIN P. ROBERTS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 70 of 189 Page ID #:70




    1 COVID-19 has been very limited or nonexistent. He stated that inmates are not
    2 tested for COVID-19 unless they are showing obvious symptoms, but even if they
    3 are showing symptoms and test positive, they are not isolated from other inmates.
    4               8.    Mr. Cheatham reports that after several days in which he was showing
    5 “obvious” symptoms of COVID-19, he was finally given a test for COVID-19 and
    6 tested positive. I understand he tested positive within the last 14 days. Nevertheless,
    7 he continues to be held in a dormitory-type situation with approximately 100 other
    8 inmates, most of whom, he says, also now have COVID-19.
    9               9.    Mr. Cheatham stated that he and his fellow inmates are not being
   10 provided any medication by BOP to treat their COVID-19 symptoms. He stated that
   11 they are only being given occasional access to the commissary, meaning they are
   12 generally unable to purchase cough drops, cough syrup, or other over-the-counter
   13 medications such as aspirin or other painkillers to self-medicate their symptoms.
   14               10.   Mr. Cheatham stated that due to his untreated respiratory illness and
   15 severe sore throat, he was unable to consume any food other than broth for a week.
   16               11.   Mr. Cheatham stated the inmates in his area are sleeping under fans that
   17 circulate air all night and presumably may be spreading the virus among inmates.
   18               12.   Mr. Cheatham stated that because of BOP’s previous efforts to isolate
   19 the inmates, he believes the COVID-19 infection must have been introduced into the
   20 prison from BOP staff.
   21               I declare under penalty of perjury under the laws of the United States of
   22 America that the foregoing is true and correct, and that I executed this declaration
   23 on May 15, 2020, at Seattle, Washington.
   24
   25                                                            /s/ Darwin P. Roberts
                                                        Darwin P. Roberts
   26
   27
   28
        3649763.2
                                                       2
                                       DECLARATION OF DARWIN P. ROBERTS
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 71 of 189 Page ID #:71




                    EXHIBIT 7
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 72 of 189 Page ID #:72




    1                       DECLARATION OF SHAMSHER SAMRA, M.D.
    2               I, Shamsher Samra, declare as follows:
    3               1.    I am an Assistant Professor of Clinical Medicine at University of
    4 California, Los Angeles and a faculty member in the Department of Emergency
    5 Medicine at Harbor-UCLA. I work clinically in the LA County jails and participate
    6 in jail reentry programs in Los Angeles County. I am a physician trained in forensic
    7 medical evaluations through Physicians for Human Rights. I am a founding
    8 member of both the Harbor-Hospital Based Violence Intervention Program and
    9 Trauma Recovery Centers. I completed by residency in Emergency Medicine at the
   10 University of California, Los Angeles. I received my M.D. from Harvard Medical
   11 School. Attached as Exhibit A is my curriculum vitae.
   12               2.    COVID-19 is a serious disease that has reached pandemic status, and is
   13 straining the health care systems around the world. As of May 14, 2020, at least 1.3
   14 million people in the United States had received confirmed diagnoses of COVID 19.
   15 At least 83,000 people have died in the United States. Approximately 71,000 of the
   16 confirmed cases were in California, with more than 2,900 having died.1 These
   17 numbers will continue to increase, perhaps exponentially. Moreover, these figures
   18 must be considered in light of nationwide shortages of COVID-19 tests, meaning the
   19 actual numbers are likely significantly higher than those reported.
   20               3.    The Lompoc complex is comprised of Federal Correctional Institution
   21 Lompoc (“FCI Lompoc”) and United States Penitentiary Lompoc (“USP Lompoc”).
   22 USP Lompoc itself has two components, a low-security camp and a medium-
   23 security prison. In total, the facilities have a rated design capacity of 2058.2
   24
        1
         Coronavirus Disease 2019, Centers for Disease Control and Prevention,
   25 available at https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
   26 us.html
   27   2
         Prison Rape Elimination Act Audit Report, Federal Bureau of Prisons, at pages
   28 2–3, available at https://www.bop.gov/locations/institutions/lof/prea_lof.pdf
        3649607.2
                                                      1
                                     DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 73 of 189 Page ID #:73




    1 However, as of May 14, 2020 they had a total population of 2680, thus exceeding
    2 capacity.3 As of May 14, 2020, BOP’s website reports that there are a total of 924
    3 people at FCI Lompoc who are currently or were recently positive for COVID-19,
    4 including 882 residents and 14 staff currently deemed positive, and 25 inmates
    5 reported as being “recovered” after previously testing positive.4 As of May 14,
    6 BOP’s website reports that there were a total of 137 people at USP Lompoc who are
    7 currently or were recently positive for COVID-19, including 22 staff and
    8 16 residents currently deemed positive, and 93 residents reported as being
    9 “recovered” after previously testing positive.5 The reported numbers change daily,
   10 and the BOP website does not show what criteria it is using to consider someone
   11 “recovered.” At least 2 residents have died at FCI Lompoc due to coronavirus.6
   12               4.   COVID-19 is a novel respiratory virus. It is spread primarily through
   13 droplets generated when an infected person coughs or sneezes, or through droplets
   14 of saliva or discharge from the nose. There is no vaccine for COVID-19, and there is
   15 no cure for COVID-19. No one has prior immunity. The only way to control the
   16 virus is to use preventive strategies, including social distancing.
   17               5.   The time course of the disease can be very rapid. Individuals can show
   18 the first symptoms of infection in as few as two days after exposure and their
   19 condition can seriously deteriorate in as few as five days (perhaps sooner) after that.
   20 It is believed that people can transmit the virus without being symptomatic and,
   21
        3
         Inmate Population Breakdown, Federal Bureau of Prisons, available at
   22 https://www.bop.gov/mobile/about/population_statistics.jsp
   23 4
         COVID-19, Federal Bureau of Prisons, available at
   24 https://www.bop.gov/coronavirus/
   25   5
         COVID-19, Federal Bureau of Prisons, available at
   26 https://www.bop.gov/coronavirus/
   27   6
         COVID-19, Federal Bureau of Prisons, available at
   28 https://www.bop.gov/coronavirus/
        3649607.2
                                                     2
                                    DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 74 of 189 Page ID #:74




    1 indeed, that a significant amount of transmission may be from people who are
    2 infected but asymptomatic or pre-symptomatic.
    3               6.   COVID-19 causes serious illness, with overall case fatality rates in the
    4 United States so far estimated at 5.8%. An estimated 20% of those who become
    5 infected and develop symptoms require significant medical intervention. While
    6 certain medical conditions increase the probability of death from infection,
    7 otherwise perfectly healthy people are also vulnerable to COVID-19 and may die as
    8 a result. For example, adults age 20 to 44 account for 20% of all hospitalizations
    9 and 12% of ICU admissions.7
   10               7.   Treatment for serious cases of COVID-19 requires significant advanced
   11 support. In particular, appropriate supportive care often requires ventilator
   12 assistance for respiration and prone positioning if a patient’s condition worsens
   13 despite intubation and ventilation. Furthermore, hospitals across the country are
   14 deploying a variety of drug regimens, including antivirals and imunomodulators, in
   15 search of the most effective remedy against COVID-19. It is essential that patients
   16 have immediate access to such advanced supportive care, because the condition of
   17 patients who require hospitalization often deteriorates in rapid fashion. For
   18 instance, approximately 50% develop hypoxemia (shortage of oxygen in the blood
   19 or shortage of oxygen) by the eighth day. And as many as 29% develop Acute
   20 Respiratory Distress Syndrome (ARDS).8 In addition to being a very lethal
   21 condition on its own, ARDS has a long and varied list of related complications that
   22 are as equally fatal: blood clots, collapsed lung, infections, and scarring of lung
   23
        7
   24    Coronavirus, COVID-19, Johns Hopkins Medicine, available at
      hopkinsguides.com/hopkins/view/Johns_Hopkins_ABX_Guide/540747/all/Coronav
   25 irus_COVID_19__SARS_CoV_2_#2
   26 8
         Coronavirus, COVID-19, Johns Hopkins Medicine, available at
   27 hopkinsguides.com/hopkins/view/Johns_Hopkins_ABX_Guide/540747/all/Coronav
   28 irus_COVID_19__SARS_CoV_2_#2
        3649607.2
                                                      3
                                    DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 75 of 189 Page ID #:75




    1 tissue.9 In sum, for those individuals who experience more severe symptoms from
    2 COVID-19, immediate and substantial medical intervention is required.
    3               8.    The effects of COVID-19 are especially serious for people who are
    4 most vulnerable. Vulnerable people include people over the age of 50, and those of
    5 any age with underlying health problems such as—but not limited to—weakened
    6 immune systems (which can be caused by a variety of conditions, including but not
    7 limited to cancer treatment, smoking, and immune weakening medications),
    8 moderate to severe asthma, diabetes, hypertension, serious heart and lung disease,
    9 severe obesity, liver disease, chronic kidney disease, and possibly pregnancy.10
   10 While the CDC typically classifies only people 65 and older as vulnerable,
   11 incarcerated individuals tend to be in poorer health than those in the general
   12 population, justifying the use of an earlier cutoff in classifying people deemed
   13 vulnerable to COVID-19.
   14               9.    Although individuals in the above-described populations are most
   15 vulnerable, even younger and healthier people can suffer severe consequences. For
   16 example, even healthier people who contract COVID-19 are susceptible to severe
   17 strokes and may require supportive care, which includes supplemental oxygen,
   18 positive pressure ventilation, and in extreme cases, extracorporeal mechanical
   19 oxygenation.
   20               10.   The full extent of long-term sequela on cardio and cerebrovascular
   21 diseases and other organ damage is unknown at this time in light of the novel nature
   22 of COVID-19. However, preliminary evidence suggests COVID-19 may render
   23 lasting organ damage in even minimally symptomatic or completely asymptomatic
   24
        9
         ARDS, Mayo Clinic, available at https://www.mayoclinic.org/diseases-
   25 conditions/ards/symptoms-causes/syc-20355576
   26 10
         Coronavirus Disease 2019, Centers for Disease Control and Prevention,
   27 available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
   28 precautions/people-at-higher-risk.html
        3649607.2
                                                      4
                                    DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 76 of 189 Page ID #:76




    1 patients. For example, COVID-19 can severely damage lung tissue, which requires
    2 an extensive period of rehabilitation, and in some cases, can cause a permanent loss
    3 of respiratory capacity. Furthermore, COVID-19 may target the heart muscle,
    4 causing a medical condition called myocarditis, or inflammation of the heart muscle.
    5 Myocarditis can affect the heart muscle and electrical system, reducing the heart’s
    6 ability to pump. This reduction can lead to rapid or abnormal heart rhythms in the
    7 short term, and long-term heart failure that limits exercise tolerance and the ability
    8 to work.
    9               11.   In light of the above, an outbreak of COVID-19 could put significant
   10 pressure on or exceed the capacity of local health infrastructure. In the absence of
   11 a vaccine and a cure, a significant number of people who are infected with the virus
   12 will die. Buttressing these concerns, it is not yet clear whether people who have
   13 already been infected with COVID-19 gain immunity against future infection. To
   14 the extent that the health care infrastructure is overloaded, people will die
   15 unnecessarily because necessary respirators and hospital facilities are unavailable.
   16               12.   Public health authorities recommend a number of preventative steps to
   17 help prevent or decrease the spread of COVID-19, with perhaps the most important
   18 measure being social distancing. However, as the CDC and BOP both appear to
   19 acknowledge, correctional facilities are inherently limited in their abilities to
   20 implement such measures. For example, the BOP’s modified operating directive is
   21 inadequate, in part, because it only requires social distancing “as much as
   22 practicable.”11 Indeed, social distancing in ways that are recommended by public
   23 health officials can be difficult, if not impossible, in prisons, placing people at risk,
   24 especially when a facility is at or above population capacity. Therefore, even if the
   25 conditions at Lompoc were ideal (which they are not) it would require
   26
   27   11
         Modified Operating Directive, Federal Bureau of Prisons, available at
   28 https://www.bop.gov/coronavirus/covid19_status.jsp
        3649607.2
                                                      5
                                    DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 77 of 189 Page ID #:77




    1 a monumental effort to ensure the safety of prisoners and staff.
    2               13.   I understand the following to be allegations in the Complaint. If these
    3 allegations are confirmed true, the conditions at Lompoc are deeply concerning:
    4                         The Lompoc complex is comprised of Federal Correctional
    5                          Institution Lompoc and United States Penitentiary Lompoc.
    6                          USP Lompoc itself has two components, a low-security camp
    7                          and a medium-security prison.
    8                         In total, the facilities comprising the Lompoc complex have
    9                          a rated design capacity of 2058. However, as of May 14, 2020,
   10                          they had a population of 2680, thus exceeding capacity.
   11                         As of May 13, 2020, more than 1,063 prisoners and staff had
   12                          tested positive for COVID-19 at FCI Lompoc and USP Lompoc.
   13                         At FCI Lompoc, sick people are being moved to a converted
   14                          warehouse in USP Lompoc. The living space there is cell-style
   15                          (the warehouse is itself a converted SHU), with two prisoners to
   16                          a cell. The warehouse is on near-total lockdown, and prisoners
   17                          are in their cells almost 24 hours a day. Conditions at the
   18                          warehouse are very unsanitary. Nobody can shower or change
   19                          into clean clothes due to lockdown.
   20                         At the low-security camp at USP, people live in open-plan
   21                          dormitories with shared bathrooms. About 140 people live in
   22                          these dorms and sleep on bunk beds approximately 6 feet apart
   23                          from each other. There are no internal walls so everyone and all
   24                          the bunk beds are in one open space. All 140 people share six
   25                          toilets and six showers. Dorms are crowded and people
   26                          congregate in common areas. Other than when they stand in line
   27                          for meal packets, nobody is allowed to leave the dormitory.
   28                          Prisoners also have to stand in line to get medication, and there is
        3649607.2
                                                      6
                                    DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 78 of 189 Page ID #:78




    1                   not enough space for social distancing.
    2                  Initially, the practice appears to have been to transfer sick people
    3                   to the SHU. Some prisoners who had tested positive were left
    4                   there for up to four days with no medical attention. Eventually,
    5                   they re-opened two dormitories that had been closed three years
    6                   ago due to mold contamination in order to house sick people.
    7                   The re-opened dormitories are extremely unsanitary, and
    8                   prisoners sleep on mattresses guards have scattered across the
    9                   ground. Prisoners here go for up to five days at a time with no
   10                   treatment for COVID-19. There is no soap, and people are not
   11                   being allowed to shower.
   12                  At the medium-security prison at USP, two prisoners each are
   13                   sharing cells that are normally single occupancy. It does not
   14                   appear that they are bothering to pull sick people out of the
   15                   prison, presumably because they are less infected due to the
   16                   relative isolation. Policy seems to be to allow people to hit
   17                   “rock-bottom” before being treated for COVID-19.
   18                  Inmates were only give one mask in April, and have been reusing
   19                   that mask since. Hand sanitizer is non-existent and soap is not
   20                   plentiful (because commissary is closed, prisoners cannot secure
   21                   extra soap beyond the one bar per week they are normally
   22                   issued).
   23                  It does not appear that anyone who tests positive and then
   24                   “recovers” is tested again before being returned to the general
   25                   population.
   26                  Prisoners are being denied regular medical treatment they had
   27                   received prior to the outbreak. For example, routine procedures
   28                   scheduled prior to the outbreak have been delayed indefinitely.
        3649607.2
                                               7
                            DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 79 of 189 Page ID #:79




    1               14.   These conditions make it virtually impossible to ensure the safety of
    2 prisoners who remain housed at the facility if the current course is maintained.
    3 Even if the government made best efforts, effective social distancing is out of the
    4 question, particularly for those inmates who are effectively forced to be in
    5 a communal setting at all times due to their dormitory-style housing. Indeed, this
    6 combination of factors practically ensures that all remaining prisoners will
    7 eventually contract COVID-19 unless extraordinary measures are taken now. As if
    8 more evidence were needed of Lompoc’s inability to ensure the safety of its
    9 prisoners, more than half of them have recently tested positive for COVID-19.
   10               15.   Moreover, it is my understanding that BOP now contends that
   11 a substantial number of the prisoners who recently tested positive have “recovered.”
   12 To the extent these prisoners have actually recovered from the illness, that does not
   13 absolve the need for preventive measures. In particular, it is not yet clear whether
   14 people who have been infected develop immunity against future infection by
   15 COVID-19.
   16               16.   Furthermore, if it is true that BOP is classifying prisoners as
   17 “recovered” without re-testing them, that would be very problematic. Indeed, the
   18 need for continued rigorous preventive measures is only heightened if BOP has not
   19 relied on appropriate methods for determining whether prisoners have in fact
   20 recovered. In an ideal scenario, an individual would only be deemed “recovered”
   21 after testing negative. Relying instead, for instance, on patient reports of symptoms
   22 may not be sufficient in a correctional setting, where prisoners may be reluctant to
   23 share information with staff. Furthermore, asymptomatic individuals can still be
   24 carriers of the disease. And in a large communal living space, where social
   25 distancing cannot be strictly adhered to, individuals should be tested regularly in
   26 order to quickly identify and isolate anyone who may contract COVID-19 before it
   27 spreads through the population.
   28               17.   I have also reviewed a declaration submitted by Kiarra Carror, the
        3649607.2
                                                        8
                                     DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 80 of 189 Page ID #:80




    1 sister of prisoner Yonnedil Carror Torres who resides at USP Lompoc. In addition
    2 to some of the representations above, the declarant indicates that: (1) Torres has
    3 suffered from chronic asthma since he was a child; (2) Torres resides in a cell
    4 designed to house only a single person but he shares his cell with another resident,
    5 including sharing a toilet; (3) for five straight days, Torres asked correctional
    6 officers for medical assistance due to a fever, diarrhea, and body aches, until he
    7 eventually collapsed in his cell from acute respiratory failure; (4) after every
    8 prisoner on Torres’s block began banging their cell doors in unison to attract the
    9 attention of correctional officers, Torres was taken to a hospital, where he was
   10 placed into a medically-induced coma; (5) at the hospital, he was tested for the first
   11 time for COVID-19, with the result coming back positive; (6) Torres was then
   12 intubated and put on a ventilator; (7) Torres has been informed by physicians that he
   13 suffered acute lung damage from COVID-19 due to his asthma and his lung capacity
   14 severely deteriorated as a result; (8) Torres was briefly placed in quarantine upon
   15 returning to USP Lompoc before returning to his original cell; and (9) Torres has
   16 seen other prisoners similarly struggle to receive medical attention, with their
   17 symptoms having to become quite severe to receive treatment.
   18               18.   Assuming these allegations are accurate, the health care delivery
   19 system at Lompoc is failing to provide even the minimal level of acceptable care. In
   20 addition to the noted failures to institute an effective regimen of social distancing,
   21 these declarations highlight the failure to monitor prisoners and to treat those who
   22 have become infected—and even worse, have displayed notable symptoms.
   23 Torres’s account is alarming, as it shows that virtually no effort is being made at
   24 Lompoc to monitor or treat prisoners, with staff instead waiting until the last minute
   25 to intervene and send the prisoner to a hospital. One of the things we have already
   26 learned about this disease is the benefit of early and aggressive medical intervention.
   27               19.   Furthermore, given the conditions depicted both in the allegations from
   28 the Complaint and the two declarations, it is questionable whether the healthcare
        3649607.2
                                                       9
                                     DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 81 of 189 Page ID #:81




    1 system at Lompoc is even capable of adequately responding to the dire situation it
    2 now faces. In the context of a very limited healthcare system at a prison facility
    3 (and possible staffing shortages due to COVID-19 outbreak among staff), the
    4 inability to swiftly identify those prisoners in need of substantial and proactive
    5 medical intervention and either begin an appropriate treatment regimen or transport
    6 them to a civilian hospital will only cause needless pain and deaths.
    7               20.   In light of the above, in my opinion BOP should take immediate steps
    8 to dramatically downsize the population at Lompoc, with priority given to those at
    9 high risk of harm due to their age and health status and thus are likely to require a
   10 disproportionate amount of medical resources. This will both allow Lompoc to
   11 implement more effective preventive and treatment measures while simultaneously
   12 granting released or transferred prisoners access to minimally acceptable living
   13 conditions.
   14               21.   Perhaps most importantly, downsizing will allow for more effective
   15 social distancing measures at Lompoc while simultaneously reducing the strain
   16 placed on prison staff by the need to monitor and treat prisoners. Although BOP has
   17 attempted to redress the overcrowding by sending certain FCI Lompoc inmates to
   18 a converted warehouse, I am informed that the living conditions there are
   19 unsanitary, raising questions about the suitability of the environment, especially for
   20 a population grappling with a deadly novel disease. In light of the already high
   21 infection rates at Lompoc, any reduction in prisoner population will also allow
   22 prison staff to more closely monitor the conditions of infected prisoners for signs
   23 that immediate medical intervention is required. Relatedly, the reduction in
   24 population while implementing downsizing measures helps prevent overloading the
   25 work of prison staff such that they can continue to ensure the safety of incarcerated
   26 people.
   27               22.   Furthermore, immediate downsizing that prioritizes prisoners who are
   28 elderly and those with underlying health conditions reduces the likelihood they will
        3649607.2
                                                     10
                                    DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 82 of 189 Page ID #:82




    1 contract the disease (either for a first or subsequent time) or suffer severe medical
    2 consequences as a result of being infected. Reducing the spread and severity of
    3 infection in a prison slows, if not reduces, the number of people who will become ill
    4 enough to require hospitalization, which in turn reduces the strain on local
    5 community resources and infrastructure.
    6               23.   Downsizing from a facility with infection rates as high as Lompoc may
    7 be done safely, minimizing the risk of increasing infection rates in the community.
    8 In particular, it is imperative that prisoners be tested prior to release. But even
    9 prisoners who receive confirmed diagnoses of COVID-19 may be safely released to
   10 the community. If they are asymptomatic, they must be required to self-quarantine
   11 and follow other recommendations of public health officials. If they are
   12 experiencing symptoms, they will likely receive superior healthcare if released from
   13 custody due to the present conditions at Lompoc.
   14               24.   The above measures, especially if implemented immediately, can slow
   15 or stop the spread of infection (or re-infection) and ensure appropriate and proactive
   16 treatment of infected prisoners, to the benefit of prisoners and staff and, ultimately,
   17 the community at large.
   18               25.   In addition to downsizing, and to the extent they are not already being
   19 implemented, the following steps should immediately be mandated of the
   20 Respondents in order to protect any prisoners who remain in custody:
   21                     a.    Social Distancing. The prison must ensure that prisoners are
   22 able to maintain adequate social distancing during required or necessary activities,
   23 such as collecting food, eating, and receiving medications.
   24                     b.    Immediate and Continued Testing. Patients (both staff and
   25 prisoners) who require testing, based on public health recommendations and the
   26 opinion of a qualified medical professional, should be tested for COVID-19,
   27 including to the extent public health recommendations call for continued (or repeat)
   28 testing of individuals who have previously been tested.
        3649607.2
                                                      11
                                     DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 83 of 189 Page ID #:83




    1               c.     Immediate Screening. Defendants must be required to screen
    2 each employee or other person entering the facility every day to detect fever over
    3 100 degrees, cough, shortness of breath, and/or exposure to someone who is
    4 symptomatic or under surveillance for COVID-19 or screening as required by public
    5 health authorities. A record should be made of each screening.
    6               d.     Quarantine. The prison must establish non-punitive quarantine
    7 for all individuals believed to have been exposed to COVID-19, but not yet
    8 symptomatic, and non-punitive isolation for those believed to be infected with
    9 COVID-19 and potentially infectious. Any individual who must interact with those
   10 potentially or likely inflicted with COVID-19 must utilize protective equipment as
   11 directed by public health authorities. In short, every possible effort must be made to
   12 separate infected or potentially infected individuals from the rest of the incarcerated
   13 population and each other.
   14               e.     Institutional Hygiene. The prison must be required to provide
   15 adequate disinfection of all high-touch areas and cells.
   16               f.     Personal Hygiene. The prison must be required to provide hand
   17 soap, disposable paper towels, and access to water to allow prisoners to wash their
   18 hands on a regular basis, free of charge and ensure replacement products are
   19 available as needed. Further, hand sanitizer with alcohol must be declassified
   20 temporarily as contraband. Correctional staff should be allowed to carry hand
   21 sanitizer with alcohol on their person, and prisoners should be allowed to use hand
   22 sanitizer with alcohol when they are in locations or activities where hand washing is
   23 not available. Prisoners should also be permitted daily access to showers and clean
   24 laundry. Correctional officers should be required to wear personal protective
   25 equipment, consistent with the CDC guidance, including masks and gloves, when
   26 interacting with any person or when touching surfaces in cells or common areas.
   27 Finally, correctional officers should also wash their hands, use hand sanitizer, or
   28 change their gloves both before and after interacting with any person or touching
        3649607.2
                                                 12
                               DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 84 of 189 Page ID #:84




    1 surfaces in cells or common areas.
    2                     g.     Waive Copays. There must be a waiving of copays for medical
    3 evaluation and care related in any way to COVID-19 and/or its symptoms. A waiver
    4 of these types of copays is necessary to avoid disincentivizing patients from
    5 requesting medical treatment. Patients with symptoms of possible COVID-19 should
    6 be seen quickly.
    7                     h.     Personal Protective Equipment. Those prisoners with a cough
    8 should be provided masks as soon as they inform staff of this symptom or staff
    9 notice this symptom. Staff should also be required to wear facemasks, gowns or
   10 other body coverings, eye protection, and gloves.
   11                     i.     Supply Chain. The prison must be required to identify the
   12 supplies and other materials upon which the institution is dependent, such as food,
   13 medical supplies, certain medicines, cleaning products, etc., and prepare for
   14 shortages, delays or disruptions in the supply chain.
   15               26.   In sum, reducing the number of individuals imprisoned at Lompoc
   16 immediately is necessary for the health and safety of the prisons and our
   17 communities. This population reduction should begin with the most medically
   18 vulnerable which includes those over age 50 and those with CDC-defined
   19 underlying health conditions.
   20               I declare under penalty of perjury under the laws of the United States that the
   21 foregoing is true and correct.
   22               Executed May 15, 2020, at Los Angeles, California
   23
   24
   25
   26
   27
   28
        3649607.2
                                                       13
                                     DECLARATION OF SHAMSHER SAMRA, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 85 of 189 Page ID #:85




                        EXHIBIT A
    Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 86 of 189 Page ID #:86


                                  Shamsher Samra, MD, MPhil

                                      CURRICULUM VITAE


PERSONAL HISTORY:

Business address:           Harbor-UCLA Medical Center
                            Division of
                            1000 West Carson Street
                            Torrance, California 90509
Work Phone                  (310) 269-3923
e-mail:                     ssamra@dhs.lacounty.gov


Home address:               27 Westminster Ave
                            Venice, California 90291
Home Phone:                 (559) 269-3923

Date of Birth:              May 5, 1986
Place of Birth:             Los Angeles, California
Citizenship:                U.S. Citizen


EDUCATION and TRAINING:

Stanford University, Stanford, California
      B.S., Biological Sciences                        8/04-06/07

Cambridge University, Cambridge, UK
     MPhil, Development Studies
     Gates Cambridge Fellowship                        08/07-06/08

Harvard Medical School, Boston, Massachusetts
      MD                                               08/08-06/13

Harvard Kennedy School of Government
      Urban Policy and Human Rights                    08/14-12/14

UCLA Medical Center-Olive View Medical Center
     Residency: Emergency Medicine                     07/13-06/17

Chief Resident UCLA Medical Center-Olive View Medical Center
       Residency: Emergency Medicine              07/16-06/17

LICENSURE:

State of California, A134884                                 02/15 -

                                             Page 1 of 8
   Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 87 of 189 Page ID #:87

                                                                      Shamsher Samra MD, MPhil
Drug Enforcement Agency                                    02/15 -

CERTIFICATION:

Diplomate, American Board of Emergency Medicine            06/14/18

PROFESSIONAL EXPERIENCE:

Assistant Professor Emergency Medicine                     08/17 -
       Harbor-UCLA Medical Center
       Los Angeles, California

Attending Physician Correctional Health Services           08/17-
       Twin Towers Correctional Facility
       Los Angeles, California

Medical Director Whole Person Care Reentry                 08/18 –
      Department of Health Services
      Los Angeles, California

Course Director Introduction to Social Medicine            09/18 –
      UCLA David Geffen School of Medicine
      Los Angeles, California

Co-Director Trauma Recovery Center                         12/17-
      Harbor-UCLA Medical Center
      Torrance, California

Co-Director Hospital Based Violence Intervention Program   3/19 -
      Harbor-UCLA Medical Center
      Torrance, California


PROFESSIONAL ACTIVITIES:

Committee Services
  1. UCLA International and Domestic Health Equity         01/17 -
  2. Correctional Health Services Care Transitions         08/17 -
  3. Whole Person Care Delivery Systems Integration        01/18 – 06/19
  4. Whole Person Care Clinical Innovations                01/18 – 06/19
  5. Hospital Based Violence Intervention Consortium       12/18 –
  6. DPH Trauma Prevention Initiative                      06/18 –
  7. Harbor UCLA Diversity Committee                       06/18 -
  8. Harbor Supports Undocumented Patients                 06/18 -
  9. Los Angeles Office of Violence Prevention             06/19 -
  10. Co- Lead Los Angeles Hospital Based Violence
      Intervention Consortium                              06/19 -

Community Service

                                            Page 2 of 8
   Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 88 of 189 Page ID #:88

                                                                      Shamsher Samra MD, MPhil
   1.   Strategic Action for a Just Economy Board Member   12/13- 12/18
   2.   Doctors for Global Health Board Member             08/17 –
   3.   Tijuana Border Wound Clinic                        06/16 –
   4.   Frontline Wellness Network Founding Member         08/17 –
   5.   Southern California Physicians for Health Equity   06/18 -


Professional & Scholarly Associations
   1. Society for Academic Emergency Medicine              10/14 -
   2. American College of Emergency Physicians             10/14 –
   3. ACEP Social Emergency Medicine Section               06/17 –
   4. SAEM Social Emergency Medicine Interest Group        01/18 -


HONORS AND SPECIAL AWARDS:
  1. Gates- Cambridge Fellowship                           06/07 – 06/08

RESEARCH GRANTS AND FELLOWSHIPS RECEIVED:

Public Health Institute                                    02/2019-06/2020
California Bridge Program Grant
Goal: Implement and study opiate treatment
Role: Co- PI

California Community Foundation                              04/2018-04/2020
Hospital Based Violence Intervention Grant
Goal: Implement a hospital-based violence intervention program
Role: Co-PI

California Victims Compensation Board                      04/2019-04/2021
Trauma Recovery Center Grant
Goal: Establish a Trauma Recovery Center
Role: Co-PI

Whole Person Care Los Angeles                            06/2019-06/2021
Hospital Based Violence Intervention Grant
Goal: Expand Hospital Based Violence Intervention Programming Regionally
Role: PI

LECTURES AND PRESENTATIONS:

Local Lectures:

   1. “Neurogenic Shock”                                                         08/2015
       Emergency Medicine Residents’ Conference, UCLA-Olive View Medical Centers, Los
      Angeles. California,
   2. “Mechanical v. Traditional Chest Compressions”                             05/2015
      Emergency Medicine Residents’ Conference, UCLA-Olive View Medical Centers, Los Angeles.
      California
   3. ED Based Interventions for At-Risk Drinking”                               05/2016
                                           Page 3 of 8
   Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 89 of 189 Page ID #:89

                                                                       Shamsher Samra MD, MPhil
       Emergency Medicine Residents’ Conference, UCLA-Olive View Medical Centers, Los Angeles.
       California, May 2016
   4. Introduction to Trauma                                                         06/2016
       Emergency Medicine Residents’ Conference, UCLA-Olive View Medical Centers, Los Angeles.
       California
   5. Course Director “Introduction to Social Medicine”                              08/2017
       David Geffen School of Medicine, Los Angeles California
   6. Thoracic Trauma                                                                09/2016
       Emergency Medicine Residents’ Conference, UCLA-Olive View Medical Centers, Los Angeles.
       California
   7. Care for the Homeless Patient                                                  10/2016
       Emergency Medicine Residents’ Conference, UCLA-Olive View Medical Centers, Los
       Angeles. California
   8. Correctional Health and Primary Care Connections                               01/2019
       Department of Health Services Reentry Learning Collaborative, California Endowment. Los
       Angeles, California
   9. Health Equity and Liberation Medicine                                          02/2019
       Harbor-UCLA Medical Center Grand Rounds, Carson California
   10. Structural Vulnerability                                                      08/2019
       Harbor-UCLA Emergency Medicine Grand Rounds , Carson CA
   11. Social Emergency Medicine CPC                                                 10/2019
       Harbor-UCLA Emergency Medicine Grand Rounds , Carson CA
   12. Hospital Based Violence Intervention                                          10/2019
       LAC-USC Emergency Medicine Grand Rounds, Los Angeles California
   13. Community Mental Health                                                       11/2019
       Charles Drew Medical School Health Equity Course, Los Angeles California
   14. Less Than Lethal Weapons                                                      01/2020
       Harbor-UCLA Emergency Medicine Grand Rounds, Carson CA


Regional Lectures:

   1. Barriers to the “Right To Health” Amongst Patients of a Public
      Emergency Department Following Implementation of the Affordable Care Act    03/2015
      Western Regional SAEM Conference, Tucson, AZ
   2. Structural Vulnerability                                                    05/2017
      Emergency Medicine All-LA Regional Conference, LAC-USC Medical Center,      Los Angeles,
      California
   3. Craniofacial Complications                                                  07/2017
      Emergency Medicine Conference, Kaweah-Delta Hospital, Visalia, California
   4. Development and Implementation of a Novel Medicaid Enrolment Process
      for Correctional Health Settings.                                           06/2018
      Southern California DII Conference. Los Angeles, California
   5. Incarceration and Health                                                    05/2019
      All-LA Regional Conference, Harbor-UCLA, Los Angeles, California
   6. Injuries from “Non-Lethal” Weapons                                          08/2019
      Harbor UCLA Regional Trauma and Critical Care Conference, Carson, CA.


National Lectures:
                                         Page 4 of 8
   Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 90 of 189 Page ID #:90

                                                                    Shamsher Samra MD, MPhil

   1. Barriers to the “Right To Health” Amongst Patients
      of a Public Emergency Department Following
      Implementation of the Affordable Care Act.                               05/2015
      National Society of Academic Emergency Medicine Conference. San Diego
   2. A Case of Migrating Chest Pain                                           04/2016
      Council of Emergency Medicine Residency Directors National Conference, Annual Lecture,
      Nashville, TN
   3. Craniofacial Complications                                               05/2017
      Society of Academic Emergency Medicine Conference, Orlando FL
   4. Undocumented Emergency Department Patients: We Can Do Better
                                                                               05/2018
      National Society of Academic Emergency Medicine Conference. Indianapolis
   5. Migrant Heath and Liberation Medicine                                    12/2018
      Second Annual Health of Migrants Conference. Galveston, Texas.
   6. Health Equity and Emergency Medicine: A Perfect Fit                      05/2019
      Society of Academic Emergency Medicine Conference, Las Vegas NV
   7. Leveraging Community Health Workers to Improve Population Health         06/2019
      Americas Essential Hospitals Vitals Conference, Miami FL
   8. Breaking the Cycle: Hospital Based Violence Intervention                 06/2019
      Americas Essential Hospitals Vitals Conference, Miami FL

International Lectures:

   1. Discapacidad: Trauma de Sistema Nervioso Central: Lesiones del Cerebro
      y Medula Espinal                                                          02/2017
      Pre-hospital Training Program. Managua, Nicaragua.




                                         Page 5 of 8
     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 91 of 189 Page ID #:91

                                                                        Shamsher Samra MD, MPhil

PUBLICATIONS/BIBLIOGRAPHY:

RESEARCH PAPERS

A.     Research Papers - Peer Reviewed
       1. Hale MB, Krutzik PO, Samra SS, Crane JM, Nolan GP, 2009 Stage Dependent Aberrant
       Regulation of Cytokine-STAT Signaling in Murine Systemic Lupus Erythematosus. PLoS ONE
       4(8): e6756. doi:10.1371/journal.pone.000675
       2. Samra SS, Crowley J, Fawsi M, 2011 The right to water in rural Punjab: Assessing
       equitable access to water in the context of the ongoing Punjab Rural Water Supply Project.
       Health and Human Rights Journal. Volume 13, No. 2.
       3. Samra, SS et al. “Barriers to the Right to Health Among Patients of a Public Emergency
       Department After Implementation of the Affordable Care Act.” Health equity vol. 3,1 186-192. 2
       May. 2019, doi:10.1089/heq.2018.0071
       4. Samra, SS, Taira, B., Pinheiro, E., Trotzky-Sirr, R., & Schneberk, T. (2019). Undocumented
       Patients in the Emergency Department: Challenges and Opportunities. Western Journal of
       Emergency Medicine: Integrating Emergency Care with Population Health.

B.     Research Papers - Peer Reviewed (In Press)
       5. Saadi A, Cheffers ML, Taira B, Trotzky-Sirr R, Parmar P, Samra SS, Morrison JL, Shah S,
       Schneberk TW, “Building Immigration-Informed, Cross-Sector Coalitions: Findings from the
       Los Angeles County Health Equity for Immigrants Summit,” Health Equity


EDITORIALS
  1. Maciag K, Samra SS, Sorscher SS.                              03/2009
     Harvard as Big Pharma. The Harvard Crimson.

ABSTRACTS
  1. Samra SS, Taira B, Richman, M, McCullough. “Barriers to the “Right To Health” Amongst
     Patients of a Public Emergency Department Following Implementation of the Affordable Care
     Act.” Western Regional Society of Academic Emergency Medicine Conference, Tucson, AZ,
     March 2015
  2. Samra SS, Taira B, Richman, M, McCullough. “Barriers to the “Right To Health” Amongst
     Patients of a Public Emergency Department Following Implementation of the Affordable Care
     Act.” National Society of Academic Emergency Medicine Conference. San Diego, May 2015
  3. Samra SS, Taira B, Hseih D, Schneberk, T. “Undocumented Emergency Department Patients:
     We Can Do Better” National Society of Academic Emergency Medicine Conference.
     Indianapolis, Indiana , May 2018
  4. Taira, B, Torres, J, Nguyen, A, Samra SS. “Emergency Department Provider Knowledge of
     and Preferences for Language Assistance for the Care of Limited English Proficiency Patient”
     National Society of Academic Emergency Medicine Conference. Indianapolis, Indiana , May
     2018
  5. Schneberk T, Samra SS. “Creation of a novel medico-legal conduit to assist undocumented
     individuals presenting to the Emergency Department to address immigration legal needs”
     National Society of Academic Emergency Medicine Conference. Indianapolis, Indiana , May
     2018


                                            Page 6 of 8
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 92 of 189 Page ID #:92

                                                                       Shamsher Samra MD, MPhil
6. Hsieh D, Samra SS, “Development and Implementation of a Novel Medicaid Enrolment
    Process for Correctional Health Settings.” Southern California Dissemination, Implementation,
    and Improvement Conference. Los Angeles, California. June 2018
7. Terao N, Hsieh D, Samra SS, Salas A, Murray J, Deane M, Carrillo P. “Implementing an
    Effective Hospital-Based Violence Intervention Program at a Los Angeles County Trauma
    Center” Southern California Dissemination, Implementation, and Improvement Conference.
    Los Angeles, California. June 2018
8. Kiwon Yoo, MPH, Shamsher Samra, MD, MPhil, Karen Bernstein, MPH and Dennis Hsieh,
    MD, JD, Reducing Morbidity, Mortality, and Recidivism for Jail and Prison Re-Entry Patients:
    The Los Angeles County Whole Person Care Re-Entry Program. American Public Health
    Association Conference 2019
9. Susie Lee, Dennis Hsieh, MD, JD, Shamsher Samra, MD, MPhil, Clemens Hong, MD, MPH,
    Henna Zaidi, MPP, MPH and Sasha Rumburg. Longitudinal Patient Accompaniment Services
    by Community Health Workers (CHWs): Improving Coordination of Primary Care Services
    (PCS) for High-Risk Populations in Los Angeles County. American Public Health Association
    Conference 2019
10. Natalie Terao, MD, MS, Dennis Hsieh, MD, JD, Shamsher Samra, MD, MPhil, Brittney Mull,
    MD, MPH, Joseph Friedman, MPH, Tony Kuo, MD, MSHS, Noel Barragan, MPH, Molly
    Deanne, MD, Antoinette Salas, RN, BSN, MICN, Arcelia Tavarez, Paul Carrillo and Jennifer
    Murray, MSW, LCSW. Implementation and Evaluation of a Hospital-Based Violence
    Intervention Program at a Los Angeles County Trauma Center. American Public Health
    Association Conference 2019
11. Shamsher Samra, MD, MPhil, Dennis Hsieh, MD, JD, Karen Bernstein, MPH and Kiley
    Hoffman, MSW. Expansion of a Jail Based Primary Care Reentry Program. American Public
    Health Association Conference 2019
12. Tony Kuo, MD, MSHS, Noel Barragan, MPH, Shamsher Samra, MD, MPhil and Rochelle
    Dicker, MD. Population Health Perspective on Violence Prevention in the Hospital Setting:
    Intervening During a “Teachable Moment” in a Victim’s Life. American Public Health
    Association Conference 2019
13. Joseph Friedman, MPH, Shamsher Samra, MD, MPhil, Dennis Hsieh, MD, JD, Vincent
    Chong, MD, MS, Lee Plantmason, MD, Todd Schneberk, MD, MSHPM, MA, Karen Kwaning,
    Molly Deanne, MD, Brittney Mull, MD, Philippe Bourgois, PhD and Rochelle Dicker, MD. Racial
    and Geographic Disparities in Violent Injury Rates: A Baseline Assessment for a Los Angeles
    Hospital-Based Violence Intervention Program. American Public Health Association
    Conference 2019
14. Dennis Hsieh, MD, JD, Shamsher Samra, MD, MPhil, Kiwon Yoo, MPH, Karen Bernstein,
    MPH and Mark Burstyn, Pharm.D. Providing a 30 Day Supply of Medications upon Discharge
    from Los Angeles County Jails. American Public Health Association Conference 2019




                                        Page 7 of 8
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 93 of 189 Page ID #:93




                    EXHIBIT 8
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 94 of 189 Page ID #:94




    1                           DECLARATION OF MARC STERN, M.D.
    2               I, Marc Stern, declare as follows:
    3               1.    I am a physician, board-certified in internal medicine, specializing in
    4 correctional health care. I most recently served as the Assistant Secretary for Health
    5 Care at the Washington State Department of Corrections. I served for four years as
    6 a medical subject matter expert for the Officer of Civil Rights and Civil Liberties,
    7 U.S. Department of Homeland Security, and as a medical subject matter expert for
    8 one year for the California Attorney General’s division responsible for monitoring
    9 the conditions of confinement in Immigration and Customs Enforcement (ICE)
   10 detention facilities. I am a court-appointed medical expert in the class action
   11 Parsons v. Ryan, CV-12-00601-PHX-ROS. Currently, I am the Medical Advisor for
   12 the National Sheriffs’ Association on matters related to preventive measures
   13 responding to COVID-19. Additionally, in 2009, at the request of the California
   14 Receiver Clark Kelso, I toured 10 California state prisons to assess whether or not
   15 the Receiver’s assignment—to restore the delivery of health services within the
   16 California state prisons to constitutionally adequate levels – had been completed.
   17 Attached as Exhibit A is a copy of my curriculum vitae.
   18               2.    COVID-19 is a serious disease that has reached pandemic status, and is
   19 straining the health care systems around the world. As of May 15, 2020, at least
   20 1.3 million people in the United States had received confirmed diagnoses of
   21 COVID-19. At least 83,000 people have died in the United States. Approximately
   22 71,000 of the confirmed cases were in California, with more than 2,900 having died.
   23 These numbers will continue to increase, perhaps exponentially. Moreover, these
   24 figures must be considered in light of nationwide shortages of COVID-19 tests,
   25 meaning the actual numbers are likely significantly higher than those reported.
   26               3.    The Lompoc complex (“Lompoc”) is comprised of Federal
   27 Correctional Institution Lompoc (“FCI Lompoc”) and United States Penitentiary
   28 Lompoc (“USP Lompoc”). USP Lompoc itself has two components, a low-security
        3649756.2
                                                         1
                                        DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 95 of 189 Page ID #:95




    1 camp and a medium-security prison. In total, the facilities have a rated design
    2 capacity of 2058. However, as of May 15, 2020 they had a total population of 2680,
    3 thus exceeding capacity. As of May 15, 2020, there are a total of 924 people at FCI
    4 Lompoc who are currently or were recently positive for COVID-19, including 870
    5 residents and 14 staff currently deemed positive, and 37 residents reported as being
    6 “recovered” after previously testing positive. As of May 15, there are a total of 140
    7 people at USP Lompoc who are currently or were recently positive for COVID-19,
    8 including 15 residents and 16 staff currently deemed positive, two resident deaths,
    9 and 101 residents reported as being “recovered” after previously testing positive.
   10 The BOP website does not show what criteria it is using to consider someone
   11 “recovered.”
   12               4.   COVID-19 is a novel respiratory virus. It is spread primarily through
   13 droplets generated when an infected person coughs or sneezes, or through droplets
   14 of saliva or discharge from the nose. There is no vaccine for COVID-19, and there is
   15 no cure for COVID-19. No one has prior immunity. The only way to control the
   16 virus is to use preventive strategies, including social distancing.
   17               5.   The time course of the disease can be very rapid. Individuals can show
   18 the first symptoms of infection in as few as two days after exposure and their
   19 condition can seriously deteriorate in as few as five days (perhaps sooner) after that.
   20 It is believed that people can transmit the virus without being symptomatic and,
   21 indeed, that a significant amount of transmission may be from people who are
   22 infected but asymptomatic or pre-symptomatic.
   23               6.   Treatment for serious cases of COVID-19 requires immediate and
   24 substantial medical intervention.
   25               7.   The effects of COVID-19 are especially serious for people who are
   26 most vulnerable. Vulnerable people include people over the age of 50, and those of
   27 any age with underlying health problems such as—but not limited to—weakened
   28 immune systems (which can be caused by a variety of conditions, including but not
        3649756.2
                                                     2
                                      DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 96 of 189 Page ID #:96




    1 limited to cancer treatment, smoking, and immune weakening medications),
    2 moderate to severe asthma, diabetes, serious heart and lung disease, severe obesity,
    3 liver disease, and possibly pregnancy. While the CDC typically classifies only
    4 people 65 and older as vulnerable, incarcerated individuals tend to be in poorer
    5 health than those in the general population, justifying the use of an earlier cutoff in
    6 classifying people deemed vulnerable to COVID-19.
    7               8.    In light of the above, an outbreak of COVID-19 could put significant
    8 pressure on or exceed the capacity of local health infrastructure. In the absence of
    9 a vaccine and a cure, a significant number of people who are infected with the virus
   10 will die. Buttressing these concerns, it is not yet clear whether people who have
   11 already been infected with COVID-19 gain immunity against future infection. To
   12 the extent that the health care infrastructure is overloaded, people will die
   13 unnecessarily because necessary respirators and hospital facilities are unavailable.
   14               9.    Public health authorities recommend a number of preventive steps to
   15 help prevent or decrease the spread of COVID-19, with perhaps the most important
   16 measure being social distancing.
   17               10.   Prisons are congregate environments, i.e., places where people live and
   18 sleep in close proximity. Many people live in dormitory-style units with multiple
   19 rows of bunk beds close together or in small multi-person cells that often surround
   20 common areas where incarcerated people crowd together during the day. Social
   21 distancing in ways that are recommended by public health officials can be difficult,
   22 if not impossible, in prisons, even when the population is under design capacity.
   23 When prisons are at or above capacity, it becomes even more difficult to implement
   24 appropriate social distancing measures.
   25               11.   Infectious diseases that are transmitted via the air or touch (like
   26 COVID-19) are more likely to spread, placing people at risk. For these reasons, if—
   27 but more likely when—COVID-19 is introduced into a prison, the risks of spread is
   28 greatly, if not exponentially, increased as already evidenced by spread of COVID-19
        3649756.2
                                                        3
                                        DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 97 of 189 Page ID #:97




    1 in two other congregate environments: nursing homes and cruise ships.
    2               12.   But prisons actually have an attribute that makes them more dangerous
    3 than cruise ships. Unlike cruise ships, prisons are not closed systems. Staff, new
    4 detainees, attorneys, and inanimate objects—all potential vectors for virus—are
    5 introduced into the system every day. Thus, even if the government makes best
    6 efforts to follow preventive guidelines, the introduction of virus into a detention
    7 center is almost inevitable. Moreover, because staff and some visitors travel each
    8 day from the facilities back to their homes, when infection develops in the facility,
    9 there is also significant risk that the infection will be transmitted outside the facility,
   10 to the family and friends of staff and visitors. In short, the risks that confront
   11 individuals at detention facilities such as Lompoc stem from their very nature as
   12 congregate environments. Even if the healthcare provided were excellent, there
   13 would still be substantial risk; if the healthcare provided were substandard, those
   14 substantial risks are only elevated.
   15               13.   I understand the following to be allegations in the Complaint. If these
   16 allegations are confirmed true, the conditions at Lompoc are deeply concerning:
   17                          In total, the facilities comprising the Lompoc complex have
   18                           a rated design capacity of 2058. However, as of May 14, 2020,
   19                           they had a population of 2680, thus exceeding capacity.
   20                          As of May 14, 2020, more than 1,061 residents and staff had
   21                           tested positive for COVID-19.
   22                          Sick people from FCI Lompoc are being moved to living unit at
   23                           USP Lompoc. The living space there is double-occupancy cells.
   24                           The living unit is on near-total lockdown with residents confined
   25                           to their cells almost 24 hours a day. Conditions are very
   26                           unsanitary. Nobody can shower or change into clean clothes.
   27                          At the low-security camp at USP Lompoc, people live in open-
   28                           plan dormitories with shared bathrooms. About 140 people live
        3649756.2
                                                      4
                                       DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 98 of 189 Page ID #:98




    1                   in these dormitories and sleep on bunk beds approximately six
    2                   feet apart from each other. There are no internal walls so
    3                   everyone and all the bunk beds are in one open space. All 140
    4                   people share six toilets and six showers. Dormitories are
    5                   crowded and people congregate in common areas. Residents also
    6                   have to stand in line to get medication, and there is not enough
    7                   space for social distancing.
    8                  Initially, the practice appears to have been to transfer sick people
    9                   to the solitary confinement unit. Some residents who had tested
   10                   positive were left there for up to four days with no medical
   11                   attention. Eventually, prison authorities re-opened two
   12                   dormitories which had been closed three years ago due to mold
   13                   contamination in order to house sick people. The re-opened
   14                   dormitories are extremely unsanitary, and residents sleep on
   15                   mattresses officers have scattered across the ground. Residents
   16                   here spend up to five days at a time with no treatment for
   17                   COVID-19. There is no soap, and people are not being allowed
   18                   to shower.
   19                  At the medium-security prison at USP, two residents share cells
   20                   that are normally single-occupancy. Residents who become ill
   21                   with presumptive COVID-19 are not isolated from the healthy
   22                   population. The current prison practice seems to be to allow
   23                   people to hit “rock-bottom” before being treated for COVID-19.
   24                  Residents were only give one mask in April, and have been
   25                   reusing that mask since. Hand sanitizer is non-existent and soap
   26                   is not plentiful.
   27                  It does not appear that anyone who tests positive and then
   28                   “recovers” is tested again before being returned to the general
        3649756.2
                                               5
                                DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 99 of 189 Page ID #:99




    1                           population.
    2                          Residents are being denied regular medical treatment they had
    3                           received prior to the outbreak. For example, medically necessary
    4                           procedures scheduled prior to the outbreak have been delayed
    5                           indefinitely.
    6               14.   These conditions, if true—a track record of not being able to prevent
    7 predictable and widespread infection, continued widespread infection, unsanitary
    8 living conditions, inadequate testing, and most importantly overcrowding—make it
    9 exceedingly difficult, if not impossible, to ensure the safety of residents who remain
   10 housed at the facility. In particular, these conditions mean that social distancing is
   11 very difficult, if not impossible, to effectively implement.
   12               15.   I have also reviewed a declaration submitted by Kiarra Carror, the
   13 sister of Yonnedil Carror Torres, a resident of USP Lompoc. In addition to some of
   14 the representations above, the declarant indicates that: (1) Torres resides in a cell
   15 designed to house only a single person but he shares his cell with another resident,
   16 including sharing a toilet; (2) For five straight days, Torres asked correctional
   17 officers for medical assistance due to a fever, diarrhea, and body aches, until he
   18 eventually collapsed in his cell from acute respiratory failure; (3) After every
   19 resident on Torres’s block began banging their cell doors in unison to attract the
   20 attention of correctional officers, Torres was taken to a hospital, where he was
   21 placed into a medically-induced coma after being placed on a ventilator; (4) At the
   22 hospital, he was tested for the first time for COVID-19, with the result coming back
   23 positive; (5) Torres has been informed by physicians that he suffered acute lung
   24 damage from COVID-19 due to his asthma and his lung capacity severely
   25 deteriorated as a result; and (6) Torres has seen other residents similarly struggle to
   26 receive medical attention, with their symptoms having to become quite severe to
   27 receive treatment.
   28               16.   I cannot draw any conclusions from a single second-hand report.
        3649756.2
                                                       6
                                       DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 100 of 189 Page ID #:100




     1 However, if these allegations were found to be accurate, and if they were found to
     2 be representative of the system of health care delivery operating at USP Lompoc
     3 and FCI Lompoc, I would likely draw the following conclusions: (1) Lompoc
     4 operators are exposing residents to a significant risk of harm by ensuring that
     5 residents cannot socially distance. (2) The health care delivery system at Lompoc is
     6 currently unable to provide minimally safe health care, i.e., the current system poses
     7 a significant risk of serious harm to residents, a risk that will only increase as more
     8 residents become symptomatic from COVID-19 or the condition of symptomatic
     9 residents deteriorates as their disease progresses. Indeed, Torres’s sister’s account is
    10 alarming, as she claims that Lompoc staff refused her brother treatment until his
    11 condition was at a critical stage, at which point they finally sent him to a hospital for
    12 medically necessary treatment.
    13               17.   If the second conclusion above were true, I would need more
    14 information through discovery to determine the cause(s). However, based on my
    15 experience operating, evaluating, and monitoring correctional health care systems, it
    16 would likely be the result of one or more of the following factors: insufficient
    17 number of staff; inappropriate types of staff (for example, using licensed vocational
    18 nurses, performing beyond their licensed scope of practice, to carry out the duties of
    19 a registered nurse); insufficient training; and insufficient supervision.
    20               18.   For these reasons, I recommend consideration of a concerted effort to
    21 downsize the population of Lompoc to the lowest number possible immediately,
    22 with priority given to those at high risk of harm due to their age and health status.
    23 This will both allow Lompoc to implement more effective preventive and treatment
    24 measures while simultaneously granting released or transferred residents access to
    25 minimally acceptable living conditions. To maximize their effectiveness in reducing
    26 the spread and impact of the virus at Lompoc, these downsizing measures must be
    27 implemented now.
    28               19.   There are two values to immediate downsizing. First, downsizing will
         3649756.2
                                                       7
                                        DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 101 of 189 Page ID #:101




     1 reduce Lompoc’s density of congregation. This will allow people in prison to
     2 maintain better social distancing. The reduction in population will also make it
     3 easier for prison authorities to implement infection prevention measures such as:
     4 provision of cleaning supplies to residents; frequent laundering of towels and
     5 clothes; provision of soap for handwashing; frequent cleaning of transactional
     6 surfaces; etc. Furthermore, downsizing will allow prison health care professionals to
     7 devote their attention to a smaller number of residents, potentially improving the
     8 quality of care those residents receive. At any prison it is beneficial to conserve
     9 medical resources in the face of a pandemic such as the one we presently face. All
    10 these steps can slow or stop the spread of infection (or re-infection) and improve
    11 treatment outcomes if they are currently inadequate, to the benefit of residents and
    12 staff and, ultimately, the community at large.
    13               20.   Second, immediate downsizing that prioritizes residents who are
    14 elderly and those with underlying health conditions reduces the likelihood they will
    15 contract the disease or suffer severe medical consequences as a result of being
    16 infected. Individuals in these groups are at the highest risk of severe complications
    17 from COVID-19 and when they develop severe complications they will be
    18 transported to community hospitals. Reducing the spread and severity of infection in
    19 a prison slows, if not reduces, the number of people who will become ill enough to
    20 require hospitalization where they will be using scarce community resources (ER
    21 beds, general hospital beds, ICU beds) which also in turn reduces the health and
    22 economic burden to the local community at large. Indeed, in light of the new reality
    23 in which we operate, decisions to release residents from custody—traditionally
    24 concerned primarily with public safety—must also take into account the impact on
    25 public health. It is for this reason that release or transfer1 of at-risk residents not only
    26
    27
         1
         Transfer is only acceptable if the transfer itself does not pose significant risks and
    28 is a transfer to another facility where the quality of health care and COVID-19
         3649756.2
                                                       8
                                        DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 102 of 189 Page ID #:102




     1 reduces their risk of death, but also increases public safety when the impact on
     2 public health is also considered.
     3               21.   Residents who have received confirmed diagnoses of COVID-19 in
     4 most cases may be safely released to the community, where they can quarantine or
     5 isolate at home. To the extent that the quality of care these residents currently
     6 receive is inadequate, release would also ensure that residents have access to better
     7 health care.
     8               22.   In addition to the downsizing described above, and to the extent they
     9 are not already being implemented, the following steps should immediately be
    10 mandated of the Respondents in order to protect any residents who remain in
    11 custody:
    12                     a.    Social Distancing. The prison must ensure that residents are able
    13 to maintain adequate social distancing during required or necessary activities, such
    14 as collecting food, eating, and receiving medications.
    15                     b.    Immediate and Continued Testing. Patients (both staff and
    16 residents) who require testing (or re-testing) based on public health
    17 recommendations and the opinion of a qualified medical professional, should be
    18 tested for COVID-19.
    19                     c.    Immediate Screening. Defendants must be required to screen
    20 each employee or other person entering the facility every day to detect fever over
    21 100 degrees, cough, shortness of breath, other symptoms as currently recommended
    22 by CDC, and exposure to someone who is symptomatic or under surveillance for
    23 COVID-19, or screening as required by public health authorities. A record should be
    24 made of each screening.
    25                     d.    Quarantine. The prison must establish non-punitive quarantine
    26 for all individuals believed to have been exposed to COVID-19, but not yet
    27
    28 precautions are safe.
         3649756.2
                                                        9
                                        DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 103 of 189 Page ID #:103




     1 symptomatic, and non-punitive isolation for those believed to be infected with
     2 COVID-19 and potentially infectious. Any individual who must interact with those
     3 potentially or likely inflicted with COVID-19 must utilize protective equipment as
     4 directed by public health authorities. In short, every possible effort must be made to
     5 separate infected or potentially infected individuals from the rest of the incarcerated
     6 population and each other.
     7               e.    Post-Isolation or Quarantine. Individuals should only be released
     8 from quarantine or isolation in accordance with CDC guidelines as modified by
     9 local public health authorities, after which they should be monitored in accordance
    10 with those same guidelines.
    11               f.    Institutional Hygiene. The prison must be required to provide
    12 adequate disinfection of all high-touch areas and cells.
    13               g.    Personal Hygiene. The prison must be required to provide hand
    14 soap, disposable paper towels, and access to water to allow residents to wash their
    15 hands on a regular basis, free of charge and ensure replacement products are
    16 available as needed. Correctional staff should be allowed to carry hand sanitizer
    17 with alcohol on their person, and residents should be allowed to use hand sanitizer
    18 with alcohol when they are in locations or activities where hand washing is not
    19 available. Correctional officers should be required to wear personal protective
    20 equipment and perform hand hygiene when appropriate, consistent with the CDC
    21 guidance as modified by local health authorities
    22               h.    Waive Copays. There must be a waiving of copays for medical
    23 evaluation and care related in any way to COVID-19 and/or its symptoms. A waiver
    24 of these types of copays is necessary to avoid disincentivizing patients from
    25 requesting medical treatment. Patients with symptoms of possible COVID-19 should
    26 be seen quickly.
    27               i.    Access to Care. All residents should have timely access to an
    28 appropriately qualified health care professional.
         3649756.2
                                                  10
                                   DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 104 of 189 Page ID #:104




     1                     j.     Personal Protective Equipment. Those residents with a cough
     2 should be provided masks as soon as they inform staff of this symptom or staff
     3 notice this symptom.
     4                     k.     Supply Chain. The prison must be required to identify the
     5 supplies and other materials upon which the institution is dependent, such as food,
     6 medical supplies, certain medicines, cleaning products, etc., and prepare for
     7 shortages, delays or disruptions in the supply chain.
     8               23.   Thus, in summary, consideration should be given to immediately
     9 reducing the number of individuals imprisoned at Lompoc for the health and safety
    10 of the prisons and our communities, taking into account the totality of risk posed to
    11 the public safety by each individual. This population reduction should begin with
    12 the most medically vulnerable which includes those over age 50 and those with
    13 CDC-defined underlying health conditions.
    14               I declare under penalty of perjury under the laws of the United States that the
    15 foregoing is true and correct.
    16               Executed May 15, 2020, at Tumwater, Washington.
    17
    18
                                                         Marc F. Stern. M.D., M.P.H.
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
         3649756.2
                                                        11
                                         DECLARATION OF MARC STERN, M.D.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 105 of 189 Page ID #:105




                         EXHIBIT A
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 106 of 189 Page ID #:106


                                        MARC F. STERN, M.D., M.P.H., F.A.C.P.
                                                                                                                   May, 2020

                                                                                                        marcstern@live.com
                                                                                                         +1 (360) 701–6520

                                             SUMMARY OF EXPERIENCE

 CORRECTIONAL HEALTH CARE CONSULTANT                                                                      2009 – PRESENT
 Consultant in the design, management, and operation of health services in a correctional setting to assist in evaluating,
 monitoring, or providing evidence-based, cost-effective care consistent with constitutional mandates of quality.
 Current activities include:
  COVID-19 Medical Advisor, National Sheriffs Association (2020 - )
  Advisor to various jails in Washington State on patient safety, health systems, and related health care and custody
     staff activities and operations, and RFP and contract generation (2014 - )
  Consultant to the US Department of Justice, Civil Rights Division, Special Litigation Section. Providing investigative
     support and expert medical services pursuant to complaints regarding care delivered in any US jail, prison, or
     detention facility. (2010 - ) (no current open cases)
  Physician prescriber/trainer for administration of naloxone by law enforcement officers for the Olympia, Tumwater,
     Lacey, Yelm, and Evergreen College Police Departments (2017 - )
  Consultant to the Civil Rights Enforcement Section, Office of the Attorney General of California, under SB 29, to
     review the healthcare-related conditions of confinement of detainees confined by Immigration and Customs
     Enforcement in California facilities (2017 - )
  Rule 706 Expert to the Court, US District Court for the District of Arizona, in the matter of Parsons v. Ryan (2018 - )


 Previous activities include:
  Consultant to Human Rights Watch to evaluate medical care of immigrants in Homeland Security detention (2016 -
     2018)
  Consultant to Broward County Sheriff to help develop and evaluate responses to a request for proposals (2017 -
     2018)
  Member of monitoring team (medical expert) pursuant to Consent Agreement between US Department of Justice and
     Miami-Dade County (Unites States of America v Miami-Dade County, et al.) regarding, entre outre, unconstitutional
     medical care. (2013 - 2016)
  Jointly appointed Consultant to the parties in Flynn v Walker (formerly Flynn v Doyle), a class action lawsuit before
     the US Federal District Court (Eastern District of Wisconsin) regarding Eighth Amendment violations of the health
     care provided to women at the Taycheedah Correctional Institute. Responsible for monitoring compliance with the
     medical component of the settlement. (2010 - 2015)
  Consultant on “Drug-related Death after Prison Release,” a research grant continuing work with Dr. Ingrid
     Binswanger, University of Colorado, Denver, examining the causes of, and methods of reducing deaths after release
     from prison to the community. National Institutes of Health Grant R21 DA031041-01. (2011 - 2016)
  Consultant to the US Department of Homeland Security, Office for Civil Rights and Civil Liberties. Providing
     investigative support and expert medical services pursuant to complaints regarding care received by immigration
     detainees in the custody of U.S. Immigration and Customs Enforcement. (2009 - 2014)
  Special Master for the US Federal District Court (District of Idaho) in Balla v Idaho State Board of Correction, et al.,
     a class action lawsuit alleging Eighth Amendment violations in provision of health care at the Idaho State
     Correctional Institution. (2011 - 2012)
  Facilitator/Consultant to the US Department of Justice, Office of Justice Programs, Bureau of Justice Statistics,
     providing assistance and input for the development of the first National Survey of Prisoner Health. (2010-2011 )
  Project lead and primary author of National Institute of Corrections’ project entitled “Correctional Health Care
     Executive Curriculum Development,” in collaboration with National Commission on Correctional Health Care. NIC
     commissioned this curriculum for its use to train executive leaders from jails and prisons across the nation to better
     manage the health care missions of their facilities. Cooperative Agreement 11AD11GK18, US Department of Justice,
     National Institute of Corrections. (2011 - 2015 )
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 107 of 189 Page ID #:107
 Marc F. Stern, M.D.                                                                                  Page 2

    Co-teacher, with Jaye Anno, Ph.D., for the National Commission on Correctional Health Care, of the Commission’s
     standing course, An In-Depth Look at NCCHC’s 2008 Standards for Health Services in Prisons and Jails taught at its
     national meetings. (2010 - 2013)
    Contributor to 2014 Editions of Standards for Health Services in Jails and Standards for Health Services in Prisons,
     National Commission on Correctional Health Care. (2013)
    Consultant to the California Department of Corrections and Rehabilitation court-appointed Receiver for medical
     operations. Projects included:
          o Assessing the Receiver’s progress in completing its goal of bringing medical care delivered in the
               Department to a constitutionally mandated level. (2009)
          o Providing physician leadership to the Telemedicine Program Manager tasked with improving and expanding
               the statewide use of telemedicine. (2009)
    Conceived, co-designed, led, and instructed in American College of Correctional Physicians and National
     Commission on Correctional Health Care’s Medical Directors Boot Camp (now called Leadership Institute), a
     national training program for new (Track “101”) and more experienced (Track “201”) prison and jail medical
     directors. (2009 - 2012)
    Participated as a member of a nine-person Delphi expert consensus panel convened by Rand Corporation to create a
     set of correctional health care quality standards. (2009)
    Convened a coalition of jails, Federally Qualified Health Centers, and community mental health centers in ten
     counties in Washington State to apply for a federal grant to create an electronic network among the participants that
     will share prescription information for the correctional population as they move among these three venues. (2009 -
     2010)
    Participated as a clinical expert in comprehensive assessment of Michigan Department of Corrections as part of a
     team from the National Commission on Correctional Health Care. (2007)
    Provided consultation to Correctional Medical Services, Inc., St. Louis (now Corizon), on issues related to
     development of an electronic health record. (2001)
    Reviewed cases of possible professional misconduct for the Office of Professional Medical Conduct of the New York
     State Department of Health. (1999 – 2001)
    Advised Deputy Commissioner, Indiana State Board of Health, on developing plan to reduce morbidity from chronic
     diseases using available databases. (1992)
    Provided consultation to Division of General Medicine, University of Nevada at Reno, to help develop a new clinical
     practice site combining a faculty practice and a supervised resident clinic. (1991)


 OLYMPIA BUPRENORPHINE CLINIC, OLYMPIA, WASHINGTON                                                      2019 - PRESENT
 Volunteer practitioner at a low-barrier clinic to providing Medication Assisted Treatment (buprenorphine) to opioid
 dependent individuals wishing to begin treatment, until they can transition to a long-term treatment provider

 OLYMPIA FREE CLINIC, OLYMPIA, WASHINGTON                                                               2017 - PRESENT
 Volunteer practitioner providing episodic care at a neighborhood clinic which provides free care to individuals without
 health insurance until they can find a permanent medical home

 OLYMPIA UNION GOSPEL MISSION CLINIC, OLYMPIA, WASHINGTON                                                      2009 – 2014
 Volunteer practitioner providing primary care at a neighborhood clinic which provides free care to individuals without
 health insurance until they can find a permanent medical home; my own patient panel within the practice focuses on
 individuals recently released jail and prison.

 WASHINGTON STATE DEPARTMENT OF CORRECTIONS                                                                    2002 – 2008
 Assistant Secretary for Health Services/Health Services Director, 2005 – 2008
 Associate Deputy Secretary for Health Care, 2002 – 2005
 Responsible for the medical, mental health, chemical dependency (transiently), and dental care of 15,000 offenders in
 total confinement. Oversaw an annual operating budget of $110 million and 700 health care staff.
  As the first incumbent ever in this position, ushered the health services division from an operation of 12 staff in
      headquarters, providing only consultative services to the Department, to an operation with direct authority and
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 108 of 189 Page ID #:108
 Marc F. Stern, M.D.                                                                                   Page 3

     responsibility for all departmental health care staff and budget. As part of new organizational structure, created and
     filled statewide positions of Directors of Nursing, Medicine, Dental, Behavioral Health, Mental Health, Psychiatry,
     Pharmacy, Operations, and Utilization Management.
    Significantly changed the culture of the practice of correctional health care and the morale of staff by a variety of
     structural and functional changes, including: ensuring that high ethical standards and excellence in clinical practice
     were of primordial importance during hiring of professional and supervisory staff; supporting disciplining or career
     counseling of existing staff where appropriate; implementing an organizational structure such that patient care
     decisions were under the final direct authority of a clinician and were designed to ensure that patient needs were met,
     while respecting and operating within the confines of a custodial system.
    Improved quality of care by centralizing and standardizing health care operations, including: authoring a new
     Offender Health Plan defining patient benefits based on the Eighth Amendment, case law, and evidence-based
     medicine; implementing a novel system of utilization management in medical, dental, and mental health, using the
     medical staffs as real-time peer reviewers; developing a pharmacy procedures manual and creating a Pharmacy and
     Therapeutics Committee; achieving initial American Correctional Association accreditation for 13 facilities (all with
     almost perfect scores on first audit); migrating the eight individual pharmacy databases to a single central database.
    Blunted the growth in health care spending without compromising quality of care by a number of interventions,
     including: better coordination and centralization of contracting with external vendors, including new statewide
     contracts for hospitalization, laboratory, drug purchasing, radiology, physician recruitment, and agency nursing;
     implementing a statewide formulary; issuing quarterly operational reports at the state and facility levels.
    Piloted the following projects: direct issuance of over-the-counter medications on demand through inmates stores
     (commissary), obviating the need for a practitioner visit and prescription; computerized practitioner order entry
     (CPOE); pill splitting; ER telemedicine.
    Oversaw the health services team that participated variously in pre-design, design, or build phases of five capital
     projects to build complete new health units.


 NEW YORK STATE DEPARTMENT OF CORRECTIONAL SERVICES                                                             2001 – 2002
 Regional Medical Director, Northeast Region, 2001 – 2002
 Responsible for clinical oversight of medical services for 14,000 offenders in 14 prisons, including one (already) under
 court monitoring.
  Oversaw contract with vendor to manage 60-bed regional infirmary and hospice.
  Coordinated activities among the Regional Medical Unit outpatient clinic, the Albany Medical College, and the 13
     feeder prisons to provide most of the specialty care for the region.
  Worked with contracting specialists and Emergency Departments to improve access and decrease medical out-trips
     by increasing the proportion of scheduled and emergency services provided by telemedicine.
  Provided training, advice, and counseling to practitioners and facility health administrators in the region to improve
     the quality of care delivered.


 CORRECTIONAL MEDICAL SERVICES, INC. (now CORIZON)                                                              2000 – 2001
 Regional Medical Director, New York Region, 2000 – 2001
 Responsible for clinical management of managed care contract with New York State Department of Correctional Services
 to provide utilization management services for the northeast and northern regions of New York State and supervision of
 the 60-bed regional infirmary and hospice.
  Migrated the utilization approval function from one of an anonymous rule-based “black box” to a collaborative
      evidence-based decision making process between the vendor and front-line clinicians.

 MERCY INTERNAL MEDICINE, ALBANY, NEW YORK                                                                      1999 – 2000
 Neighborhood three-physician internal medicine group practice.
 Primary Care Physician, 1999 – 2000 (6 months)
 Provided direct primary care to a panel of community patients during a period of staff shortage.
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 109 of 189 Page ID #:109
 Marc F. Stern, M.D.                                                                                  Page 4

 ALBANY COUNTY CORRECTIONAL FACILITY, ALBANY, NEW YORK                                                         1998 – 1999
 Acting Facility Medical Director, 1998 – 1999
 Directed the medical staff of an 800 bed jail and provided direct patient care following the sudden loss of the Medical
 Director, pending hiring of a permanent replacement. Coordinated care of jail patients in local hospitals. Provided
 consultation to the Superintendent on improvements to operation and staffing of medical unit and need for privatization.

 VETERANS ADMINISTRATION MEDICAL CENTER, ALBANY, NY                                                            1992 – 1998
 Assistant Chief, Medical Service, 1995 – 1998
 Chief, Section of General Internal Medicine and Emergency Services, 1992 – 1998
 Responsible for operation of the general internal medicine clinics and the Emergency Department.
  Designed and implemented an organizational and physical plant makeover of the general medicine ambulatory care
     clinic from an episodic-care driven model with practitioners functioning independently supported by minimal nursing
     involvement, to a continuity-of-care model with integrated physician/mid-level practitioner/registered nurse/licensed
     practice nurse/practice manager teams.
  Led the design and opening of a new Emergency Department.
  As the VA Section Chief of Albany Medical College’s Division of General Internal Medicine, coordinated academic
     activities of the Division at the VA, including oversight of, and direct teaching in, ambulatory care and inpatient
     internal medicine rotations for medical students, residents, and fellows. Incorporated medical residents as part of the
     general internal medicine clinics. Awarded $786,000 Veterans Administration grant (“PRIME I”) over four years for
     development and operation of educational programs for medicine residents and students in allied health professions
     (management, pharmacy, social work, physician extenders) wishing to study primary care delivery.

 ERIE COUNTY HEALTH DEPARTMENT, BUFFALO, NY                                                                    1988 – 1990
 Director of Sexually Transmitted Diseases (STD) Services, 1989 – 1990
 Staff Physician, STD Clinic, 1988 – 1989
 Staff Physician, Lackawanna Community Health Center, 1988 – 1990
 Provided leadership and patient care services in the evaluation and treatment of STDs. Successfully reorganized the
 county’s STD services which were suffering from mismanagement and were under public scrutiny. Provided direct
 patient care services in primary care clinic for underserved neighborhood.


 UNION OCCUPATIONAL HEALTH CENTER, BUFFALO, NY                                                                 1988 – 1990
 Staff Physician, 1988 – 1990
 Provided direct patient care for the evaluation of occupationally-related health disorders.

 VETERANS ADMINISTRATION MEDICAL CENTER, BUFFALO, NY                                                           1985 – 1990
 Chief Outpatient Medical Section and Primary Care Clinic, 1986 – 1988
 VA Section Head, Division of General Internal Medicine, University of Buffalo, 1986 – 1988
    Developed and implemented a major restructuring of the general medicine ambulatory care clinic to reduce
     fragmentation of care by introduction of a continuity-of-care model with a physician/nurse team approach.
 Medical Director, Anticoagulation Clinic 1986 – 1990
 Staff Physician, Emergency Department, 1985 – 1986

                                              FACULTY APPOINTMENTS
 2020 – present    Faculty Associate, Center for Human Rights, University of Washington
 2007 – present    Affiliate Assistant Professor, Department of Health Services, School of Public Health, University of
                   Washington
 1999 – present    Clinical Professor, Fellowship in Applied Public Health (previously Volunteer Faculty, Preventive
                   Medicine Residency), University at Albany School of Public Health
 1996 – 2002       Volunteer Faculty, Office of the Dean of Students, University at Albany
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 110 of 189 Page ID #:110
 Marc F. Stern, M.D.                                                                              Page 5

 1992 – 2002      Associate Clinical/Associate/Assistant Professor of Medicine, Albany Medical College
 1993 – 1997      Clinical Associate Faculty, Graduate Program in Nursing, Sage Graduate School
 1990 – 1992      Instructor of Medicine, Indiana University
 1985 – 1990      Clinical Assistant Professor of Medicine, University of Buffalo
 1982 – 1985      Clinical Assistant Instructor of Medicine, University of Buffalo


                                      OTHER PROFESSIONAL ACTIVITIES
 2016 – present   Chair, Education Committee, Academic Consortium on Criminal Justice Health
 2016 – present   Washington State Institutional Review Board (“Prisoner Advocate” member)
 2016 – 2017      Mortality Reduction Workgroup, American Jail Association
 2013 – present   Conference Planning Committee – Medical/Mental Health Track, American Jail Association
 2013 – 2016      “Health in Prisons” course, Bloomberg School of Public Health, Johns Hopkins University/International
                  Committee of the Red Cross
 2013 – present   Institutional Review Board, University of Washington (“Prisoner Advocate” member),
 2011 – 2012      Education Committee, National Commission on Correctional Health Care
 2007 – present   National Advisory Committee, COCHS (Community–Oriented Correctional Health Services)
 2004 – 2006      Fellow’s Advisory Committee, University of Washington Robert Wood Johnson Clinical Scholar
                     Program
 2004             External Expert Panel to the Surgeon General on the “Call to Action on Correctional Health Care”
 2003 – present   Faculty Instructor, Critical Appraisal of the Literature Course, Family Practice Residency Program,
                     Providence St. Peter Hospital, Olympia, Washington
 2001 – present   Chair/Co-Chair, Education Committee, American College of Correctional Physicians
 1999 – present   Critical Appraisal of the Literature Course, Preventive Medicine Residency Program, New York State
                     Department of Health/University at Albany School of Public Health
 1999             Co–Chairperson, Education Subcommittee, Workshop Submission Review Committee, Annual
                     Meeting, Society of General Internal Medicine
 1997 – 1998      Northeast US Representative, National Association of VA Ambulatory Managers
 1996 – 2002      Faculty Mentor, Journal Club, Internal Medicine Residency Program, Albany Medical College
 1996 – 2002      Faculty Advisor and Medical Control, 5 Quad Volunteer Ambulance Service, University at Albany
 1995 – 1998      Preceptor, MBA Internship, Union College
 1995             Quality Assurance/Patient Satisfaction Subcommittee, VA National Curriculum Development
                     Committee for Implementation of Primary Care Practices, Veterans Administration
 1994 – 1998      Residency Advisory Committee, Preventive Medicine Residency, New York State Department of
                     Health/School of Public Health, University at Albany
 1993             Chairperson, Dean's Task Force on Primary Care, Albany Medical College
 1993             Task Group to develop curriculum for Comprehensive Care Case Study Course for Years 1 through 4,
                     Albany Medical College
 1988 – 1989      Teaching Effectiveness Program for New Housestaff, Graduate Medical Dental Education Consortium
                     of Buffalo
 1987 – 1990      Human Studies Review Committee, School of Allied Health Professions, University of Buffalo
 1987 – 1989      Chairman, Subcommittee on Hospital Management Issues and Member, Subcommittee on
                      Teaching of Ad Hoc Committee to Plan Incoming Residents Training Week, Graduate
                      Medical Dental Education Consortium of Buffalo
 1987 – 1988      Dean's Ad Hoc Committee to Reorganize "Introduction to Clinical Medicine" Course
 1987             Preceptor, Nurse Practitioner Training Program, School of Nursing, University of Buffalo
 1986 – 1988      Course Coordinator, Simulation Models Section of Physical Diagnosis Course, University of Buffalo
 1986 – 1988      Chairman, Service Chiefs' Continuity of Care Task Force, Veterans Administration Medical Center,
                     Buffalo, New York
 1979 – 1980      Laboratory Teaching Assistant in Gross Anatomy, Université Libre de Bruxelles, Brussels, Belgium
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 111 of 189 Page ID #:111
 Marc F. Stern, M.D.                                                                              Page 6

 1973 – 1975      Instructor and Instructor Trainer of First Aid, American National Red Cross
 1972 – 1975      Chief of Service or Assistant Chief of Operations, 5 Quad Volunteer Ambulance Service, University at
                     Albany.
 1972 – 1975      Emergency Medical Technician Instructor and Course Coordinator, New York State Department of
                     Health, Bureau of Emergency Medical Services


                                                 REVIEWER/EDITOR
 2019 – present   Criminal Justice Review (reviewer)
 2015 – present   PLOS ONE (reviewer)
 2015 – present   Founding Editorial Board Member and Reviewer, Journal for Evidence-based Practice in Correctional
                  Health, Center for Correctional Health Networks, University of Connecticut
 2011 – present   American Journal of Public Health (reviewer)
 2010 – present   International Advisory Board Member and Reviewer, International Journal of Prison Health
 2010 – present   Langeloth Foundation (grant reviewer)
 2001 – present   Reviewer and Editorial Board Member (2009 – present), Journal of Correctional Health Care
 2001 – 2004      Journal of General Internal Medicine (reviewer)
 1996             Abstract Committee, Health Services Research Subcommittee, Annual Meeting, Society of General
                  Internal Medicine (reviewer)
 1990 – 1992      Medical Care (reviewer)


                                                    EDUCATION
 University at Albany, College of Arts and Sciences, Albany; B.S., 1975 (Biology)
 University at Albany, School of Education, Albany; AMST (Albany Math and Science Teachers) Teacher Education
     Program, 1975
 Université Libre de Bruxelles, Faculté de Medecine, Brussels, Belgium; Candidature en Sciences Medicales, 1980
 University at Buffalo, School of Medicine, Buffalo; M.D., 1982
 University at Buffalo Affiliated Hospitals, Buffalo; Residency in Internal Medicine, 1985
 Regenstrief Institute of Indiana University, and Richard L. Roudebush Veterans Administration Medical Center; VA/NIH
     Fellowship in Primary Care Medicine and Health Services Research, 1992
 Indiana University, School of Health, Physical Education, and Recreation, Bloomington; M.P.H., 1992
 New York Academy of Medicine, New York; Mini-fellowship Teaching Evidence-Based Medicine, 1999


                                                  CERTIFICATION
 Provisional Teaching Certification for Biology, Chemistry, Physics, Grades 7–12, New York State Department of
     Education (expired), 1975
 Diplomate, National Board of Medical Examiners, 1983
 Diplomate, American Board of Internal Medicine, 1985
 Fellow, American College of Physicians, 1991
 License: Washington (#MD00041843, active); New York (#158327, inactive); Indiana (#01038490, inactive)
 “X” Waiver (buprenorphine), Department of Health & Human Services, 2018

                                                  MEMBERSHIPS
 2019 – present   Washington Association of Sheriffs and Police Chiefs
 2005 – 2016      American Correctional Association/Washington Correctional Association
 2004 – 2006      American College of Correctional Physicians (Member, Board of Directors, Chair Education
                  Committee)
 2000 – present   American College of Correctional Physicians
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 112 of 189 Page ID #:112
 Marc F. Stern, M.D.                                                                                   Page 7

                                                    RECOGNITION
 B. Jaye Anno Award for Excellence in Communication, National Commission on Correctional Health Care. 2019
 Award of Appreciation, Washington Association of Sheriffs and Police Chiefs. 2018
 Armond Start Award of Excellence, American College of Correctional Physicians. 2010
 (First) Annual Preventive Medicine Faculty Excellence Award, New York State Preventive Medicine Residency
 Program, University at Albany School of Public Health/New York State Department of Health. 2010
 Excellence in Education Award for excellence in clinical teaching, Family Practice Residency Program, Providence St.
 Peter Hospital, Olympia, Washington. 2004
 Special Recognition for High Quality Workshop Presentation at Annual Meeting, Society of General Internal Medicine.
 1996
 Letter of Commendation, House Staff Teaching, University of Buffalo. 1986

                       WORKSHOPS, SEMINARS, PRESENTATIONS, INVITED LECTURES
           st
 It’s the 21 Century – Time to Bid Farewell to “Sick Call” and “Chronic Care Clinic”. Annual Conference, National
 Commission on Correctional Health Care. Fort Lauderdale, Florida. 2019
 HIV and Ethics – Navigating Medical Ethical Dilemmas in Corrections. Keynote Speech, 14th Annual HIV Care in the
 Correctional Setting. AIDS Education and Training Program (AETC) Mountain West, Olympia, Washington. 2019
 Honing Nursing Skills to Keep Patients Safe in Jail. Orange County Jail Special Training Session (including San
 Bernardino and San Diego Jail Staffs), Theo Lacy Jail, Orange, California. 2019
 What Would You Do? Navigating Medical Ethical Dilemmas. Leadership Training Academy, National Commission on
 Correctional Health Care. San Diego, California. 2019
 Preventing Jail Deaths. Jail Death Review and Investigations: Best Practices Training Program, American Jail
 Association, Arlington, Virginia. 2018
 How to Investigate Jail Deaths. Jail Death Review and Investigations: Best Practices Training Program, American Jail
 Association, Arlington, Virginia. 2018
 Executive Manager Program in Correctional Health. 4-day training for custody/health care teams from jails and prisons
 on designing safe and efficient health care systems. National Institute for Corrections Training Facility, Aurora, Colorado,
 and other venues in Washington State. Periodically. 2014 – present
 Medical Ethics in Corrections. Criminal Justice 441 – Professionalism and Ethical Issues in Criminal Justice. University
 of Washington, Tacoma. Recurring seminar. 2012 – present
 Medical Aspects of Deaths in ICE Custody. Briefing for U.S. Senate staffers, Human Rights Watch. Washington, D.C.
 2018
 Jails’ Role in Managing the Opioid Epidemic. Panelist. Washington Association of Sheriffs and Police Chiefs Annual
 Conference. Spokane, Washington. 2018
 Contract Prisons and Contract Health Care: What Do We Know? Behind Bars: Ethics and Human Rights in U.S. Prisons
 Conference. Center for Bioethics – Harvard Medical School/Human Rights Program – Harvard Law School. Boston,
 Massachusetts. 2017
 Health Care Workers in Prisons. (With Dr. J. Wesley Boyd) Behind Bars: Ethics and Human Rights in U.S. Prisons
 Conference. Center for Bioethics – Harvard Medical School/Human Rights Program – Harvard Law School. Boston,
 Massachusetts. 2017
 Prisons, Jails and Medical Ethics: Rubber, Meet Road. Grand Rounds. Touro Medical College. New York, New York.
 2017
 Jail Medical Doesn’t Have to Keep You Up at Night – National Standards, Risks, and Remedies. Washington Association
 of Counties. SeaTac, Washington. 2017
 Prison and Jail Health Care: What do you need to know? Grand Rounds. Providence/St. Peters Medical Center. Olympia,
 Washington. 2017
 Prison Health Leadership Conference. 2-Day workshop. International Corrections and Prisons Association/African
 Correctional Services Association/Namibian Corrections Service. Omaruru, Namibia. 2016; 2018
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 113 of 189 Page ID #:113
 Marc F. Stern, M.D.                                                                                Page 8

 What Would YOU Do? Navigating Medical Ethical Dilemmas. Spring Conference. National Commission on Correctional
 Health Care. Nashville, Tennessee. 2016
 Improving Patient Safety. Spring Provider Meeting. Oregon Department of Corrections. Salem, Oregon 2016
 A View from the Inside: The Challenges and Opportunities Conducting Cardiovascular Research in Jails and Prisons.
 Workshop on Cardiovascular Diseases in the Inmate and Released Prison Population. The National Heart, Lung, and
 Blood Institute. Bethesda, Maryland. 2016
 Why it Matters: Advocacy and Policies to Support Health Communities after Incarceration. At the Nexus of Correctional
 Health and Public Health: Policies and Practice session. Panelist. American Public Health Association Annual Meeting.
 Chicago, Illinois. 2015
 Hot Topics in Correctional Health Care. Presented with Dr. Donald Kern. American Jail Association Annual Meeting.
 Charlotte, North Carolina. 2015
 Turning Sick Call Upside Down. Annual Conference. National Commission on Correctional Health Care. Dallas, Texas,
 2015.
 Diagnostic Maneuvers You May Have Missed in Nursing School. Annual Conference. National Commission on
 Correctional Health Care. Dallas, Texas. 2015
 The Challenges of Hunger Strikes: What Should We Do? What Shouldn’t We Do? Annual Conference. National
 Commission on Correctional Health Care. Dallas, Texas. 2015
 Practical and Ethical Approaches to Managing Hunger Strikes. Annual Practitioners’ Conference. Washington
 Department of Corrections. Tacoma, Washington. 2015
 Contracting for Health Services: Should I, and if so, how? American Jail Association Annual Meeting. Dallas, Texas.
 2014
 Hunger Strikes: What should the Society of Correctional Physician’s position be? With Allen S, May J, Ritter S.
 American College of Correctional Physicians (Formerly Society of Correctional Physicians) Annual Meeting. Nashville,
 Tennessee. 2013
 Addressing Conflict between Medical and Security: an Ethics Perspective. International Corrections and Prison
 Association Annual Meeting. Colorado Springs, Colorado. 2013
 Patient Safety and ‘Right Using’ Nurses. Keynote address. Annual Conference. American Correctional Health Services
 Association. Philadelphia, Pennsylvania. 2013
 Patient Safety: Overuse, underuse, and misuse…of nurses. Keynote address. Essentials of Correctional Health Care
 conference. Salt Lake City, Utah. 2012
 The ethics of providing healthcare to prisoners-An International Perspective. Global Health Seminar Series. Department
 of Global Health, University of Washington, Seattle, Washington. 2012
 Recovery, Not Recidivism: Strategies for Helping People Who are Incarcerated. Panelist. NAMI Annual Meeting, Seattle,
 Washington, 2012
 Ethics and HIV Workshop. HIV/AIDS Care in the Correctional Setting Conference, Northwest AIDS Education and
 Training Center. Salem, Oregon. 2011
 Ethics and HIV Workshop. HIV/AIDS Care in the Correctional Setting Conference, Northwest AIDS Education and
 Training Center. Spokane, Washington. 2011
 Patient Safety: Raising the Bar in Correctional Health Care. With Dr. Sharen Barboza. National Commission on
 Correctional Health Care Mid-Year Meeting, Nashville, Tennessee. 2010
 Patient Safety: Raising the Bar in Correctional Health Care. American Correctional Health Services Association, Annual
 Meeting, Portland, Oregon. 2010
 Achieving Quality Care in a Tough Economy. National Commission on Correctional Health Care Mid-Year Meeting,
 Nashville, Tennessee, 2010 (Co-presented with Rick Morse and Helena Kim, PharmD.)
 Involuntary Psychotropic Administration: The Harper Solution. With Dr. Bruce Gage. American Correctional Health
 Services Association, Annual Meeting, Portland, Oregon. 2010
 Evidence Based Decision Making for Non-Clinical Correctional Administrators. American Correctional Association 139th
 Congress, Nashville, Tennessee. 2009
 Death Penalty Debate. Panelist. Seattle University School of Law, Seattle, Washington. 2009
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 114 of 189 Page ID #:114
 Marc F. Stern, M.D.                                                                                 Page 9

 The Patient Handoff – From Custody to the Community. Washington Free Clinic Association, Annual Meeting, Olympia,
 Washington. Lacey, Washington. 2009
 Balancing Patient Advocacy with Fiscal Restraint and Patient Litigation. National Commission on Correctional Health
 Care and American College of Correctional Physicians “Medical Directors Boot Camp,” Seattle, Washington. 2009
 Staff Management. National Commission on Correctional Health Care and American College of Correctional Physicians
 “Medical Directors Boot Camp,” Seattle, Washington. 2009
 Management Dilemmas in Corrections: Boots and Bottom Bunks. Annual Meeting, American College of Correctional
 Physicians, Chicago, Illinois. 2008
 Public Health and Correctional Health Care. Masters Program in community–based population focused management –
 Populations at risk, Washington State University, Spokane, Washington. 2008
 Managing the Geriatric Population. Panelist. State Medical Directors’ Meeting, American Corrections Association,
 Alexandria, Virginia. 2007
 I Want to do my own Skin Biopsies. Annual Meeting, American College of Correctional Physicians, New Orleans,
 Louisiana. 2005
 Corrections Quick Topics. Annual Meeting, American College of Correctional Physicians. Austin, Texas. 2003
 Evidence Based Medicine in Correctional Health Care. Annual Meeting, National Commission on Correctional Health
 Care. Austin, Texas. 2003
 Evidence Based Medicine. Excellence at Work Conference, Empire State Advantage. Albany, New York. 2002
 Evidence Based Medicine, Outcomes Research, and Health Care Organizations. National Clinical Advisory Group,
 Integrail, Inc., Albany, New York. 2002
 Evidence Based Medicine. With Dr. LK Hohmann. The Empire State Advantage, Annual Excellence at Work Conference:
 Leading and Managing for Organizational Excellence, Albany, New York. 2002
 Taking the Mystery out of Evidence Based Medicine: Providing Useful Answers for Clinicians and Patients. Breakfast
 Series, Institute for the Advancement of Health Care Management, School of Business, University at Albany, Albany,
 New York. 2001
 Diagnosis and Management of Male Erectile Dysfunction – A Goal–Oriented Approach. Society of General Internal
 Medicine National Meeting, San Francisco, California. 1999
 Study Design and Critical Appraisal of the Literature. Graduate Medical Education Lecture Series for all housestaff,
 Albany Medical College, Albany, New York. 1999
 Male Impotence: Its Diagnosis and Treatment in the Era of Sildenafil. 4th Annual CME Day, Alumni Association of the
 Albany–Hudson Valley Physician Assistant Program, Albany, New York. 1998
 Models For Measuring Physician Productivity. Panelist. National Association of VA Ambulatory Managers National
 Meeting, Memphis, Tennessee. 1997
 Introduction to Male Erectile Dysfunction and the Role of Sildenafil in Treatment. Northeast Regional Meeting Pfizer
 Sales Representatives, Manchester Center, Vermont. 1997
 Male Erectile Dysfunction. Topics in Urology, A Seminar for Primary Healthcare Providers, Bassett Healthcare,
 Cooperstown, New York. 1997
 Evaluation and Treatment of the Patient with Impotence: A Practical Primer for General Internists. Society of General
 Internal Medicine National Meeting, Washington D.C. 1996
 Impotence: An Update. Department of Medicine Grand Rounds, Albany Medical College, Albany, New York. 1996
 Diabetes for the EMT First–Responder. Five Quad Volunteer Ambulance, University at Albany. Albany, New York.
 1996
 Impotence: An Approach for Internists. Medicine Grand Rounds, St. Mary's Hospital, Rochester, New York. 1994
 Male Impotence. Common Problems in Primary Care Precourse. American College of Physicians National Meeting,
 Miami, Florida. 1994
 Patient Motivation: A Key to Success. Tuberculosis and HIV: A Time for Teamwork. AIDS Program, Bureau of
 Tuberculosis Control – New York State Department of Health and Albany Medical College, Albany, New York. 1994
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 115 of 189 Page ID #:115
 Marc F. Stern, M.D.                                                                                Page 10

 Recognizing and Treating Impotence. Department of Medicine Grand Rounds, Albany Medical College, Albany, New
 York. 1992
 Medical Decision Making: A Primer on Decision Analysis. Faculty Research Seminar, Department of Family Practice,
 Indiana University, Indianapolis, Indiana. 1992
 Effective Presentation of Public Health Data. Bureau of Communicable Diseases, Indiana State Board of Health,
 Indianapolis, Indiana. 1991
 Impotence: An Approach for Internists. Housestaff Conference, Department of Medicine, Indiana University,
 Indianapolis, Indiana. 1991
 Using Electronic Databases to Search the Medical Literature. NIH/VA Fellows Program, Indiana University,
 Indianapolis, Indiana. 1991
 Study Designs Used in Epidemiology. Ambulatory Care Block Rotation. Department of Medicine, Indiana University,
 Indianapolis, Indiana. 1991
 Effective Use of Slides in a Short Scientific Presentation. Housestaff Conference, Department of Medicine, Indiana
 University, Indianapolis, Indiana. 1991
 Impotence: A Rational and Practical Approach to Diagnosis and Treatment for the General Internist. Society of General
 Internal Medicine National Meeting, Washington D.C. 1991
 Nirvana and Audio–Visual Aids. With Dr. RM Lubitz. Society of General Internal Medicine, Midwest Regional Meeting,
 Chicago. 1991
 New Perspectives in the Management of Hypercholesterolemia. Medical Staff, West Seneca Developmental Center, West
 Seneca, New York. 1989
 Effective Use of Audio–Visual Aids. Nurse Educators, American Diabetes Association, Western New York Chapter,
 Buffalo, New York. 1989
 Management of Diabetics in the Custodial Care Setting. Medical Staff, West Seneca Developmental Center, West
 Seneca, New York, 1989
 Effective Use of Audio–Visuals in Diabetes Peer and Patient Education. American Association of Diabetic Educators,
 Western New York Chapter, Buffalo, New York. 1989
 Pathophysiology, Diagnosis and Care of Diabetes. Nurse Practitioner Training Program, School of Nursing, University of
 Buffalo, Buffalo, New York. 1989
 Techniques of Large Group Presentations to Medical Audiences – Use of Audio–Visuals. New Housestaff Training
 Program, Graduate Medical Dental Education Consortium of Buffalo, Buffalo, New York. 1988


                                            PUBLICATIONS/ABSTRACTS
 Borschmann, R, Tibble, H, Spittal, MJ, … Stern, MF, Viner, KM, Wang, N, Willoughby, M, Zhao, B, and Kinner, SA.
 The Mortality After Release from Incarceration Consortium (MARIC): Protocolfor a multi-national, individual
 participant data meta-analysis. Int. J of Population Data Science 2019 5(1):6
 Binswanger IA, Maruschak LM, Mueller SR, Stern MF, Kinner SA. Principles to Guide National Data Collection on the
 Health of Persons in the Criminal Justice System. Public Health Reports 2019 134(1):34S-45S
 Stern M. Hunger Strike: The Inside Medicine Scoop. American Jails 2018 32(4):17-21
 Grande L, Stern M. Providing Medication to Treat Opioid Use Disorder in Washington State Jails. Study conducted for
 Washington State Department of Social and Health Services under Contract 1731-18409. 2018.
 Stern MF, Newlin N. Epicenter of the Epidemic: Opioids and Jails. American Jails 2018 32(2):16-18
 Stern MF. A nurse is a nurse is a nurse…NOT! Guest Editorial, American Jails 2018 32(2):4,68
 Wang EA, Redmond N, Dennison Himmelfarb CR, Pettit B, Stern M, Chen J, Shero S, Iturriaga E, Sorlie P, Diez Roux
 AV. Cardiovascular Disease in Incarcerated Populations. Journal of the American College of Cardiology 2017
 69(24):2967-76
 Mitchell A, Reichberg T, Randall J, Aziz-Bose R, Ferguson W, Stern M. Criminal Justice Health Digital Curriculum.
 Poster, Annual Academic and Health Policy Conference on Correctional Health, Atlanta, Georgia, March, 2017
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 116 of 189 Page ID #:116
 Marc F. Stern, M.D.                                                                                  Page 11

 Stern MF. Patient Safety (White Paper). Guidelines, Management Tools, White Papers, National Commission on
 Correctional Health Care. http://www.ncchc.org/filebin/Resources/Patient-Safety-2016.pdf. June, 2016
 Binswanger IA, Stern MF, Yamashita TE, Mueller SR, Baggett TP, Blatchford PJ. Clinical risk factors for death after
 release from prison in Washington State: a nested case control study. Addiction 2015 Oct 17
 Stern MF. Op-Ed on Lethal Injections. The Guardian 2014 Aug 6
 Stern MF. American College of Correctional Physicians Calls for Caution Placing Mentally Ill in Segregation: An
 Important Band-Aid. Guest Editorial. Journal of Correctional Health Care 2014 Apr; 20(2):92-94
 Binswanger I, Blatchford PJ, Mueller SR, Stern MF. Mortality After Prison Release: Opioid Overdose and Other Causes
 of Death, Risk Factors, and Time Trends From 1999 to 2009. Annals of Internal Medicine 2013 Nov; 159(9):592-600
 Williams B, Stern MF, Mellow J, Safer M, Greifinger RB. Aging in Correctional Custody: Setting a policy agenda for
 older prisoner health care. American Journal of Public Health 2012 Aug; 102(8):1475-1481
 Binswanger I, Blatchford PJ, Yamashita TE, Stern MF. Drug-Related Risk Factors for Death after Release from Prison:
 A Nested Case Control Study. Oral Presentation, University of Massachusetts 4th Annual Academic and Health Policy
 Conference on Correctional Healthcare, Boston, Massachusetts, March, 2011
 Binswanger I, Blatchford PJ, Forsyth S, Stern MF, Kinner SA. Death Related to Infectious Disease in Ex-Prisoners: An
 International Comparative Study. Oral Presentation, University of Massachusetts 4th Annual Academic and Health Policy
 Conference on Correctional Healthcare, Boston, Massachusetts, March, 2011
 Binswanger I, Lindsay R, Stern MF, Blatchford P. Risk Factors for All-Cause, Overdose and Early Deaths after Release
 from Prison in Washington State Drug and Alcohol Dependence. Drug and Alcohol Dependence Aug 1 2011;117(1):1-6
 Stern MF, Greifinger RB, Mellow J. Patient Safety: Moving the Bar in Prison Health Care Standards. American Journal
 of Public Health November 2010;100(11):2103-2110
 Strick LB, Saucerman G, Schlatter C, Newsom L, Stern MF. Implementation of Opt-Out HIV testing in the Washington
 State Department of Corrections. Poster Presentation, National Commission on Correctional Health Care Annual
 Meeting, Orlando, Florida, October, 2009
 Binswanger IA, Blatchford P, Stern MF. Risk Factors for Death After Release from Prison. Society for General Internal
 Medicine 32nd Annual Meeting; Miami: Journal of General Internal Medicine; April 2009. p. S164-S95
 Stern MF. Force Feeding for Hunger Strikes – One More Step. CorrDocs Winter 2009;12(1):2
 Binswanger I, Stern MF, Deyo RA, Heagerty PJ, Cheadle A, Elmore JG, Koepsell TD. Release from Prison – A High
 Risk of Death for Former Inmates. New England Journal of Medicine 2007 Jan 11;356(2):157–165
 Stern MF, Hilliard T, Kelm C, Anderson E. Epidemiology of Hepatitis C Infection in the Washington State Department
 of Corrections. Poster Presentation, CDC/NIH ad hoc Conference on Management of Hepatitis C in Prisons, San
 Antonio, Texas, January, 2003
 Phelps KR, Stern M, Slingerland A, Heravi M, Strogatz DS, Haqqie SS. Metabolic and skeletal effects of low and high
 doses of calcium acetate in patients with preterminal chronic renal failure. Am J Nephrol 2002 Sep–Dec;22(5–6):445–54
 Goldberg L, Stern MF, Posner DS. Comparative Epidemiology of Erectile Dysfunction in Gay Men. Oral Presentation,
 International Society for Impotence Research Meeting, Amsterdam, The Netherlands, August 1998. Int J Impot Res.
 1998;10(S3):S41 [also presented as oral abstract Annual Meeting, Society for the Study of Impotence, Boston,
 Massachusetts, October, 1999. Int J Impot Res. 1999;10(S1):S65]
 Stern MF. Erectile Dysfunction in Older Men. Topics in Geriatric Rehab 12(4):40–52, 1997. [republished in Geriatric
 Patient Education Resource Manual, Supplement. Aspen Reference Group, Eds. Aspen Publishers, Inc., 1998]
 Stern MF, Wulfert E, Barada J, Mulchahy JJ, Korenman SG. An Outcomes–Oriented Approach to the Primary Care
 Evaluation and Management of Erectile Dysfunction. J Clin Outcomes Management 5(2):36–56, 1998
 Fihn SD, Callahan CM, Martin D, et al.; for the National Consortium of Anticoagulation Clinics.* The Risk for and
 Severity of Bleeding Complications in Elderly Patients Treated with Warfarin. Ann Int Med. 1996;124:970–979
 Fihn SD, McDonell M, Martin D, et al.; for the Warfarin Optimized Outpatient Follow–up Study Group.* Risk
 Factors for Complications of Chronic Anticoagulation. Ann Int Med. 1993;118:511–520. (*While involved in the
 original proposal development and project execution, I was no longer part of the group at the time of this publication)
 Stern MF, Dittus RS, Birkhead G, Huber R, Schwartz J, Morse D. Cost–Effectiveness of Hepatitis B Immunization
 Strategies for High Risk People. Oral Presentation, Society of General Internal Medicine National Meeting, Washington,
 D.C., May 1992. Clin Res 1992
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 117 of 189 Page ID #:117
 Marc F. Stern, M.D.                                                                                    Page 12

 Fihn SD, McDonell MB, Vermes D, Martin D, Kent DL, Henikoff JG, and the Warfarin Outpatient Follow–up Study
 Group. Optimal Scheduling of Patients Taking Warfarin. A Multicenter Randomized Trial. Oral Presentation, Society of
 General Internal Medicine National Meeting, Washington, D.C., May 1992. Clin Res 1992
 Fihn SD, McDonnell MB, Vermes D, Kent DL, Henikoff JG, and the Warfarin Anticoagulation Study Group. Risk
 Factors for Complications During Chronic Anticoagulation. Poster Presentation, Society of General Internal Medicine
 National Meeting, Seattle, May 1991
 Pristach CA, Donoghue GD, Sarkin R, Wargula C, Doerr R, Opila D, Stern M, Single G. A Multidisciplinary Program to
 Improve the Teaching Skills of Incoming Housestaff. Acad Med. 1991;66(3):172–174
 Stern MF. Diagnosing Chlamydia trachomatis and Neisseria gonorrhea Infections. (letter) J Gen Intern Med.
 1991;6:183
 Stern MF, Fitzgerald JF, Dittus RS, Tierney WM, Overhage JM. Office Visits and Outcomes of Care: Does Frequency
 Matter? Poster Presentation, Society of General Internal Medicine Annual Meeting, Seattle, May 1991. Clin Res
 1991;39:610A
 Stern MF. Cobalamin Deficiency and Red Blood Cell Volume Distribution Width. (letter) Arch Intern Med.
 1990;150:910
 Stern M, Steinbach B. Hypodermic Needle Embolization to the Heart. NY State J Med. 1990;90(7):368–371
 Stern MF, Birkhead G, Huber R, Schwartz J, Morse D. Feasibility of Hepatitis B Immunization in an STD Clinic. Oral
 Presentation, American Public Health Association Annual Meeting, Atlanta, November 1990


                                                  EXPERT TESTIMONY
 Pajas v. County of Monterey, et al. US District Court for the Northern District of California, 2019 (trial)
 Dockery, et al. v. Hall et al. US District Court for the Southern District of Mississippi Northern Division, 2018 (trial)
 Benton v. Correct Care Solutions, et al. US District Court for the District of Maryland, 2018 (deposition)
 Pajas v. County of Monterey, et al. US District Court Northern District of California, 2018 (deposition)
 Walter v. Correctional Healthcare Companies, et al. US District Court, District of Colorado, 2017 (deposition)
 Winkler v. Madison County, Kentucky, et al. US District Court, Eastern District of Kentucky, Central Division at
 Lexington, 2016 (deposition)
 US v. Miami-Dade County, et al. US District Court, Southern District of Florida, periodically 2014 - 2016
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 118 of 189 Page ID #:118




                     EXHIBIT 9
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 119 of 189 Page ID #:119

                                                                             1




                    DECLARATION OF PROFESSOR JUDITH RESNIK REGARDING
                     ENLARGEMENT AND THE USE OF PROVISIONAL REMEDIES
                                 FOR DETAINED INDIVIDUALS


        I have been asked to make this declaration to explain my
   understanding of the remedies, both provisional and permanent,
   that federal judges can provide to people who are incarcerated and
   facing the threat of COVID-19. Because I have practiced in the
   federal courts for decades and represented prisoners in federal
   court, I have had personal experience with the use of enlargement
   in habeas corpus cases. Given that this provisional remedy is not
   regularly discussed in reported decisions or in academic analyses,
   I believe that my experiences and knowledge can be useful to the
   Court. This opinion is mine and is not that of the institutions
   with which I am affiliated. I declare that the following is a true
   and accurate account of my own work as a lawyer, of the pertinent
   legal principles as I understand them, and of how these precepts
   can apply in this unprecedented context.


                                                         My Background


        1.   I have worked on occasion as a lawyer, including in the
   clinical programs at Yale Law School and at the University of
   Southern California Law Center (USC), where I taught for more than
   a decade before returning to Yale Law School. I have appeared
   before the United States Supreme Court and in federal district and
   appellate courts. I have also been appointed by federal judges to
   assist in issues arising in large-scale litigation. Below, I
   provide a few aspects of my work particularly relevant to this
   declaration. I attach my resume as Exhibit A to this Declaration.

        2.   From 1977 until 1980, I was a supervising attorney at
   Yale Law School’s clinical program, which then provided legal
   services to federal prisoners housed at F.C.I. Danbury. From 1980
   to 1996, I taught at USC in both traditional classroom and clinical
   settings.

        3.  I am now the Arthur Liman Professor of Law at Yale Law
   School where I teach courses, including on federal and state



   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 120 of 189 Page ID #:120

                                                                                                2

   courts; procedure;                           large-scale       litigation;   federalism;   and
   incarceration.

        4.   I have taught law for decades. Much of my focus has been
   on the role and function of courts, and the relationship of
   governments to their populations. I regularly teach the class
   entitled Federal and State Courts in the Federal System. Readings
   for students include materials on habeas corpus and on civil rights
   litigation.

        5.   In 2018, I was awarded an Andrew Carnegie Fellowship to
   work on a book, tentatively entitled Impermissible Punishments,
   which explores the impact of the 1960s civil rights revolution on
   the kinds of punishments that governments can impose on people
   convicted of crimes. Central to this book is the role that access
   to courts played for people held in detention.

        6.   I am the Founding Director of the Arthur Liman Center
   for Public Interest Law. The Liman Center teaches classes yearly,
   convenes colloquia, does research projects, supports graduates of
   Yale Law School to work for one year in public interest
   organizations, and is an umbrella for undergraduate fellowships at
   eight institutions of higher education.

        7.   I write about the federal courts; adjudication and
   alternatives such as arbitration; habeas corpus and incarceration;
   class actions and multi-district litigation; the judicial role and
   courts’ remedies; gender and equality; and about transnational
   aspects of these issues. In recent years, I have spent a good deal
   of time doing research related to prisons. I have helped to develop
   a series of reports that provide information nation-wide on the
   use of solitary confinement.

        8.   In February of 2019, I testified before the U.S.
   Commission on Civil Rights at its hearing on women in prison and
   co-authored a statement related to the isolation of many facilities
   for women, their needs for education and work training, and the
   discipline to which they are subjected. See Statement submitted
   for the record, Women in Prison: Seeking Justice Behind Bars,
   before the U.S. Commission on Civil Rights, March 22, 2019. The
   report, published a few months ago, references this testimony. See
   U.S. Commission on Civil Rights, Women in Prison: Seeking Justice
   Behind      Bars      (February       2020),      available      at
   https://www.usccr.gov/pubs/2020/02-26-Women-in-Prison.pdf.




   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 121 of 189 Page ID #:121

                                                                             3

                    Remedies Available in the Federal Courts:
             Habeas Corpus, Civil Rights Litigation, and Enlargement

        9.   In light of my knowledge of the federal law of habeas
   corpus, state and federal court relations, procedure, and
   remedies,    I   have    been   asked   by    counsel    for   the
   petitioners/plaintiffs to address the range of responses available
   to judges presiding in cases that raise claims related to COVID-
   19. I have submitted a declaration akin to this one in a few other
   cases.

        10. As I understand from public materials on the health risks
   of this disease, COVID-19 poses a deadly threat to the well-being
   and lives of people who contract this disease. To reduce the risk
   and spread of this disease, our governments have instructed us to
   stay distant from others and to take measures that are
   extraordinary departures from our daily lives and routines.

        11. Applying these urgent medical directives to prisons
   poses challenges in every jurisdiction. Governing legal principles
   about prisoners’ access to courts were not framed to address COVID-
   19’s reality: that being inside prisons that are densely populated
   can put large numbers of people (prisoners and staff) at risk of
   immediate serious illness and potential death.

        12. These unprecedented risks from and harms of COVID-19 in
   prison raise a new legal question: whether COVID-19 has turned
   sentences which, when imposed, were (or may have been)
   constitutional into unconstitutional sentences during the pendency
   of this crisis.

        13. When sentencing people to a term of years of
   incarceration, judges had no authority to impose putting a person
   at grave risk of serious illness and death as part of the
   punishment for the offense. Now, such grave risks and harms can
   arise from the fact of incarceration.

        14. A recent Supreme Court case, Montgomery v. Louisiana,
   136 S.Ct. 718 (2016), provides an analogous situation of sentence
   that was constitutional at sentencing but unconstitutional now.
   The Court determined that, in light of new understandings of the
   limits of brain development in juveniles, sentences of life without
   parole (LWOP) imposed on individuals who had committed crimes when
   under the age of eighteen were lawful when issued but became
   unconstitutional. As a consequence, parole boards or courts had to
   reconsider whether LWOP remained appropriate. COVID-19 raises a
   parallel question, as it requires courts to address whether


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 122 of 189 Page ID #:122

                                                                             4

   sentences lawful at imposition can (at least temporarily) no longer
   be served in prisons because otherwise, the sentence would become
   an unconstitutional form of punishment. In these abnormal times,
   the speed at which decisions are made is critical. Therefore, as
   I discuss below, provisional remedies (enabling enlargement and
   release for some individuals and de-densifying for others) are
   necessary.

        15. The classic and longstanding remedy for relief from
   unconstitutional detention, conviction, and sentences is habeas
   corpus. The Constitution enshrined the remedy of habeas corpus,
   which has a substantial common law history and is codified in
   federal statutes. See generally Paul D. Halliday, Habeas Corpus
   (Harvard U. Press, 2012); Amanda L. Tyler, Habeas Corpus in Wartime
   (Oxford U. Press, 2017); Randy Hertz and James Liebman, Federal
   Habeas Corpus Practice and Procedure (2 volumes, 2019); Hart &
   Wechsler, The Federal Courts and the Federal System, Chapter X1,
   1193-1164 (Richard H. Fallon, Jr, John F. Manning, Daniel J.
   Meltzer & David Shapiro, 7th ed., 2015). These citations are the
   tip of a vast and substantial literature that aims to understand
   the history and law of habeas corpus.


                                                     The Legal Thicket

        16. As is familiar, in federal courts, federal petitioners
   file under 28 U.S.C. §2255 (post-conviction motions) and under
   §2241 (the general habeas statute), both of which are civil
   actions.

        17. For example, when I worked at Yale Law School in its
   clinical program in the late 1970s, we filed lawsuits for federal
   prisoners predicated on 28 U.S.C. §2241 as well as (in appropriate
   situations) on 28 U.S.C. §1331 (general question jurisdiction) and
   28 U.S.C. §1361 (mandamus), and in several instances, we filed
   cases as class actions. In the mid-1970s, the Supreme Court
   provided rules and forms for §2254 and §2255 filings. The Federal
   Rules of Civil Procedure supplement those rules, as recognized in
   F.R.Civ.Pro. 81(a)(4).


        18. Congress has recognized that federal judges are
   authorized under the habeas statutes to “summarily hear and
   determine the facts, and dispose of the matter as law and justice
   require.” See 28 U.S.C. §2243. In addition to this statutory
   authority,   federal  judicial   power  is   predicated  on   the
   constitutional protection of the writ and on the common law.


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 123 of 189 Page ID #:123

                                                                             5



        19. Congress has channeled and circumscribed some of federal
   judicial authority through the Antiterrorism and Effective Death
   Penalty Act of 1996 (AEDPA) and, relatedly, under the Prison
   Litigation Reform Act (PLRA) of 1996.

        20. Moreover, the Supreme Court has issued many decisions
   interpreting the prior habeas statutes, the 1996 revisions in
   AEDPA, and the intersection of habeas and civil rights claims
   brought under 42 U.S.C. §1983. The result is a dense arena of law
   and doctrine that can be daunting for litigants and jurists alike.


        21. Some Supreme Court decisions, written to address claims
   by state prisoners, have delineated litigation focused on the fact
   or duration of confinement, for which release is the remedy and
   habeas is the preferred route, from challenges to conditions of
   confinement, for which the Court has required use of 42 U.S.C.
   §1983. See, e.g., Preiser v. Rodriguez, 411 U.S. 475 (1978); Heck
   v. Humphrey, 512 U.S. 477 (1994). Yet that distinction is hard to
   apply, and many opinions have identified that the overlap, as
   exemplified by Mohammad v. Close, 540 U.S. 744 (2004), Wilkinson
   v. Dotson, 544 U.S. 74 (2005), and by other Supreme Court and lower
   court decisions.

        22. COVID-19 poses a new and painful context in which to
   undertake that analysis. Some reported decisions addressing the
   constitutional right of prisoners that officials not be
   “deliberately indifferent to serious medical needs” consider those
   Eighth Amendment claims to be appropriate for §1983 because they
   relate to conditions. But this deadly disease turns ordinary
   conditions into potentially lethal threats of illness for which
   the remedy to consider is release of at least some prisoners
   because density puts people at medical risk.

        23. Because COVID-19 can end people’s lives unexpectedly and
   abruptly, COVID-19 claims turn the condition of being incarcerated
   into a practice that affects the fact or duration of confinement.
   In my view, COVID-19 claims, therefore, collapse the utility and
   purpose of drawing distinctions between what once could more
   coherently be distinguished.

        24. Courts need also to consider how COVID-19 fits (or not)
   with provisions of AEDPA and the parameters of the PLRA. Again,
   new problems have emerged. For example, in some contexts for state
   and federal prisoners, a question of exhaustion of remedies arises.
   Often one issue is the ability of the executive branch to respond


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 124 of 189 Page ID #:124

                                                                             6

   quickly. In the COVID context, day by day, the risk of illness
   increases for prisoners and staff, which endanger health care
   resources. Exhaustion would be “futile” if other branches of
   government are not prompt in response and if people become sick,
   risks skyrocket, and deaths occur.

        25. “Futility” thus needs to be analyzed in terms not only
   of the capacity of institutions but in terms of the likelihood
   that the people seeking relief will be well enough to have the
   capacity to do so, and that the remedy provided will be effective
   given the alleged harm.

        26. Other legal issues include when class actions or other
   forms of multi-party treatment are appropriate and if so, whether
   the criteria such as those of Rule 23 are met; the merits of
   arguments about unconstitutional sentences and conditions; and the
   range of remedies. Furthermore, circuit case law varies somewhat
   on the use and application of the Federal Rules of Civil Procedure
   in habeas filings and on the scope and the interpretation of 28
   U.S.C. §2241.


                             The Availability of Provisional Remedies

        27. The reason to flag some of the many issues that
   litigation of both habeas petitions and civil rights cases entail
   is to underscore the importance of considering provisional
   remedies when cases are pending. In general, time is required for
   lawyers to brief and for judges to interpret and apply the law.
   But waiting days in a world of COVID infections can result in the
   loss of life.

        28. While courts have not faced COVID before, they have faced
   urgent situations, which is why provisional legal remedies exist.
   Courts have two ways to preserve the status quo – which here means
   protecting to the extent possible the health of prisoners, staff,
   and providers of medical services. One route is the use of
   temporary restraining orders and preliminary injunctions. These
   remedies require no explanation because they are familiar
   procedures. See Fed. R. Civ. Pro. 65.

        29. Another option is an aspect of federal judicial power
   that is less well known. District courts have authority when habeas
   petitions are pending to “enlarge” the custody of petitioners.
   “Enlargement” is a term that, as far as I am aware, is used only
   in the context of habeas. (More familiar terms for individuals
   permitted to leave detention are “release” and “bail,” and some


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 125 of 189 Page ID #:125

                                                                             7

   decision that “enlarge” petitioners use those words rather than
   enlargement).

        30. The distinction is that enlargement is not release. The
   person remains in custody - even as the place of custody is changed
   and thus “enlarged” from a particular prison to a hospital, half-
   way house, a person’s home, or other setting. Enlargement is a
   provisional remedy that modifies custody by expanding the site in
   which it takes place.

        31. Enlargement has special relevance when the PLRA has
   application. As I understand the PLRA’s rules on the “release” of
   prisoners, enlargement would not apply, as enlargement is not a
   release order. And, of course, interpreting the many directives of
   the PLRA in light of COVID entails more elaboration that my
   comments here.

        32.   The need to work through that statute and case law is
   another reason why the availability of provisional remedies is so
   important. Enlargement provides an opportunity for increasing the
   safety of prisoners, staff, and their communities while judges
   consider a myriad of complex legal questions.

        33. I    first   encountered   the   provisional   remedy   of
   enlargement in the 1970s, when I represented a prisoner – Robert
   Drayton – who was confined at F.C.I. Danbury and who filed a habeas
   petition   alleging   that   the   U.S.   Parole   Commission   had
   unconstitutionally rescinded his parole.

        34. The Honorable T.F. Gilroy Daly, a federal judge sitting
   in the District of Connecticut, granted Mr. Drayton’s request for
   enlargement while the decision on the merits was pending. Mr.
   Drayton returned to his home in Philadelphia and came back to
   Connecticut for the merits hearing. Judge Daly thereafter ruled in
   his favor; that decision was upheld in part and reversed in part.
   See Drayton v. U.S. Parole Commission, 445 F. Supp. 305 (D. Conn.
   1978), affirmed in part, Drayton v. McCall, 584 F.2d 1208 (2d Cir.
   1978).

        35. Judge Daly did not write a decision explaining the
   enlargement. Given that I knew that the use of enlargement was
   not always recorded in published decisions and that enlargement
   had special relevance here, I decided I should learn more about
   other courts’ discussion of this provisional remedy.

        36. The provisional district court remedy of enlargement is
   not mentioned directly in in federal rules governing the lower


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 126 of 189 Page ID #:126

                                                                             8

   federal courts. In contrast, at the appellate level, Federal Rule
   of Appellate Procedure (FRAP) 23 provides in part that:

        While a decision not to release a prisoner is under review,
        the court or judge rendering the decision, or the court of
        appeals, or the Supreme Court, or a judge or justice of
        either court, may order that the prisoner be: (1) detained
        in the custody from which release is sought; (2) detained in
        other appropriate custody; or (3) released on personal
        recognizance, with or without surety. While a decision
        ordering the release of a prisoner is under review, the
        prisoner must – unless the court or judge rendering the
        decision, or the court of appeals, or the Supreme Court, or
        a judge or justice of either court orders otherwise – be
        released on personal recognizance, with or without surety.

   As that excerpt reflects, the Rule uses language familiar in the
   context of bail and provides that appellate courts may also
   determine that a petitioner be detained in “other appropriate
   custody.”

        37. Federal courts at all level are authorized by Congress
   to decide habeas cases “as law and justice requires.” 28 U.S.C.
   §2243. The case law also references that, at the district court
   level, the authority to release a habeas petitioner pending a
   ruling on the merits stems from courts’ inherent powers. See, e.g.,
   Mapp v. Reno, 241 F.3d 221, 226 (2d Cir. 2001). And, as I noted,
   in these reported decisions, the terms “bail” or “release” are
   sometimes used instead of or in addition to “enlargement.”

        38. In the last weeks, the saliency of enlargement has
   prompted me to review more of the law surrounding it. To gather
   materials and opinions on enlargement, I asked two law students,
   Kelsey Stimson of Yale Law School and Ally Daniels of Stanford Law
   School, to help me research what judges have said about enlargement
   and what others have written. Below I detail some of the governing
   case law. The Hertz & Liebman Treatise on Habeas also has a section
   (§14.2) devoted to this issue.

        39. Some of the decisions involve requests for release when
   habeas petitions were pending from state prisoners, and others
   from federal prisoners, or from people in immigration detention.
   Further, several appellate cases address the issue of whether a
   district court order on enlargement was appealable as of right or
   subject to mandamus.




   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 127 of 189 Page ID #:127

                                                                                 9

        40. My central point is that, amidst these various debates
   about appealability and the test for enlargement/release, most
   circuits have recognized that district courts have the authority
   to order release pending final disposition of a habeas petition.
   See e.g., Woodcock v. Donnelly, 470 F.2d 93, 43 (1st Cir. 1972);
   Mapp v. Reno, 241 F.3d 221, 226 (2d Cir. 2001); Landano v.
   Rafferty, 970 F.2d 1230, 1239 (3d Cir. 1992); Calley v. Callaway,
   496 F.2d 701, 702 (5th Cir. 1974); Dotson v. Clark, 900 F.2d 77,
   79 (6th Cir. 1990); Cherek v. United States, 767 F.2d 335, 337
   (7th Cir. 1985); Martin v. Solem, 801 F.2d 324, 329 (8th Cir.
   1986); Pfaff v. Wells, 648 F.2d 689, 693 (10th Cir. 1981): Baker
   v. Sard, 420 F.2d 1342, 1342-44 (D.C. Cir. 1969).

        41. The Fourth and Eleventh Circuits appear, albeit less
   directly, to recognize enlargement authority. See Gomez v. United
   States, 899 F.2d 1124, 1125 (11th Cir. 1990); United States v.
   Perkins, 53 F. App’x 667, 669 (4th Cir. 2002). A Ninth Circuit
   opinion from 1989 likewise appears to recognize the power of
   district courts to grant release pending a habeas decision where
   there are “special circumstances or a high probability of success.”
   See Land v. Deeds, 878 F.2d 318 (9th Cir. 1989). Thereafter,
   another decision, In re Roe, described the Circuit as not having
   ruled on the issue in terms of state prisoners. See 257 F.3d 1077
   (9th Cir. 2001).1

        42. A discrete question is the standard for enlarging
   petitioners. To obtain an order for release pending the merits of
   habeas decision, the petitioner must demonstrate “extraordinary
   circumstances” and that the underlying claim raises “substantial
   claims.” See e.g. Mapp v. Reno, 241 F.3d 221, 226 (2d Cir. 2001).
   Courts have also discussed that release is appropriate when
   “necessary to make the habeas remedy effective.” Mapp, 241 F.3d at
   226; see also Landano v. Rafferty, 970 F.2d 1230, 1239 (3d Cir.
   1992). As that Third Circuit decision explained, release was
   “available ‘only when the petitioner has raised substantial
   constitutional claims upon which he has a high probability of
   success, and also when extraordinary or exceptional circumstances


   1
    Subsequent lower court cases debated whether district courts do possess such
   authority. See, e.g., Hall v. San Francisco Sup. Ct., 2010 WL 890044, at *2
   (N.D. Cal. Mar. 8, 2010) (“Based on the overwhelming authority [of other circuit
   courts] in support, the court concludes for purposes of the instant motion that
   it has the authority to release Hall pending a decision on the merits.”); United
   States v. Carreira, 2016 U.S. Dist. LEXIS 31210, at *4, (D. Haw. Mar. 10, 2016)
   (“[T]his Court declines to address the merits of Petitioner’s bail requests in
   the absence of definitive guidance from the Ninth Circuit regarding the scope
   of this Court’s bail authority.”).



   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 128 of 189 Page ID #:128

                                                                            10

   exist which make the grant of bail necessary to make the habeas
   remedy effective.’”

        43. Some judges have interpreted the “substantial questions”
   prong to require the underlying claim to have a “high probability
   of success.” See Hall v. San Francisco Superior Court, No. C 09-
   5299 PJH, 2010 WL 890044, *1 (N.D. Cal. Mar. 8, 2010); In re
   Souels, 688 F. App'x 134, 135 (3d Cir. 2017). That test resembles
   standards for preliminary injunctive relief and for stays, which
   include an assessment of the likelihood of success on the merits
   and of whether the balance of hardships tips in favor of altering
   the status quo. (And, of course, more can be said about the nuances
   of these bodies of law as well.)

        44. A few cases focus on the health of a petitioner as
   central to the conclusion that “extraordinary circumstances”
   exist. For example, in Johnston v. Marsh, the petitioner, Alfred
   Ackerman, brought a habeas claim alleging that he was convicted in
   Pennsylvania through a trial that lacked “due process.” 227 F.2d
   528 (3d Cir. 1955). Ackerman asked for release pending a decision
   on the merits of his habeas petition; he argued that he had
   advanced diabetes and was “rapidly progressing towards total
   blindness.” Id. at 529. The district court authorized Ackerman to
   be released to a private hospital. The prison warden (Frank
   Johnston) went to the Third Circuit invoking sought writs of
   prohibition and mandamus to order the district court (Judge Marsh)
   to change his ruling. Rejecting the petitions, the Third Circuit
   affirmed that district courts possessed the authority to order
   relocation while the habeas petition was pending. Johnson v. Marsh
   has been cited in more recent cases to illustrate that findings of
   extraordinary circumstances may “be limited to situations
   involving poor health or the impending completion of the prisoner’s
   sentence.” Landano, 970 F.2d at 1239.

        45. The court in In re Souels addressed what showing of
   health problems constituted extraordinary circumstances. See 688
   F. App’x at 135-36. Sean Souels, who was serving a 46-month federal
   prison sentence, petitioned for a writ of mandamus directing the
   court to rule on his writ of habeas corpus and sought release
   pending the decision. Id. at 134. The court denied Souels bail
   because “he [did] not describe his medical conditions in any detail
   or explain how he cannot manage his health issues while he is in
   prison.” Id.

        46. Health is not the only extraordinary circumstance that
   has been the basis for enlargement. For example, in United States
   v. Josiah, William Josiah brought a writ of habeas corpus after


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 129 of 189 Page ID #:129

                                                                            11

   the Supreme Court invalidated the residual clause of the Armed
   Career Criminal Act (ACCA) and altered the method for determining
   whether prior convictions qualify as violent felonies under the
   ACCA. 2016 WL 1328101, at *2 (D. Haw. Apr. 5, 2016). Josiah, who
   was serving a federal prison sentence argued that his prior
   convictions did not qualify as violent felonies and that he should
   not be subject to the fifteen-year mandatory minimum. The district
   court concluded that because the issue of retroactivity was pending
   before the Supreme Court and Josiah would have served his full
   sentence if the Court held its prior ruling retroactive, release
   pending the higher court’s ruling was appropriate. Id. at *4-6.

        47. In circumstances similar to Josiah, a district judge
   sitting in the Central District of Illinois issued three orders
   granting release, termed bail, to petitioners pending resolution
   of their habeas claims. See Zollicoffer v. United States, No. 15-
   03337, 2017 WL 79636 (C.D. Ill. Jan. 9, 2017); United States v.
   Jordan, No. 04-20008, 2016 WL 6634852 (C.D. Ill. Nov. 9, 2016);
   Swanson v. United States, No. 15-03262, 2016 WL 5422048 (C.D. Ill.
   Sept. 28, 2016).

        48. Another case involved enlargement in the context of the
   military. See Gengler v. U.S. through its Dep't of Def. & Navy,
   2006 WL 3210020, at *6 (E.D. Cal. Nov. 3, 2006). As that court
   explained, a “district court has the inherent power to enlarge a
   petitioner on bond pending hearing and decision on his petition
   for writ of habeas corpus.” Id. at *5. The judge also noted that
   a “greater showing must be made by a petitioner seeking bail in a
   criminal conviction habeas ‘than would be required in a case where
   applicant had sought to attack by writ of habeas corpus an
   incarceration not resulting from a judicial determination of
   guilt.’” The court used the test of “exceptional circumstances
   and, at a minimum, substantial questions as to the merits.” Id. at
   13. The court found “exceptional circumstances” based on the fact
   that the petitioner had been admitted to business school, had been
   granted permission by his commanding officer to attend, and would
   be forced to drop out if his custody were not enlarged. The court
   also ruled that “substantial questions as to the merits” existed
   because of alleged government errors in drafting the petitioner’s
   service agreement. Id. at *6.

        49. As of this writing, a few reported cases discuss COVID-
   based requests for enlargement while a habeas corpus proceeding is
   pending. In addition, many decisions address requests for release
   under federal statutes as well as other remedies.




   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 130 of 189 Page ID #:130

                                                                            12

        50. Given the fast pace of litigation and the many concerns
   about people’s well-being, UCLA has created a website that is
   regularly updated and compiles materials and decisions related to
   COVID. See UCLA Law Covid-19 Behind Bars Data Project, available
   at              https://docs.google.com/spreadsheets/d/1X6uJkXXS-
   O6eePLxw2e4JeRtM41uPZ2eRcOA_HkPVTk/edit#gid=708926660.

        51. Below I provide a few illustrations of decisions since
   April that are related to COVID and enlargement.

        52.   On April 7, the Honorable Jesse Furman, sitting in the
   Southern District of New York, granted on consent a motion styled
   “for bail” (the term used in the Second Circuit Mapp decision).
   Judge Furman ordered immediate release under specified conditions,
   pending the adjudication of the Section 2255 Motion. See United
   States v. Nkanga, No. 18-CR-00730 (S.D.N.Y., Apr. 7, 2020).

        53. A second case involves a class action filed by Craig
   Wilson and others. See Wilson v. Williams, No. 4:20-cv-00794-JG,
   2020 WL 1940882, at *1 (N.D. Ohio Apr. 22, 2020). Seeking to
   represent a class of all current and future prisoners of the Elkton
   Federal Correctional Institution (FCI) and a subclass of the
   medically vulnerable population, they sought relief because their
   continued incarceration subjected all FCI prisoners to substantial
   risk of harm in violation of the Eighth Amendment.

        54. On April 22, 2020, the federal district court granted in
   part the request by the Wilson class for emergency relief, which
   included enlargement of a subclass of prisoners challenging the
   manner in which the sentence was served and hence cognizable as a
   habeas petition. See Wilson v. Williams, No. 4:20-cv-00794-JG,
   2020 WL 1940882 (N.D. Ohio Apr. 22, 2020).     The Sixth Circuit
   denied a stay soon thereafter. See Wilson v. Williams, No. 4:20-
   CV-00794, 2020 WL 2308441, at *1 (6th Cir. May 8, 2020).

        55. The Wilson case also cited to Money v. Pritzker, No. 1-
   20 CV 02094, 2020 WL 1920660, at *1 (N.D. Ill. April 10, 2020), a
   class action seeking relief on behalf of state prisoners, and the
   Wilson court referenced that I had also submitted a declaration
   similar to this one in that action.        In Money, I discussed
   enlargement as well as the interaction between civil rights
   litigation and habeas corpus. Id. at *8–9. The Honorable Robert
   M. Dow, Jr. invoked my discussion, and the court determined not to
   grant the emergency relief sought by the plaintiff class. Id.

        56.   On May 12, 2020, the Honorable Michael Shea issued
   another decision responding to a petition challenging treatment of


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 131 of 189 Page ID #:131

                                                                            13

   prisoners at three facilities that compromise FCI Danbury.     In
   Martinez-Brooks v. Easter, 3-20-cv-00569-MPS, 2020 WL 2405350 (D.
   Conn., May 12, 2020). Judge Shea granted in part the request for
   a temporary restraining order and required “the Warden at FCI
   Danbury to adopt a process for evaluating inmates with COVID-19
   risk factors for home confinement and other forms of release that
   is both far more accelerated and more clearly focused on the
   critical issues of inmate and public safety than the current
   process.”   Id. at *1. He also ordered expedited discovery and
   scheduled a June hearing on the request for a preliminary
   injunction. Id. In that opinion, Judge Shea discussed enlargement
   as he analyzed the relief sought by the petitioners. Id. at *2

        57. Another case has less relevance as it was brought by an
   unrepresented litigant, Richard Peterson, who had originally
   sought habeas corpus relief on a claim about education credits and
   then filed an emergency request for release from a California state
   prison due to COVID-19. Peterson v. Diaz, No. 2:19-CV-01480, 2020
   WL 1640008, at *1 (E.D. Cal. Apr. 2, 2020). The district court
   noted that a class action raising COVID claims was pending in
   another federal court in California and that, while the court had
   the authority to release a person while a habeas petition was
   pending, Mr. Peterson had not provided evidence sufficient to meet
   the test to do so. Id.


                                                       Conclusion

        58. In sum, COVID-19 is an unprecedented event that, in my
   view, raises the legal question of whether, in light of the
   government mandates for social distancing, sentences (that had
   been lawful when they were imposed) cannot lawfully be served when
   the setting puts an individual in a position of untenable risk.
   Thus, habeas corpus – which addresses the constitutionality of
   sentences and offers the possibility of release and enlargement –
   properly provides a jurisdictional basis and remedies for this
   situation.

        59. I need also to note that, in recent years, the Supreme
   Court has raised questions in many contexts about the remedial
   powers of federal judges. Whether the topic is nationwide
   injunctions or commercial contracts, debates have occurred within
   the Court about the authority of federal judges.

        60. Those cases do not address the extraordinary and painful
   moment in which we are all living. Ordinary life has been up-ended
   in an effort to keep as many people as possible alive and not


   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 132 of 189 Page ID #:132

                                                                                    14

   debilitated by serious illness. Moreover, the Supreme Court
   opinions have not focused on the relevance of those remedial
   debates to situations were confinement can put entire staffs and
   detained populations at mortal risk. Therefore, judges have the
   obligation and the authority to interpret statutes and the
   Constitution to preserve the lives of people living in and working
   in prisons. It is my hope that this account of earlier uses of
   enlargement and the dense account of case law and doctrine will be
   of service to this Court and to the parties in understanding the
   meaning and import of American law.



   Dated:               May 14, 2020




                                                       __________________________
                                                       Judith Resnik




   3649600.1 Declaration enlargement judith Resnik May 14, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 133 of 189 Page ID #:133
                                                                             1

                                                    Judith Resnik

   Address
         Yale Law School                                            Tel: (203) 432-1447
         127 Wall Street, P.O. Box 208215                           Fax: (203) 432-1719
         New Haven, CT 06520-8215                                   Email: judith.resnik@yale.edu


   Employment
        Arthur Liman Professor of Law, Yale Law School, 1997-present
               Founding Director, Arthur Liman Center for Public Interest Law
               Honorary Visiting Professor, University College London
                       Faculty of Law, 2009-2021
               Visiting Professor, Dauphine Université Paris, March 2016
               Visiting Professor, Université Panthéon-Assas Paris II, May 2015
               Convening Professor, Constituting Federalism, a seminar for the Institute for
                       Constitutional History in conjunction with the New York Historical
                       Society, February 2014
               Scholar in Residence, Columbia Law School, Spring 2011; 2012
               Distinguished Visiting Professor, University of Toronto School of Law, 2005
               Parsons Visitor, Sydney University School of Law, 2004

              Visiting Professor, New York University School of Law, 1996-1997
              Visiting Professor, Harvard Law School, Fall 1989
              Visiting Professor, Yale Law School, Spring 1989
              Visiting Professor, University of Chicago Law School, Fall 1988

              Orrin B. Evans Professor of Law, University of Southern California, 1989-1997;
                     Professor of Law: 1985-1989; Associate Professor: 1982-1985;
                     Assistant Professor: 1980-1982
                     Member, Faculty, The Salzburg Seminar on U.S. Legal Institutions, July 1988

              Acting Director, Daniel and Florence Guggenheim Program in Criminal Justice,
                     Yale Law School, 1979-1980

              Lecturer in Law and Supervising Attorney, Yale Law School, 1977-1979

              Instructor, New York University School of Law, 1976-1977

              Law Clerk, Honorable Charles E. Stewart, United States District Court,
                    Southern District of New York, 1975-1976

   Selected Professional Activities
          Chair of Fellows Selection Committee and Founding Director, Arthur Liman Center for
                 Public Interest Law, Yale Law School, 1997-present




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 134 of 189 Page ID #:134
                                                                             2

              Chair, Yale Law School Global Constitutionalism Seminar, A Part of the Gruber Program
                     for Global Justice and Women’s Rights, 2012-present
              Member, Board of Managerial Trustees, International Association of Women Judges,
                     2001-present
              Chair, Order of the Coif Book Award Committee, 2018-2020
              Fellow, Whitney Humanities Center, 2020-2021
              Chair, American Association of Law Schools, Section on Law and Humanities, 2020
              Chair, American Association of Law Schools, Section on its Sections, 2019-2022
              Advisor, American Law Institute, Project on Sexual and Gender-Based Misconduct on
                     Campus, 2015-present
              Member, Task Force on Federal Judicial Selection, Project on Government Oversight of
                     The Constitution Project, 2019
              Steering Committee, Women Faculty Forum, Yale University, 2001-present
                     Co-chair, 2001-2003, 2006-2008
              Co-Chair, Judicial-Academic Network, National Association of Women Judges,
                     2009-2019, 1998-2001
              Academic Fellow, Pound Civil Justice Institute, 2016-present
              Fellow, Davenport College, Yale University, 2002-present
              Former Chair, Section on Civil Procedure, American Association of Law Schools;
                     2018, 2003, 1991
              Member, Executive Committee, Section on Federal Courts, American Association of
                     Law Schools, 1999-2004, 2014-present; chair, 2002
              Member, Executive Committee, Section on Law and the Humanities, American
                     Association of Law Schools, 2015-present
              Member, Academic & Scientific Council, The Gender Equality Project, Switzerland,
                     2009-present
              Advisor, European Law Institute and International Institute for the Unification of Private
                     Law Project, From Transnational Principles to Rules of European Civil
                     Procedure, 2015-2016
              Member, Executive Session, State Courts in the Twenty-First Century, The Kennedy
                     School, Harvard University, 2008-2011
              Member, Advisory Group, Principles of the Law of Aggregate Litigation, American
                     Law Institute, 2004-2009
              Member, Standing Committee on Federal Judicial Improvements, American Bar
                     Association, 2006-2010 (prior three-year term in the late 1990s);
                     Chair, Academic Advisory Committee to the Standing Committee on Federal
                     Judicial Improvements, American Bar Association, 2010-2014
              Member, Editorial Board, Yale Journal of Law and Feminism
              Member, Editorial Advisory Board, Yale Journal of Law and the Humanities
              Member, Advisory Board, Journal of Law and Ethics of Human Rights
              Member, Advisory Board, Litigation and Procedure, and Negotiation and Dispute
                     Resolution eJournals (Social Science Research Network, online)
              Member, Advisory Board, Women’s Studies Quarterly




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 135 of 189 Page ID #:135
                                                                             3

   Other Activities
         Co-chair of the Board, Fansler Foundation, 2003-2014
         Member, National Board of Academic Advisors for the William H. Rehnquist Center on
                 the Constitutional Structures of Government, 2007-2009
         Member, Advisory Board of the Science for Judges Project, Brooklyn Law School,
                 2003-2007
         Board Member, Lawyers’ Committee for Civil Rights, 2004-2007
         Liaison, American Association of Law Schools to the American Bar Association
                 Commission on Women, 2000-2005
         Member, Advisory Board of the Center for Judicial Process, Albany Law School,
                  2000-2004
         Member, Editorial Board, Law and Social Inquiry, 1998-2004
         Member, Committee on Diversity in Legal Education of the Section of Legal Education
                 and Admissions to the Bar of the American Bar Association, 1996-2002
         Consultant, RAND, Institute for Civil Justice, 1980-2002
         Member, Editorial Board, The Justice System Journal
         Member, Board of Governors, Society of American Law Teachers, 1980-1997
         Co-Chair, University of Southern California Feminist Council, 1990-1996
         Member, Ninth Circuit Gender Bias Task Force, 1990-1994
         Co-Chair, Robert M. Cover Memorial Public Interest Retreat, Society of American
                 Law Teachers, 1988-1992
         Member of and a general reporter for the International Association of Procedural Law,
                 1991 Conference
         Member, Planning Committee, ABA-AALS Conference on Women in Legal
                 Education, 1990
         Member, Advisory Panel to a Subcommittee of the Federal Courts Study Committee,
                 1989-1990
         Member, Steering Committee for the Center for Feminist Research, University of
                 Southern California, 1990-1994
         Member, American Bar Association, Litigation Section, Federal Initiatives Task Force,
                 1991-1993
         Chair, Section on Women in Legal Education, American Association of Law
                 Schools, 1989
         Member, Twentieth Century Fund Task Force on Judicial Responsibility, 1988-1989
         Member, Board of ACLU of Southern California, 1985
         Chair, Bryn Mawr College Centennial Campaign for Southern California, 1983-1985

   Courses taught at Yale Law School, 1997-2020
         Federal and State Courts in the Federal System
         Procedure
         Equality, Sovereignty and Citizenship (with Prof. Reva Siegel)
         Gender: Globally and Locally (with Prof. Vicki Jackson)
         Liman Workshops (topics and co-teachers vary yearly)
                Rationing Law: Subsidizing Access to Justice in Democracies
                Poverty and the Courts: Fines, Fees, Bail, and Collective Redress




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 136 of 189 Page ID #:136
                                                                             4

                         Who Pays? Fines, Fees, Bail, and the Cost of Courts
                         Imprisoned
                         Human Rights, Incarceration, and Criminal Justice Reform
                         Moving Criminal Justice: Practices of Reform
                         Incarceration
                         Borders
                         Rationing Law: Constitutional Entitlements to Courts in an
                                Era of Fiscal Austerity
                         Abolition: Slavery, Supermax, and Social Movements
                         Accessing Justice and Rights – From Streets to Prisons
                         Community, Confinement, Labor, and Rights
                         Equality, Punishment, and Incarceration
                         Imprisoned
                         Detention
                         Federalism and Social Movements: Public Interest Lawyering
                                in Cities and States
                         Citizenship
                         Constitutional Law as Public Interest Law

   Publications
          Books and Monographs

              Fragile Futures and Resiliency: Litigating Climate Change, Judging Under Stress (co-
                     editor Clare Ryan, Yale Global Constitutionalism Seminar, A Part of the Gruber
                     Program for Global Justice and Women’s Rights, 2019)

              Ability to Pay (co-editors Anna VanCleave, Alexandra Harrington, Jeff Selbin, Lisa
                      Foster, Joanna Weiss, Faith Barksdale, Alexandra Eynon, Stephanie Garlock, and
                      Daniel Phillips, Arthur Liman Center for Public Interest Law Colloquium, 2019),
                      available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3387647

              Working to Limit Restrictive Housing: Efforts in Four Jurisdictions to Make Changes
                    (editor, Arthur Liman Center for Public Interest Law and Association of State
                    Correctional Administrators, 2018).

              Reforming Restrictive Housing: The 2018 ASCA-Liman Nationwide Survey of Time-in-
                    Cell (co-author, Arthur Liman Center for Public Interest Law and Association of
                    State Correctional Administrators, 2018), available at
                    https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3264350

              Global Reconfigurations, Constitutional Obligations, and Everyday Life (co-editor Clare
                     Ryan, Yale Global Constitutionalism Seminar, A Part of the Gruber Program for
                     Global Justice and Women’s Rights, 2018)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 137 of 189 Page ID #:137
                                                                             5

              Who Pays? Fines, Fees, Bail, and the Cost of Courts (co-editors Anna VanCleave,
                    Kristen Bell, Skylar Albertson, Natalia Friedlander, Illyana Green, and Michael
                    Morse, Arthur Liman Center for Public Interest Law Colloquium, 2018), available
                    at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3165674

              Reconstituting Constitutional Orders (co-editor Clare Ryan, Yale Global
                    Constitutionalism Seminar, A Part of the Gruber Program for Global Justice and
                    Women’s Rights, 2017)

              Aiming to Reduce Time-In-Cell: Reports from Correctional Systems on the Numbers of
                    Prisoners in Restricted Housing and on the Potential of Policy Changes to Bring
                    About Reforms (co-author, Yale Law School Arthur Liman Public Interest
                    Program and Association of State Correctional Administrators, 2016)

              Rethinking ‘Death Row’: Variations in the Housing of Individuals Sentenced to Death
                     (co-authors Celina Aldape, Ryan Cooper, Katie Haas, April Hu, Jessica Hunter,
                     and Shellie Shimizu, Arthur Liman Public Interest Program, 2016), available at
                     https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2874492

              Acts of State, Acts of God (editor, Yale Global Constitutionalism Seminar, A Part of the
                      Gruber Program for Global Justice and Women’s Rights, 2016)

              Time-in-Cell: The ASCA-Liman 2014 National Survey of Administrative Segregation in
                     Prison (co-author, Yale Law School Arthur Liman Public Interest Program and
                     Association for State Correctional Administrators, 2015), available at
                     https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2655627

              The Reach of Rights (editor, Yale Global Constitutionalism Seminar, A Part of the
                    Gruber Program for Global Justice and Women’s Rights, 2015)

              The Invention of Courts, Daedalus: Journal of the American Academy of Arts and
                     Sciences (co-editor Linda Greenhouse, Summer 2014)

              Isolation and Reintegration: Punishment Circa 2014 (co-editors Hope Metcalf and
                      Megan Quattlebaum, Arthur Liman Public Interest Program Colloquium, 2014)

              Sources of Law and of Rights (editor, Yale Global Constitutionalism Seminar, A Part of
                     the Gruber Program for Global Justice and Women’s Rights, 2014)

              Governments’ Authority (editor, Yale Global Constitutionalism Seminar, A Part of the
                    Gruber Program for Global Justice and Women’s Rights, 2013)

              Administrative Segregation, Degrees of Isolation, and Incarceration: A National
                    Overview of State and Federal Correctional Policies (co-authors Hope Metcalf,
                    Jamelia Morgan, Samuel Oliker-Friedland, Julia Spiegel, Haran Tae, Alyssa




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 138 of 189 Page ID #:138
                                                                             6

                         Work, and Brian Holbrook , Arthur Liman Public Interest Program, 2013),
                         available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2286861

              Law’s Borders (editor, Yale Global Constitutionalism Seminar, A Part of the Gruber
                    Program for Global Justice and Women’s Rights, 2012)

              Representing Justice: Invention, Controversy, and Rights in City-States and Democratic
                     Courtrooms (with Dennis E. Curtis, Yale University Press, 2011)

              Federal Courts Stories (co-editor Vicki Jackson, Foundation Press, 2010)

              Migrations and Mobilities: Citizenship, Borders, and Gender (co-editor Seyla Benhabib,
                     New York University Press, 2009)

              The Processes of the Law: Understanding Courts and Their Alternatives (Foundation
                     Press, 2004)

              Adjudication and Its Alternatives: An Introduction to Procedure (with Owen Fiss,
                     Foundation Press, 2003)

              The Effects of Gender: The Final Report of the Ninth Circuit Gender Bias Task Force
                     (July 1993) (with The Hon. John C. Coughenour, The Hon. Proctor Hug, Jr., The
                     Hon. Marilyn Patel, Terry W. Bird, Deborah R. Hensler, M. Margaret McKeown,
                     and Henry Shields, Jr.), also reprinted in 67 Southern California Law Review 745
                     (1994)

              Procedure (with Robert Cover and Owen Fiss, Foundation Press, 1988)

              The Federal Procedural System: A Rule and Statutory Source Book (with Robert Cover
                    and Owen Fiss, Foundation Press, 1988, 1989, 1991)

              Chapters in Books
              Not Isolating Isolation, in Solitary Confinement: History, Effects, and Pathways to
                     Reform at 89-114 (Jules Lobel and Peter Scharff-Smith, eds., Oxford University
                     Press, 2020)

              Courts and Economic and Social Rights/Courts as Economic and Social Rights, in The
                     Future of Economic and Social Rights at 259-286 (Katharine G. Young, ed.,
                     Cambridge University Press, 2019)

              The Functions of Publicity and of Privatization in Courts and their Replacements (from
                    Jeremy Bentham to #MeToo and Google Spain) in Open Justice: The Role of
                    Courts in a Democratic Society at at 177-252 (Burkhard Hess and Ana Koprivica,
                    eds., Max Planck Institute, Luxembourg, Nomos, 2019)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 139 of 189 Page ID #:139
                                                                             7

              Judicial Methods of Mediating Conflicts: Recognizing and Accommodating Differences
                      in Pluralist Legal Regimes, in Judicial Power: How Constitutional Courts Affect
                      Political Transformations at 250-280 (Christine Landfried, ed., Cambridge
                      University Press, 2019)

              On Darkness and Light in Legal Imagination and in Practice, in The Dark Sides of the
                    Law: Perspectives on Law, Literature, and Justice in Common Law Countries at
                    13-29 (Geraldine Gadbin-George, Yvonne-Marie Rogez, Armelle Sabatier, and
                    Claire Wrobel, eds., Editions Michel Houdiard, 2019)

              Bordering by Law: The Migration of Law, Crimes, Sovereignty, and the Mail, in Nomos
                     LVII: Immigration, Emigration, and Migration, at 79-201 (Jack Knight, ed., New
                     York University Press, 2017)

              Why Eyes? Cautionary Tales from Law’s Blindfolded Justice (with Dennis E. Curtis), in
                   Blinding as a Solution to Bias in Biomedical Science and the Courts: A
                   Multidisciplinary Approach, at 227-247 (Aaron Kesselheim and Christopher
                   Robertson, eds., Elsevier Press, 2016)

              Constructing the “Foreign:” American Law’s Relationship to Non-Domestic Sources, in
                     Courts and Comparative Law, at 437-471 (Mads Andrenas and Duncan
                     Fairgrieve, eds., Oxford University Press, 2015)

              Epistemological Doubt and Visual Puzzles of Sight, Knowledge, and Judgment:
                     Reflections on Clear-Sighted and Blindfolded Justices (with Dennis E. Curtis), in
                     Genealogies of Legal Vision, at 201-242 (Peter Goodrich and Valérie Hayaert,
                     eds., London: Routledge, 2015)

              Federalism(s)’s Forms and Norms: Contesting Rights, De-Essentializing Jurisdictional
                     Divides, and Temporizing Accommodations, in Nomos LV: Federalism and
                     Subsidiarity, at 363-435 (James E. Fleming and Jacob T. Levy, eds., New York
                     University Press, 2014)

              Constructing Courts: Architecture, the Ideology of Judging, and the Public Sphere (with
                     Dennis E. Curtis and Allison Tait), in Law, Culture & Visual Studies, at 547-572
                     (Richard K. Sherwin and Anne Wagner, eds., Springer Publishing Company,
                     2013)

              “Hear the Other Side:” Miranda, Guantánamo, and Public Rights to Fairness and Dignity,
                     in Law and the Quest for Justice, at 85-109 (Marjorie S. Zatz, Doris Marie
                     Provine, and James P. Walsh, eds., Quid Pro Books, 2013)

              Old and New Depictions of Justice: Reflections, Circa 2011, on Hill-Thomas, in I Still
                     Believe Anita Hill, at 51-70 (Amy Richards and Cynthia Greenberg, eds., The
                     Feminist Press, 2012)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 140 of 189 Page ID #:140
                                                                             8


              Changing the Climate: The Role of Translocal Organizations of Government Actors
                    (TOGAs) in American Federalism(s), in Navigating Climate Change Policy: The
                    Opportunities of Federalism, at 120-143 (Edella C. Schlager, Kirsten H. Engel,
                    and Sally Rider, eds., The University of Arizona Press Tucson, 2011)

              Sisterhood, Slavery and Sovereignty: Transnational Women’s Rights Movements from
                     1840 through the Beginning of the Twenty-first Century, in Women’s America:
                     Seventh Edition, at 781-790 (Linda Kerber, Cornelia Hughes Dayton, and Jane De
                     Hart, eds., Oxford University Press, 2010)

              New Federalism(s): Translocal Organizations of Government Actors (TOGAs)
                    Reshaping Boundaries, Policies, and Laws, in Why the Local Matters:
                    Federalism, Localism, and Public Interest Advocacy, at 83-99 (published by the
                    Liman Public Interest Program at Yale Law School, and the National State
                    Attorneys General Program at Columbia Law School, 2010)

              Managerial Judges, Jeremy Bentham and the Privatization of Adjudication, in Common
                    Law, Civil Law and the Future of Categories, at 205-224 (Janet Walker and Oscar
                    G. Chase, eds., LexisNexis Canada, 2010), also published in 49 S.C.L.R.
                    (2d) 205 (2010)

              What’s Federalism For?, in The Constitution 2020, at 269-284 (Jack Balkin and
                    Reva Siegel, eds., Oxford University Press, 2009)

              Judicial Independence, in Global Perspectives on Constitutional Law, at 15-33 (Vikram
                      David Amar and Mark V. Tushnet, eds., Oxford University Press, 2008)

              From “Rites” To “Rights” of Audience: The Utilities and Contingencies of the Public’s
                    Role in Court-Based Processes (with Dennis E. Curtis) in Representation of
                    Justice, at 195-236 (Antoine Masson and Kevin O’Connor, eds., P.I.E. - Peter
                    Lang, 2007)

              Sisterhood, Slavery, and Sovereignty: Transnational Antislavery Work and Women’s
                     Rights Movements in the United States During the Twentieth Century, in
                     Women’s Rights and Transatlantic Antislavery in the Era of Emancipation, at 19-
                     54 (Kathryn K. Sklar and James Brewer Stewart, eds., Yale University
                     Press, 2007)

              Gendered Borders and United States’ Sovereignty, in Women and Immigration Law:
                    New Variations on Classical Feminist Themes, at 44-63 (S.K. Van Walsum
                    and T. Spijkerboer, eds., Routledge-Cavendish Press, 2006)

              Contracting Civil Procedure, in Law and Class in America: Trends Since the Cold




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 141 of 189 Page ID #:141
                                                                             9

                         War, at 60-86 (Paul Carrington and Trina Jones, eds., New York University Press,
                         2006)

              Democratic Responses to the Breadth of Power of the Chief Justice, in Reforming
                   the Court: Term Limits for Supreme Court Justices, at 181-200 (Paul D.
                   Carrington and Roger C. Cramton, eds., Carolina Academic Press, 2006)

              Composing a Judiciary: Reflections on Proposed Reforms in The United Kingdom on
                   How to Change the Voices of and the Constituencies for Judging, in
                   Constitutional Innovation: The Creating of A Supreme Court for the United
                   Kingdom; Domestic, Comparative and International Reflections, A Special Issue
                   of Legal Studies, at 228-252 (Derek Morgan, ed., LexisNexis, United
                   Kingdom, 2004)

              The Story of Goldberg: Why This Case Is Our Shorthand, in Civil Procedures Stories:
                     An In-Depth Look at the Leading Civil Procedure Cases, at 473-508 (Kevin
                     M. Clermont, ed., Foundation Press, 2004; 2nd ed., 2007)

              Federalism(s), Feminism, Families, and the Constitution, in Women and the United States
                     Constitution: History, Interpretation, and Practice, at 127-152 (Sybil A.
                     Schwarzenbach and Patricia Smith, eds., Columbia University Press, 2004)

              The Rights of Remedies: Collective Accountings for and Insuring Against the Harms of
                    Sexual Harassment in Directions in Sexual Harassment Law, at 247-271 (Reva
                    Siegel and Catherine MacKinnon, eds., University Press, 2004)

              Civil Processes, in Oxford Handbook of Legal Studies, at 478-772 (Peter Cane and Mark
                      Tushnet, eds., Oxford Press, 2003)

              Women, Meeting (Again), In and Beyond the United States, Afterword to The Difference
                   Difference Makes: Women and Leadership, at 203-216 (Deborah L. Rhode, ed.,
                   Stanford University Press, 2003)

              Procedure: Legal Aspects (Vol.18), in International Encyclopedia of the Social &
                    Behavioral Sciences, at 12136-12141 (Neil J. Smelser and Paul B. Baltes, eds.,
                    Elsevier Press, 2001)

              Contested Identities: Task Force on Gender, Race, and Ethnic Bias and the Obligations of
                     the Legal Profession (with Deborah Hensler) in Ethics in Practice, Lawyers’
                     Roles, Responsibilities, and Regulation, at 240-263 (Deborah L. Rhode, ed.,
                     Oxford University Press, 2000)

              Federal Judicial Role (Vol. III); Single-Sex Education (Vol. V); Procedural Due Process
                     Civil (Update I, Vol. IV), in The Encyclopedia of the American Constitution, 2nd




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 142 of 189 Page ID #:142
                                                                            10

                         edition, (Leonard Levy, Kenneth L. Karst, Adam Winkler, Dennis J. Mahoney,
                         and John G. West, Jr., eds., Macmillan, 2000)

              Singular and Aggregate Voices: Audiences and Authority in Law & Literature and in
                     Law & Feminism, in Law and Literature: Current Legal Issues, Vol. II, at 687-
                     727 (Michael Freeman and Andrew D. E. Lewis, eds., Oxford University Press,
                     1999)

              Foreword (with Carolyn Heilbrun) to Beyond Portia: Women, Law & Literature in the
                    United States, at 11-52 (Jacqueline St. Joan and Annette Bennington McElhiney,
                    eds., Northeastern University Press, 1997)

              Procedure, in Looking at Law School, at 177-195 (Stephen Gillers, ed., Penguin Books,
                    NY, 4th ed., 1997; 3rd ed., 1990)

              From the Senate Judiciary Committee to the County Courthouse: The Relevance of
                     Gender, Race, and Ethnicity to Adjudication, in Race, Gender, and Power in
                     America, The Legacy of the Hill-Thomas Hearings, at 177-227 (Anita Hill and
                     Emma Jordan, eds., Oxford Press, 1995)

              Gender in the Courts: The Task Force Reports, in The Woman Advocate, Excelling in the
                    90’s, at 3-38 (Jean Maclean Snyder and Andra Barmash Greene, eds., Prentice
                    Hall Law & Business, 1995)

              Finding the Factfinders, in Verdict: Assessing the Civil Justice System, at 500-530
                     (Robert E. Litan, ed., Brookings, May 1993)

              Independent and Inter-dependent: The Ninth Circuit and the Federal Judiciary, in
                     Restructuring Justice, at 321-330 (Arthur Hellman, ed., Cornell Press, 1990)

              The Perception of Justice: Tort Litigants’ Views of Trial, Court-Annexed Arbitration, and
                     Judicial Settlement Conferences (with E. Allan Lind, Robert MacCoun, Patricia
                     Ebener, William L.F. Felstiner, Deborah R. Hensler, and Tom R. Tyler), The
                     RAND Corporation, Institute for Civil Justice (1989)

              Should Prisoners Be Classified by Sex?, in Criminal Corrections: Ideals and Realities, at
                     109-123 (J. Doig, ed., Mass: Lexington Books, Fall 1982)

              Discrimination in Education, Chapter XXVIII in Dorsen, Bender, Neuborne, and Law, in
                     Political and Civil Rights in the United States, at 107-173 (Little Brown, 1979,
                     Supplement, 1981)

              Prisoners of Their Sex: Health Problems of Incarcerated Women (with Nancy Shaw) in
                     Prisoners’ Rights Sourcebook: Theory, Practice, and Litigation, Vol. II, at 319-




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 143 of 189 Page ID #:143
                                                                            11

                         413 (Ira Robbins, ed., N.Y.: Clark Boardman, 1980, reprinted in 3 Prison Law
                         Monitor 57-58, March 1981)

              Federal Prisoners’ Access to Federal Courts: Jurisdiction and Related Procedural Matters,
                     Prisoners Rights, at 85-158 (N.Y.: PLI, 1979)

              Undelivered Care: The Incapacitated and the Mentally Ill New York City Defendant, A
                     Report to the Mayor's Criminal Justice Coordinating Council (August 1973)
                     (co-authored)

              Articles
              Constituting Security and Fairness: Reflecting on Charles Reich’s Imagination and
                     Impact, 129 Yale Law Journal Forum 707 (2020)

              Inability to Pay: Court Debt Circa 2020 (with David Marcus), 98 North Carolina Law
                      Review 361 (2020)

              (Un)Constitutional Punishments: Eighth Amendment Silos, Penological Purposes, and
                    People’s “Ruin,” 129 Yale Law Journal Forum 365 (2020)

              Book Review: The Challenges of Engaging “The Art of Law: artistic representations and
                    iconography of law and justice in context, from the middle ages to the first world
                    war,” in 7 Comparative Legal History 239 (2019)

              Sentencing Inside Prisons: Efforts to Reduce Isolating Conditions (with Kristen Bell),
                     87 University of Missouri Kansas City Law Review 133 (2018)

              A2J/A2K: Access to Justice, Access to Knowledge, Economic Inequalities, and Open
                    Courts and Arbitrations, 96 North Carolina Law Review 605 (2018)

              Reorienting the Process Due: Using Jurisdiction to Forge Post-Settlement Relationships
                      Among Litigants, Courts, and the Public in Class and Other Aggregate
                      Litigation, 92 New York University Law Review 1017 (2017)

              “Vital” State Interests: From Representative Actions for Fair Labor Standards to Pooled
                     Trusts, Class Actions, and MDLs in the Federal Courts, 165 University of
                     Pennsylvania Law Review 1765 (2017)

              Lawyers’ Ethics Beyond the Vanishing Trial: Unrepresented Claimants, De Facto
                    Aggregations, Arbitration Mandates, and Privatized Processes, 85 Fordham Law
                    Review 1899 (2017)

              Accommodations, Discounts, and Displacement: The Variability of Rights as a Norm of
                   Federalism(s), 17 Jus Politicum 209 (2017)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 144 of 189 Page ID #:144
                                                                            12

              “Within Its Jurisdiction”: Moving Boundaries, People, and the Law of Migration, 160
                     Proceedings of the American Philosophical Society 117 (2016)

              Revising Our “Common Intellectual Heritage”: Federal and State Courts in Our Federal
                     System, 91 Notre Dame Law Review 1831 (2016)

              Time-In-Cell: Isolation and Incarceration (with Sarah Baumgartel and Johanna Kalb),
                    125 Yale Law Journal Forum (2016);
                    http://www.yalelawjournal.org/forum/time-in-cell-isolation-and-incarceration

              The Contingency of Openness in Courts: Changing the Experiences and Logics of
                    Publics’ Role in Court-Based ADR, 15 Nevada Law Journal 1631 (2015)

              Diffusing Disputes: The Public in the Private of Arbitration, the Private in Courts, and the
                     Erasure of Rights, 124 Yale Law Journal 2804 (2015); published in Portuguese in
                     Grandes Temas do Novo CPC: Justiça Multiportas: Mediação, Conciliação,
                     Arbitragem e Outros Meios de Solução Adequada Para Conflitos (DIDIER JR.,
                     Fredie; ZANETI JR., Hermes; CABRAL, Tricia Xavier Navarro eds., Salvador:
                     JusPodvim, 2016))

              Reinventing Courts as Democratic Institutions, Daedalus: Journal of the American
                    Academy of Arts and Sciences 9 (Summer 2014)

              The Privatization of Process: Requiem for and Celebration of the Federal Rules of Civil
                     Procedure at 75, 162 University of Pennsylvania Law Review 1793 (2014)

              Inventing Democratic Courts: A New and Iconic Supreme Court (with Dennis E. Curtis),
                     38 Journal of Supreme Court History 207 (2013)

              Gideon at Guantánamo: Democratic and Despotic Detention (with Hope Metcalf),
                    122 Yale Law Journal 2504 (2013)

              Administrative Segregation, Degrees of Isolation, and Incarceration: A National
                    Overview of State and Federal Correctional Policies (with Hope Metcalf, Jamelia
                    Morgan, Samuel Oliker-Friedland, Julia Spiegel, Haran Tae, Alyssa Work, and
                    Brian Holbrook) (2013)

              The Democracy in Courts: Jeremy Bentham, ‘Publicity’, and the Privatization of Process
                    in the Twenty-First Century, NoFo 10 (2013)

              Globalization(s), privatization(s), constitutionalization and statization: Icons and
                     experiences of sovereignty in the 21st century, 11 International Journal of
                     Constitutional Law (IꞏCON) 162 (2013)

              Equality’s Frontiers: Courts Opening and Closing, 122 Yale Law Journal




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 145 of 189 Page ID #:145
                                                                            13

                         Online 243 (2013)

              Opening the Door: Ruth Bader Ginsburg, Law’s Boundaries, and the Gender of
                    Opportunities, 25 Columbia Journal of Gender and Law 81 (2013)

              Constitutional Entitlements to and in Courts: Remedial Rights in an Age of
                     Egalitarianism: The Childress Lecture, 56 St. Louis University Law
                     Journal 916 (2012)

              Comparative (In) equalities: CEDAW, the jurisdiction of gender, and the heterogeneity
                   of transnational law production, 10 International Journal of Constitutional Law
                   (IꞏCON) 531 (2012)

              Building the Federal Judiciary (Literally and Legally): The Monuments of Chief Justices
                     Taft, Warren, and Rehnquist, 87 Indiana Law Journal 823 (2012)

              Re-Presenting Justice: Visual Narratives of Judgment and the Invention of Democratic
                     Courts (with Dennis E. Curtis), 24 Yale Journal of Law and the
                     Humanities 19 (2012)

              Fairness in Numbers: A Comment on AT&T v. Concepcion, Wal-Mart v. Dukes, and
                     Turner v. Rogers, 125 Harvard Law Review 78 (2011)

              The Production and Reproduction of Constitutional Norms, 35 New York University
                     Review of Law & Social Change 226 (2011)

              Bring Back Bentham: “Open Courts,” “Terror Trials,” and Public Sphere(s), 5 Law &
                     Ethics of Human Rights 226 (2011)

              Compared to What?: ALI Aggregation and the Shifting Contours of Due Process and
                   of Lawyers’ Powers, 79 George Washington Law Review 628 (2011)

              Reading Reinhardt: The Work of Constructing Legal Virtue (Exempla Iustitiae), 120
                    Yale Law Journal 539 (2010)

              Kyoto at the Local Level: Federalism and Translocal Organizations of Government
                     Actors (TOGAs) (with Joshua Civin and Joseph Frueh), 40 Environmental Law
                     Reporter 10768 (2010)

              Detention, The War on Terror, and the Federal Courts, 110 Columbia Law
                     Review 579 (2010)

              The Internationalism of American Federalism: Missouri and Holland (Earl F. Nelson
                     Memorial Lecture), 73 Missouri Law Review 1105 (2009)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 146 of 189 Page ID #:146
                                                                            14

              Courts: In and Out of Sight, Site, and Cite, 53 Villanova Law Review 771 (2008)

              Interdependent Federal Judiciaries: Puzzling about Why and How to Value the
                     Independence of Which Judges, Daedalus 28 (2008)

              Ratifying Kyoto at the Local Level: Sovereigntism, Federalism, and Translocal
                     Organizations of Government Actors (TOGAs) (with Joshua Civin and Joseph
                     Frueh), 50 Arizona Law Review 709 (2008)

              Lessons in Federalism from the 1960s Class Action Rule and the 2005 Class Action
                    Fairness Act: “The Political Safeguards” of Aggregate Translocal Actions,
                    156 University of Pennsylvania Law Review 1929 (2008)

              Law as Affiliation: “Foreign” Law, Democratic Federalism, and the Sovereigntism of the
                     Nation-State, 6 International Journal of Constitutional Law (IꞏCON) 33 (2008)

              Foreign as Domestic Affairs: Rethinking Horizontal Federalism and Foreign
                     Affairs Preemption in Light of Translocal Internationalism, 57 Emory Law
                     Journal 31 (2007)

              Representing Justice: From Renaissance Iconography to Twenty-First Century
                    Courthouses (with Dennis E. Curtis), Henry la Barre Jayne Lecture, 151
                    Proceedings of the American Philosophical Society 139 (2007)

              Roscoe Pound Round-Table Discussion, in Conference of Chief Justices and Council on
                    State Court Administrators Symposium, 82 Indiana Law Journal 1157 (2007)

              No Daubert Hearing Necessary: The Extraordinary Expertise of Margaret Berger,
                    16 Journal of Law and Policy 6 (2007)

              Whither and Whether Adjudication?, 86 Boston University Law Review 1101 (2006)

              Uncovering, Disclosing, and Discovering How the Public Dimensions of Court-
                    Based Processes Are at Risk, 81 Chicago-Kent Law Review 521 (2006)

              Responding to a Democratic Deficit: Limiting the Powers and the Term of the
                    Chief Justice of the United States (with Lane Dilg), 154 University of
                    Pennsylvania Law Review 1575 (2006)

              Law’s Migration: American Exceptionalism, Silent Dialogues, and Federalism’s
                    Multiple Ports of Entry, 115 Yale Law Journal 1564 (2006)

              Living Their Legal Commitments: Paideic Communities, Courts and Robert Cover,
                     17 Yale Journal of Law & the Humanities 17 (2005)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 147 of 189 Page ID #:147
                                                                            15

              Procedure as Contract, 80 Notre Dame Law Review 593 (2005)

              Judicial Selection and Democratic Theory: Demand, Supply, and Life Tenure,
                      26 Cardozo Law Review 579 (2005)

              Procedure’s Projects, 23 Civil Justice Quarterly 273 (2004)

              Migrating, Morphing, and Vanishing: The Empirical and Normative Puzzles of
                     Declining Trial Rates in Courts, 3 Journal of Empirical Legal Studies 783 (2004)

              Tribes, Wars, and the Federal Courts: Applying the Myths and the Methods of Marbury
                      v. Madison to Tribal Courts’ Criminal Jurisdiction, 36 Arizona State Law
                      Journal 77 (2004)

              The Independence of the Federal Judiciary, in Proceedings of the American Academy
                     of Arts and Sciences, 17 Bulletin 22 (2004)

              For Owen M. Fiss: Some Reflections on the Triumph and the Death of Adjudication,
                    58 University of Miami Law Review 173 (2003)

              A Continuous Body: Ongoing Conversations About Women and Legal Education,
                    53 Journal of Legal Education 564 (2003)

              Of Courts, Agencies, and the Court of Federal Claims: Fortunately Outliving One’s
                    Anomalous Character, 71 George Washington Law Review 798 (2003)

              Adding Insult to Injury: Questioning the Role of Dignity in Conceptions of Sovereignty
                     (with Julie Suk), 55 Stanford Law Review 1921 (2003)

              Constricting Remedies: The Rehnquist Judiciary, Congress, and Federal Power,
                     78 Indiana Law Journal 223 (2003)

              Reconstructing Equality: Of Justice, Justicia, and the Gender of Jurisdiction,
                    14 Yale Journal of Law and Feminism 393 (2002)

              Mediating Preferences: Litigant Preferences for Process and Judicial Preferences for
                     Settlement, 2002 University of Missouri-Columbia Journal of Dispute
                     Resolution 155 (2002)

              Teaching Billing: Metrics of Value in Law Firms and Law Schools (with Dennis E.
                     Curtis), 54 Stanford Law Review 1409 (2002)

              “Uncle Sam Modernizes His Justice”: Inventing the Federal District Courts of the
                     Twentieth Century for the District of Columbia and the Nation, 90 Georgetown
                     Law Journal 607 (2002)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 148 of 189 Page ID #:148
                                                                            16


              Remarks, Bicentennial Celebration for the Courts of the District of Columbia Circuit,
                    204 Federal Rules of Decision 499 (2002)

              Grieving Criminal Defense Lawyers (with Dennis E. Curtis), 70 Fordham Law Review
                     1615 (2002)

              Engendering Democracy through Understanding Federal Family Law, 11 The Good
                    Society (A PEGS Journal) 79 (2002)

              Tribute to Norman Dorsen, 58 Annual Survey of American Law 29 (2001)

              Categorical Federalism: Jurisdiction, Gender, and the Globe, 111 Yale Law
                    Journal 619 (2001)

              Procedure: Legal Aspects, 18 International Encyclopedia of the Social & Behavioral
                    Sciences (eds. Neil Smelser and Paul Baltes) 12136 (2001)

              The Modernity of Judging: Judicial Independence and the 20th Century United States
                    Federal Courts, presented at The 1701 Conference, Vancouver, British Columbia,
                    Canada, May 9-11, 2001, on the 300th anniversary of the 1701 Act of Settlement

              The Programmatic Judiciary: Lobbying, Judging, and Invalidating the Violence Against
                     Women Act, 74 Southern California Law Review 269 (2000)

              Money Matters: Judicial Market Interventions Creating Subsidies and Awarding Fees and
                    Costs in Individual and Aggregate Litigation, 148 University of Pennsylvania Law
                    Review 2119 (2000)

              Trial as Error, Jurisdiction as Injury: Transforming the Meaning of Article III,
                      113 Harvard Law Review 924 (2000)

              Judicial Independence and Article III: Too Little and Too Much, 72 Southern California
                      Law Review 657 (1999)

              Legal Services: Then and Now (with Emily Bazelon), 17 Yale Law & Policy Review 292
                     (1998)

              The Federal Courts and Congress: Additional Sources, Alternative Texts, and Altered
                    Aspirations, 86 Georgetown Law Journal 2589 (1998)

              “The Federal Courts”: Constituting and Changing the Topic, 32 University of Richmond
                    Law Review 603 (1998)

              On the Margin: Humanities and Law, 10 Yale Journal of Law and the




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 149 of 189 Page ID #:149
                                                                            17

                         Humanities 413 (1998)

              Contingency Fees in Mass Torts: Access, Risk and the Provision of Legal Services When
                     Layers of Lawyers Work for Individuals and Collectives of Clients (with Dennis
                     E. Curtis), 47 DePaul Law Review 425 (1998)

              Changing Practices, Changing Rules: Judicial and Congressional Rulemaking in Civil
                    Juries, Civil Justice, and Civil Judging, in a Symposium, Evaluation of the Civil
                    Justice Reform Act, 49 Alabama Law Review 133 (1997); also published in
                    Canadian Institute for the Administration of Justice, The Administration of Justice
                    in Commercial Disputes 149 (1997)

              Litigating and Settling Class Actions: The Prerequisites of Entry and Exit, 30 U.C. Davis
                      Law Review 835 (1997)

              Afterword: Federalism’s Options, Symposium Issue: Yale Law & Policy Review/Yale
                    Journal on Regulation 465 (1996)

              Changing the Topic, 7 The Australian Feminist Law Journal 95 (1996); also published in
                    8 Cardozo Studies in Law and Literature 339 (Fall/Winter 1996)

              Asking About Gender in Courts, 21 Signs: Journal of Women in Culture and Society 952
                    (Summer 1996)

              Individuals Within the Aggregate: Relationships, Representation, and Fees (with Dennis
                     E. Curtis and Deborah Hensler), 71 New York University Law Review 296 (1996)

              History, Jurisdiction, and the Federal Courts: Changing Contexts, Selective Memories,
                     and Limited Imagination, 98 West Virginia Law Review 171 (1995)

              Sentencing Women, 8 Federal Sentencing Reporter 134 (1995)

              Aggregation, Settlement, and Dismay, 80 Cornell Law Review 918 (1995)

              Procedural Innovations, Sloshing Over: A Comment on Deborah Hensler, A Glass Half
                    Full, a Glass Half Empty: The Use of Alternative Dispute Resolution in Mass
                    Personal Injury Litigation, 73 Texas Law Review 1627 (1995)

              Multiple Sovereignties: Indian Tribes, States, and the Federal Government, 79 Judicature
                     118 (1995)

              Many Doors? Closing Doors? Alternative Dispute Resolution and Adjudication,
                    10 Ohio State Journal on Dispute Resolution 211 (1995)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 150 of 189 Page ID #:150
                                                                            18

              Whose Judgment? Vacating Judgments, Preferences for Settlement, and the Role of
                    Adjudication at the Close of the Twentieth Century, 41 UCLA Law Review 1471
                    (1994); also published by RAND, Institute for Civil Justice (1995).

              National Courts: Imagining Alternatives to State and Federal Courts, Southern California
                     Law Review 2 (Spring 1995)

              Rereading “The Federal Courts:” Revising the Domain of Federal Courts Jurisprudence
                     at the End of the Twentieth Century, 47 Vanderbilt Law Review 1021 (1994)

              The Future of Civil Litigation: A Panel Discussion in Symposium, Reinventing Civil
                    Litigation: Evaluating Proposals for Change, 59 Brooklyn Law
                    Review 1199 (1994)

              Ambivalence: The Resiliency of Legal Culture in the United States, 45 Stanford Law
                    Review 1525 (1993)

              Gender Bias: From Classes to Courts, 45 Stanford Law Review 2195 (1993)

              Revising the Canon: Feminist Help in Teaching Procedure, Introduction to a Symposium,
                     61 University of Cincinnati Law Review 1181 (1993)

              Hearing Women, 65 Southern California Law Review 1333 (1992)

              “Naturally” Without Gender: Women, Jurisdiction, and the Federal Courts, 66 New York
                     University Law Review 1682 (1991)

              Visible on Women’s Issues, 77 Iowa Law Review 41 (1991)

              From “Cases” to “Litigation,” 54 Law and Contemporary Problems 5 (1991);
                    also published by RAND, Institute for Civil Justice (1991)

              Housekeeping: The Nature and Allocation of Work in the Federal Trial Courts,
                    24 Georgia Law Review 909 (1990)

              In the Eye of the Beholder: Tort Litigants’ Evaluations of their Experiences in the Civil
                      Justice System (with E. Allan Lind, Robert J. MacCoun, Patricia Ebener, William
                      L.F. Felstiner, Deborah R. Hensler, and Tom R. Tyler), 24 Law & Society Review
                      953 (1990); related monograph, The Perception of Justice; also published by
                      RAND, Institute for Civil Justice (1989)

              Feminism and the Language of Judging, 22 Arizona State Law Journal 31 (1990)

              Changing Criteria for Judging Judges, 84 Northwestern University Law
                    Review 889 (1990)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 151 of 189 Page ID #:151
                                                                            19


              Convergences: Law, Literature, and Feminism (with Carolyn Heilbrun), 99 Yale Law
                    Journal 1913 (1990)

              Constructing the Canon, 2 Yale Journal of Law and the Humanities 221 (Winter 1990)

              Dependent Sovereigns: Indian Tribes, States, and the Federal Courts, 56 University of
                    Chicago Law Review 671 (1989)

              Complex Feminist Conversations, University of Chicago Legal Forum 1 (1989)

              The Domain of Courts, 137 University of Pennsylvania Law Review 2219 (1989)

              On the Bias: Feminist Reconsiderations of the Aspirations for Our Judges, 61 Southern
                     California Law Review 1877 (1988)

              The Limits of Parity in Prison, 13 Journal of the National Prison Project 26 (1987)

              Due Process: A Public Dimension, in Conference on Procedural Due Process: Liberty
                    and Justice, 39 University of Florida Law Review 405 (1987)

              Judging Consent, University of Chicago Legal Forum 43 (1987)

              Images of Justice (with Dennis E. Curtis), 96 Yale Law Journal 1727 (1987)

              Failing Faith: Adjudicatory Procedure in Decline, 53 University of Chicago Law Review
                      494 (1986); also published by RAND, Institute for Civil Justice (1986)

              The Declining Faith in the Adversary System, 13 Litigation 3 (1986)

              The Mythic Meaning of Article III Courts, 56 University of Colorado Law
                    Review 581 (1985)

              Precluding Appeals, 70 Cornell Law Review 603 (1985)

              Managerial Judges: The Potential Costs, in Symposium, Law and Public Affairs,
                   45 Public Administration Review 686 (Special Issue, November 1985)

              Tiers, 57 Southern California Law Review 837 (1984)

              Commentaries on Prisoner Litigation, 9 Justice System Journal 347 (Winter 1984)

              The Assumptions Remain, 23 Judges’ Journal 37 (Fall 1984)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 152 of 189 Page ID #:152
                                                                            20

              Managerial Judges and Court Delay: The Unproven Assumptions, 23 Judges’ Journal 8
                   (Winter 1984)

              Book Review of The Brandeis/Frankfurter Connection, 71 California Law
                    Review 776 (1983)

              Managerial Judges, 96 Harvard Law Review 374 (1982); also published by RAND,
                   Institute for Civil Justice (1982)

              Patients’ Rights: Disclosure, Consent, and Capacity (with Nikki Heidepriem), 1973/1974
                      Annual Survey of American Law 87

   Selected Commentary in Newspapers, Magazines, and Journals
          Protecting Prisoners in Pandemics Is a Constitutional Must, Bloomberg.com, March 30,
                  2020, https://news.bloomberglaw.com/health-law-and-business/insight-
                  protecting-prisoners-in-pandemics-is-a-constitutional-must

              Degrading strip search of 200 women prisoners cries out for courts to act, CNN.com,
                    October 3, 2019, https://www.cnn.com/2019/10/03/opinions/women-prisoners-
                    have-rights-resnik/index.html

              This Question Changed the Face of the Supreme Court, CNN.com, September 25, 2018;
                    http://www.cnn.com/2018/09/25/opinions/anita-hill-patsy-mink-changed-how-
                    we-see-kavanaugh-judith-resnik/index.html

              The Supreme Court’s Arbitration Ruling Undercuts the Court System, HuffPost, May 25,
                    2018; https://www.huffingtonpost.com/entry/opinion-resnik-forced-
                    arbitration_us_5b08395ae4b0802d69caeb47?1s

              To Help #MeToo Stick, End Mandatory Arbitration, HuffPost, January 23, 2018;
                    https://www.huffingtonpost.com/entry/opinion-resnik-mandatory-
                    arbitration_us_5a65fc39e4b0e5630071c15d?g9r

              Arbitration Cuts the Public Out and Limits Redress, National Law Journal,
                     August 22, 2016; http://www.nationallawjournal.com/id=1202765654457/
                     Arbitration-Cuts-the-Public-Out-and-Limits-Redress?slreturn=20160914112502

              With One Decision, Obama and Lynch Could Reshape the Criminal Justice System (with
                    Robert Ferguson and Margo Schlanger), The Washington Post online, August 3,
                    2015; https://www.washingtonpost.com/posteverything/wp/2015/08/03/with-one-
                    decision-obama-could-totally-reform-the-criminal-justice-system/

              No Fast Track for Unfair Trade Deals (with Amy Kapczynski), HuffPost Politics, June
                    11, 2015; http://www.huffingtonpost.com/amy-kapczynski/tpp-isds-no-fast-track-
                    for-unfair-trade-deals_b_7562084.html?1434041001




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 153 of 189 Page ID #:153
                                                                            21


              Can Less Confidentiality Mean More Fairness in Campus Sexual Assault Cases? (with
                    Alexandra Brodsky and Claire Simonich), The Nation, February 23, 2015;
                    http://www.thenation.com/article/198713/can-less-confidentiality-mean-more-
                    fairness-campus-sexual-assault-investigations

              Renting Judges for Secret Rulings, The New York Times, February 28, 2014;
                     http://www.nytimes.com/2014/03/01/opinion/renting-judges-for-secret-
                     rulings.html?ref=todayspaper

              The Return of the Terrible Plan to Ship Female Inmates from the Northeast to Alabama,
                    Slate, October 4, 2013;
                    http://www.slate.com/blogs/xx_factor/2013/10/04/female_inmates_in_federal_pri
                    son_must_give_up_their_beds_to_men_and_move.html

              Keep Female Prisoners Close to Family (with Nancy Gertner), The Boston Globe,
                    September 3, 2013; http://www.bostonglobe.com/opinion/2013/09/03/keep-
                    female-prisoners-close-family/eQf4dCawmOGmQ41Ap53GxL/story.html

              Harder Time: Why are the federal prison beds for women in the Northeast going to
                     men—while the women get shipped to Alabama?, Slate, July 25, 2013;
                     http://www.slate.com/articles/news_and_politics/jurisprudence/2013/07/women_i
                     n_federal_prison_are_being_shipped_from_danbury_to_aliceville.html

              How “Robust” is Appellate Review of Courts-Martial? (with Eugene R. Fidell, Elizabeth
                    L. Hillman, Dwight H. Sullivan, Stephen A. Saltzburg and Kate Stith) (2013),
                    Balkinization; http://balkin.blogspot.com/2013/05/how-robust-is-appellate-
                    review-of.html

              Abolish the Death Penalty and Supermax, Too: Updating the Ban Against Cruel and
                     Unusual Punishment (with Jonathan Curtis-Resnik), Slate, June 18, 2012;
                     http://www.slate.com/authors.judith_resnik_and_jonathan_curtisresnik.html

              War, Terror, and the Federal Courts, Ten Years After 9/11 – Conference (a discussion
                    with Judge Brett Kavanaugh, Martin Lederman, Sarah Cleveland, Curt Bradley,
                    and Stephen Vladeck), from the 2012 Annual Meeting of the Association of
                    American Law Schools, 61 American University Law Review 1253 (2012)

              A Collective Collage: Women, the Structure of American Legal Education, and
                     Histories Yet to be Written (with Dennis E. Curtis), 80 University of Missouri
                     Kansas City Law Review 737 (2012)

              The Changing Face of Justice: The Visual Vocabulary of Courts is a Transnational
                    Symbol of Government (with Dennis E. Curtis), The Guardian, March 24, 2011;
                    http://www.guardian.co.uk/law/2011/mar/24/changing-face-justice-judith-resnik




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 154 of 189 Page ID #:154
                                                                            22


              Designing Justice (with Dennis E. Curtis), Los Angeles Daily Journal, January 21, 2011.
                     What Does Justice Look Like? (with Dennis E. Curtis), Slate, January 21, 2011;
                     http://www.slate.com/id/2281277/

              From Fool’s Blindfold to the Veil of Ignorance (with Dennis E. Curtis), Yale Law Report
                    (Winter 2011)

              Object Lesson: On and Off Her Pedestal (with Dennis E. Curtis), Yale Alumni Magazine
                     (November/December 2010)

              Citizenship for the 21st Century: A Conversation with Seyla Benhabib and Judith Resnik,
                     38 Women Studies Quarterly 271 (Spring/Summer 2010)

              Drafting, Lobbying, and Litigating VAWA: National, Local, and Transnational
                     Interventions on Behalf of Women’s Equality, 11 Georgetown Journal of Gender
                     and the Law 557 (2010)

              Open the Door and Turn on the Lights, Slate, May 21, 2010;
                     http://www.slate.com/id/2253500/

              Judicial Independence, Panel Discussion, Sandra Day O’Connor, Linda Greenhouse,
                      Judith Resnik, Bert Brandenburg, and Viet D. Dinh, Bulletin of the American
                      Academy 29 – 56 (Winter 2009)

              There’s a New Lawyer in Town (with Emily Bazelon), Slate, February 9, 2009;
                     http://www.slate.com/id/2210637/

              Revival of Justice, Slate, January 6, 2009; http://www.slate.com/id/2208017/

              Translocal Transnationalism: Foreign and Domestic Affairs, 102 American Society of
                     International Law Proceedings 214 (2008)

              Sitting on Great Judges (with Emily Bazelon), Slate, December 19, 2008;
                      http://www.slate.com/id/2207071/

              The Return of Regency (with Allison Tait), The XX Factor, September 11, 2008, guest
                    post; http://www.slate.com/blogs/blogs/xxfactor/archive/2008/09/11/the-return-
                    of-regency.aspx

              Courts and Democracy: The Production and Reproduction of Constitutional Conflict in
                     The Courts and Social Policy in the United States (Oxford: Foundation for Law,
                     Justice and Society, 2008);
                     http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1148202




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 155 of 189 Page ID #:155
                                                                            23

              Moving American Mores: From Women’s Education to Torture, 36 Women Studies
                    Quarterly 339 (Spring/Summer 2008)

              When the Justice Department Played Defense, Slate, October 27, 2006;
                    http://www.slate.com/id/2152211/

              Borders, Law, and Doors – Opening, Bryn Maw College Convocation, May 2006

              Opening the Door: Court Stripping: Unconscionable and Unconstitutional?
                     Slate, February 1, 2006;
                    http://www.slate.com/articles/news_and_politics/jurisprudence/2006/02/opening_
                    the_door.html

              So Long: Changing the Judicial Pension System Could Keep Judges from Staying on the
                    Bench for Too Many Years, July/August Legal Affairs 20 (2005)

              One Robe, Two Hats (with Theodore Ruger), New York Times, Op-Ed, Section 4 at 13,
                    July 17, 2005

              Looking Back, Looking Forward: One Hundred Years, Concluding Remarks in Women
                    Faculty Forum, Gender Matters: Women and Yale in its Third Century (2004)

              The Courts, the Legislature, and the Executive: Separate and Equal? Issues at the
                    Federal Level, 87 Judicature 220 (2004)

              Judicial Selection, Independent Jurists, and Life-Tenure (2004);
                      http://www.jurist.org/forum/symposium-jc/resnik.php

              At Home and Work, Still a Man’s World, Commentary (with Emily Bazelon), Los
                    Angeles Times, January 2, 2004

              Engendering Equality: A View from the United States, 35 The European Lawyer 21,
                    (February 2004)

              Supermajority Rule, New York Times, Op-Ed, Section A at 31, June 11, 2003

   Testimony
         Statement submitted for the record, Women in Prison: Seeking Justice Behind Bars,
                before the U.S. Commission on Civil Rights, March 22, 2019,
                U.S. Commission on Civil Rights, Women in Prison: Seeking Justice Behind Bars
                (February 2020), available at https://www.usccr.gov/pubs/2020/02-26-Women-in-
                Prison.pdf

              Comments submitted on Proposed Changes to Code of Conduct for U.S. Judges and
                   Judicial Conduct and Disability Rules (with Abbe R. Gluck), submitted to the




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 156 of 189 Page ID #:156
                                                                            24

                         Judicial Conference committees on Codes of Conduct and Judicial Conduct and
                         Disability, November 13, 2018

              Comments submitted for the Telephonic Hearing on Proposed Amendments to the
                   Federal Rules of Civil Procedure before the Advisory Committee on Civil Rule of
                   the Judicial Conference of the United States, February 16, 2017

              Statement submitted for the record, Women in Detention: The Need for National Reform,
                     Charles Colson Task Force on Federal Corrections Public Hearing, Washington,
                     D.C., March 11, 2015

              Statement submitted for the record, Women in Detention: The Need for a National
                     Agenda, Hearing before the Senate Judiciary Subcommittee on the Constitution,
                     Civil Rights, and Human Rights, December 9, 2014

              The Policies Governing Isolation in U.S. Prisons, Statement submitted for the Hearing
                    before the Senate Judiciary Subcommittee on the Constitution, Civil Rights and
                    Human Rights, Reassessing Solitary Confinement II: The Human Rights, Fiscal
                    and Public Safety Consequences, February 25, 2014;
                    http://www.law.yale.edu/documents/pdf/Liman/Liman_Senate_Statement_Reasse
                    ssing_Solitary_Confinement--_Resnik_Metcalf_--_final_Feb_28_2014.pdf

              Statement submitted for the record, Oversight of the Bureau of Prisons and Cost-
                     Effective Strategies for Reducing Recidivism, Hearing before the Senate Judiciary
                     Committee, U.S. Senate, November 13, 2013;
                     http://www.law.yale.edu/documents/pdf/Liman/Senate_Judiciary_Committee_BO
                     P_Oversight_Hearing_Liman_Statement_for_the_Record_

              Statement submitted for the record, Reassessing Solitary Confinement: The Human
                     Rights, Fiscal, and Public Safety Consequences, Hearing before the Senate
                     Judiciary Subcommittee on the Constitution, Civil Rights, and Human Rights,
                     U.S. Senate, June 19, 2012

              Courtroom Use: Access to Justice, Effective Judicial Administration and Courtroom
                     Security, Hearing before the Subcommittee on Courts and Competition Policy of
                     the United States Committee on the Judiciary, U.S. House of Representatives,
                     September 24, 2010

              Statement submitted for the record, Recommendations on Courthouse Construction,
                     Courtroom Sharing and Enforcing Congressionally Authorized Limits on Size and
                     Cost, Hearing before the Subcommittee on Economic Development, Public
                     Buildings and Emergency Management Committee on Transportation and
                     Infrastructure, U.S. House of Representatives, May 21, 2010




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 157 of 189 Page ID #:157
                                                                            25

              Statement submitted for the record, Sunshine in Litigation Act: Does Court Secrecy
                     Undermine Public Health and Safety, Hearing before the Subcommittee on
                     Antitrust, Competition Policy and Consumer Rights of the Committee on the
                     Judiciary, 110th Cong. 181, December 11, 2007

              Hearings on the Judicial Nomination of John G. Roberts, Jr., to be Chief Justice of the
                     United States, held by the Committee on the Judiciary of the United States Senate,
                     Washington, D.C., September 15, 2005

              Hearings on the Judicial Selection before the Standing Committee on Justice, Human
                     Rights, Public Safety and Emergency Preparedness, held by the House of
                     Commons, Ottawa, Canada, April 20, 2004

              Hearings on the Proposed Amendments to Federal Rule of Civil Procedure 23, held by
                     the Committee on Rules of Practice and Procedure, Judicial Conference of the
                     United States, January 2002

              Hearings on the Senate's Role in the Nomination and Confirmation Process: Whose
                     Burden?, held by the Senate Committee on the Judiciary, Subcommittee on
                     Administrative Oversight and the Courts, 107th Cong. , September 4, 2001, also
                     published in 50 Drake Law Review 539 (2001-02)

              Hearings on the Proposed Amendment to Federal Rule of Civil Procedure 23, held by the
                     Committee on the Rules of Practice and Procedure, Advisory Committee to the
                     Standing Committee on the Rules of Practice and Procedure of the United States
                     Judicial Conference, November 1996

              Hearings on the Proposed Long Range Plan of the Judicial Conference of the United
                     States, held by the Committee on Long Range Planning, December 16, 1994

              Hearings on the Proposed Changes in the Federal Rules of Civil Procedure, held by the
                     Standing Committee on Rules of Practice and Procedure of the United States
                     Judicial Conference, November 1991

              Hearings on the Tentative Report of the Federal Courts Study Committee, held by
                     members of the Committee, San Diego, California, January 29, 1990

              Hearings on the Proposed Amendments to Rule 63 of the Federal Rules of Civil
                     Procedure, held by the Advisory Committee to the Standing Committee on the
                     Rules of Practice and Procedure of the United States Judicial Conference,
                     January 1990

              Hearings on the Confirmation of Robert H. Bork to be an Associate Justice of the United
                     States Supreme Court, held by the Committee on the Judiciary, United States
                     Senate, September 25, 1987




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 158 of 189 Page ID #:158
                                                                            26


              Hearings on Proposed Amendments to Rule 52(a) of the Federal Rules of Civil
                     Procedure, held by the Subcommittee on Criminal Justice of the Judiciary
                     Committee of the U.S. House of Representatives, June 26, 1985

              Hearings on Proposed Amendments to Rule 68 of the Federal Rules of Civil Procedure,
                     held by the Advisory Committee to the Standing Committee on the Rules of
                     Practice and Procedure of the United States Judicial Conference, 1985

              Hearings on Proposals to Amend the Rules Governing Section 2254 Cases in the United
                     States District Courts, and Rules Governing Section 2255 Proceedings in the
                     United States District Courts, held by the Advisory Committee to the Standing
                     Committee on the Rules of Practice and Procedure of the United States Judicial
                     Conference, 1984

              Female Offender: 1979-80, Part 1: Hearings before the Subcommittee on Courts, Civil
                    Liberties, and Administration of Justice of the House Committee. on Judiciary,
                    96th Cong. 59, October 11, 1979

              Drug Abuse Treatment: Part 2: Hearings before the Select Committee on Narcotics
                    Abuse and Control, House of Representatives, 96th Cong., July 25, 1978


   Honors and Awards
         Andrew Carnegie Fellowship, 2018-2020

              Honorary Doctorate of Laws, University College London, 2018

              Visiting Scholar, Max Planck Institute for Procedural Law, Luxembourg, February 2018

              Establishment of the Resnik-Curtis Fellowship in Public Interest Law on the 20th
                      anniversary of the Liman Program at Yale, 2017

              Visiting Scholar, Phi Beta Kappa, 2014-2016

              Recipient, Arabella Babb Mansfield Award, National Association of Women Lawyers,
                     July 2013

              Representing Justice: Invention, Controversy, and Rights in City-States and Democratic
                     Courtrooms (with Dennis E. Curtis)
                     Selected as one of the “Best legal reads of 2011” by The Guardian
                     Recipient, SCRIBES Award from the American Society of Legal Writers, 2012
                     Recipient, PROSE Award, Excellence in Social Sciences, 2012
                     PROSE Award, Excellence in Law & Legal Studies, 2012




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 159 of 189 Page ID #:159
                                                                            27

                         Selected as an Outstanding Academic Title of the Year by Choice Magazine,
                            January 2012
                         Recipient, The Order of the Coif Biennial Book Award, January 2014

              New York University Alumna of the Month Award, June 2012,
                   http://www.law.nyu.edu/alumni/almo/pastalmos/2011-12almos/judithresnikjune

              Elizabeth Hurlock Beckman Award, Awarded to Outstanding Faculty in Higher
                     Education in the Fields of Psychology or Law, Columbia University, March 2011

              Migrations and Mobilities: Citizenship, Borders, and Gender, Selected as an Outstanding
                     Academic Title of the Year by Choice Magazine, January 2011

              Outstanding Scholar of the Year Award 2008, from the Fellows of the American Bar
                     Foundation

              Oral History, 2007, Women Trailblazers in the Law Project, American Bar Association
                     Commission on Women in the Profession, deposited in the Library of
                     Congress, 2009

              Convocation Speaker, Bryn Mawr College Commencement, May 2006

              Member, American Philosophical Society, elected Spring 2002

              Fellow, American Academy of Arts and Sciences, elected Spring 2001

              Recipient, Margaret Brent Women Lawyers of Achievement Award, American Bar
                     Association Commission on Women in the Profession, August 1998

              Recipient, NYU School of Law, Legal Teaching Award, Spring 1995

              Recipient, USC Associates Award for Creativity in Research, Spring 1994

              Recipient, Florence K. Murray Award, National Association of Women Judges, Fall 1993

              Recipient, “Big Splash Award” from the Program of Women and Men in Society
                     (SWMS), University of Southern California, 1992

              Member, Phi Kappa Phi, elected by the USC Chapter, 1991

              University Scholar, University of Southern California, 1982-1983

              Recipient, Student Bar Association Outstanding Faculty Award, University of Southern
                     California Law Center, 1982-1983




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 160 of 189 Page ID #:160
                                                                            28

              Arthur Garfield Hays Fellow, 1974-1975, New York University

   Education
         Bryn Mawr College, B.A., cum laude, 1972
         New York University School of Law, J.D., cum laude, 1975

   Bar Memberships
       Connecticut
         United States District Courts: District of Connecticut, Southern District of New York,
                Eastern District of New York
         United States Court of Appeals for the First, Second, Third, Fourth, Ninth and
                Eleventh Circuits
         United States Supreme Court

  Selected Litigation
        United States Supreme Court
          Of counsel on Brief of Amici Curiae, Law Professors in Support of Petitioners (No. 18-
                 622), on Petition for a Writ of Certiorari to the United States Court of Appeals for
                 the Fifth Circuit, Whole Woman’s Health, et. al. v. Texas Catholic Conference of
                 Bishops (2018) (on the question of standing)

              Of counsel on Brief of Amici Curiae, Former Judges, Former Prosecutors, Former
                    Government Officials, Law Professors, and Social Scientists in Support of
                    Respondents (No. 17-312), United States of America v. Sanchez-Gomez 138
                    S.Ct. 1532 (2018) (on the use of shackles for defendants in federal court)

              Of counsel on Brief of Amici Curiae, Professors of Federal Courts Jurisprudence,
                    Constitutional Law, and Immigration Law in Support of Respondents (Nos. 16-
                    1436 and 16-1540), Donald J. Trump, et al. v. International Refugee Assistance
                    Project, et al, Donald J. Trump, et al. v. State of Hawaii, et al. (2017), 138 S.Ct.
                    2392 (2018) (on travel bans)

              Of counsel on Brief of Amici Curiae, Constitutional Law, Federal Courts, Citizenship,
                    and Remedies Scholars in Support of Respondent Luis Ramon Morales-Santana
                    (No. 15-1191), Lynch v. Morales-Santana, 136 S.Ct. 2545 (2016) (on citizenship
                    and gender)

              Oral Argument and brief presented on behalf of the Respondent Norman Carpenter in
                     Mohawk Industries, Inc. v. Carpenter (No. 08-678, 2009 WL 3169419)
                     (argued October 5), 558 U.S. 100 (2009) (on appealability)

              Of counsel on Brief of Law Professors as Amici Curiae, in Support of Respondent
                    Jacob Denedo (No. 08-267, 2009 WL 418793), United States v. Denedo,
                    556 U.S. 904 (2009) (on jurisdiction)




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 161 of 189 Page ID #:161
                                                                            29

              Of counsel on Brief of Amici Curiae Professors of Constitutional Law and of Federal
                    Jurisdiction, in Support of Petitioner Keith Haywood (No. 07-10374), Haywood
                    v. Drown, 556 U.S. 729 (2009) (on state law and Section 1983)

              Of counsel on Brief of Amici Curiae Professors of Constitutional Law and of the
                    Federal Courts, in Support of the Habeas Petitioners Omar and Munaf (Nos. 07-
                    394, 06-1666), Munaf v. Geren, 553 U.S. 674 (2008) (on the scope of habeas
                    corpus)

              Of counsel on Brief of Professors of Constitutional Law and of the Federal
                     Jurisdiction as Amici Curiae, in Support of Petitioners Boumediene et al. (Nos.
                     06-394, 06-1196), Boumediene v. Bush, 553 U.S. 723 (2008) (on the scope of
                     habeas corpus)

              Brief of Amici Curiae Norman Dorsen, Frank Michelman, Burt Neuborne, Judith Resnik,
                      and David Shapiro, in Support of Petitioner Salim Ahmed Hamdan (No. 05-184),
                      Hamdan v. Rumsfeld, 548 U.S. 557 (2006) (on due process)

              Brief of Amici Curiae of Law Professors in Support of Petitioner Paula Jones (No. 95-
                      1853, 1996 WL48092), Clinton v. Jones, 520 U.S. 681 (1997) (on immunity)

              Oral Argument presented on behalf of the Rotary Club of Duarte:
                     Board of Directors of Rotary International v. Rotary Club of Duarte,
                     481 U.S. 537 (1987) (on California public accommodations law and
                     associational rights under the First Amendment)

           United States Courts of Appeals
            Brief of Amici Curiae, Scholars of the Law of Prisons, the Constitution, and the Federal
                  Courts in Support of the Appellants (No. 16-4234), Delores Henry, et al., v. Melody
                  Hulett, et al. (7th Cir, rehearing en banc pending, 2020) (on constitutional rights in
                  prison)

              Brief of Amici Curiae of Constitutional Law and Procedure Scholars Judith Resnik and
                      Brian Soucek in Support of Petitioner (No. 16-73801), submitted for the hearing
                      en banc, C.J.L.G. v. Jefferson B. Sessions III (9th Cir., , 880 F.3d 1122 (2019) (on
                      due process, right to counsel, and immigrant children)

              Of counsel on Brief of Amici Curiae, Professors of Federal Courts Jurisprudence,
                    Constitutional Law, and Immigration Law in Support of Plaintiffs-Appellees, (No.
                    17-17168), Ninth Circuit, State of Hawaii, et al., v. Donald Trump (2017) (on
                    travel bans)

              Of counsel on Brief of Amici Curiae, Professors of Federal Courts Jurisprudence,
                    Constitutional Law, and Immigration Law in Support of Plaintiffs-Appellees, (No.




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 162 of 189 Page ID #:162
                                                                            30

                         17-2231 (L), 17-2232, 17-2233, 17-2240 (Consolidated)), Fourth Circuit,
                         International Refugee Assistance Project, et al., Iranian Alliances Across Borders,
                         et al., Eblal Zakzok, et al., v. Donald Trump (2017) (on travel bans)

              Of counsel on Brief of Amici Curiae, Constitutional Law Professors in Support of
                    Appellees and Affirmance (No. 17-1351), International Refugee Assistance
                    Project et al. v. Donald J. Trump, et. al. (4th Cir. 2017) (on travel bans)

              Appellate Counsel
                     In re San Juan Dupont Plaza Hotel Fire Litigation, 111 F.3d 220 (1st Cir. 1997)
                     (on awards of fees and costs in a mass tort multi-district litigation)

                         In re Thirteen Appeals Arising Out of San Juan Dupont Plaza Hotel
                         Fire Litigation, 56 F.3d 295 (1st Cir.1995)

                         In re Nineteen Appeals Arising Out of San Juan Dupont Plaza Hotel
                         Fire Litigation, 982 F.2d 603 (1st Cir. 1992)

              United States District Court
              Declaration Regarding Provisional Remedies for Detained Individuals, Money v. Jeffries
                     (N.D. Ill., Eastern Division, No. 20 cv 2-14, filed April 8, 2020

              Of Counsel on Motion for Leave to File Declaration of Correctional Expert Rick
                    Raemisch as Amicus Curiae, Savino et al. v. Hodgson et al. (D. Mass., No. 1:20-
                    cv-10617-WGY, granted March 31, 2020) (to provide the court and parties with
                    expert information)

              Of Counsel on Unopposed Motion for Leave to File Amicus Curiae Statement of
                    Correctional Expert Rick Raemisch, Coleman v. Newson (E.D. Cal, No. 2:90-CV-
                    00520-KJM-DB 2020), Plata v. Newsom (No. C01-1351 JST, N.D. Cal., granted
                    April 2, 2020) (to provide the court and parties with expert information)

              Court-appointed trustee in re: MDL-926 Global Breast Implant Settlement, 173
                     F.Supp.2d 1381 (Judicial Panel on Multidistrict Litigation, N.D. Alabama, N.D.
                     Texas, 1994) (overseeing the court-created “common benefit fund”)

              Expert appointed by the district court to assist the Special Master in McLendon v.
                     Continental Group, Inc., 802 F.Supp. 1216 (D.N.J. 1992) (assisting the court in
                     relationship to a settlement in an ERISA class action)

   Exhibits, Co-Curator
         The Remarkable Run of a Political Icon: Justice as a Sign of the Law. Rare Book
                 Exhibition Gallery, Lillian Goldman Law Library, Yale Law School, September–
                 December 2011 (with Dennis E. Curtis, Allison Tait & Michael Widener);
                 http://library.law.yale.edu/justice-sign-law-exhibit




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 163 of 189 Page ID #:163
                                                                            31


              Courts: Representing and Contesting Ideologies of the Public Sphere. Yale Art Gallery,
                     Study Galleries, January – May 2011 (with Dennis E. Curtis)

   Selected Media
          Interview, Women, Judging, Equality, and Constitutional Law, RAI Storia (Italian
                  television) – La Corte Costituzionale e le Donne, Pt. 6, January 2020,
                  https://vimeo.com/377835690

              Interview, WNPR – Connecticut Public Radio’s Where We Live, presented by John
                      Dankosky, August 5, 2013; http://wnpr.org/post/connecticuts-criminal-justice-
                      system

              Interview, BBC Radio 4’s Law in Action, presented by Joshua Rozenberg, March 12,
                      2013; http://www.bbc.co.uk/programmes/b01r5ln5

              Cameo in Fair Game, directed by Doug Liman, Fall 2010, and
                    panel moderator, discussion of the film with Valerie Plame, Joseph Wilson, Emily
                    Bazelon and Doug Liman, Paris Theatre, New York City, October 5, 2010




   Resnik, Judith resume tevised 2 April 24, 2020
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 164 of 189 Page ID #:164




                   EXHIBIT 10
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 165 of 189 Page ID #:165




     1                            DECLARATION OF JIMMY THREATT
     2               I, Jimmy Threatt, declare as follows:
     3               1.    I am an active member of the Bar of the State of California and an
     4 associate with Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow,
     5 a professional corporation, attorneys of record for Petitioners in this action. Except
     6 for those matters stated on information and belief, I make this declaration based
     7 upon personal knowledge and, if called upon to do so, I could and would so testify.
     8               2.    I have attempted to arrange legal calls with eight prisoners incarcerated
     9 at FCI Lompoc and USP Lompoc who had been identified to my firm by their
    10 family members and friends as seeking our representation in this action. I have not
    11 spoken with any of them. Although several calls were initially scheduled, they were
    12 each abruptly cancelled by the Bureau of Prisons (“BOP”). As of now, there are no
    13 legal calls scheduled with any of the eight prisoners. Attached as Exhibit A is
    14 a compilation of true and correct copies of my email correspondence with BOP
    15 employees.
    16               3.    On May 12, 2020, I called the main desks of FCI Lompoc and USP
    17 Lompoc to schedule legal calls with prisoners. No one answered and I was not
    18 granted opportunities to leave voice messages.
    19               4.    On May 12, 2020, I emailed the publicly listed address for FCI
    20 Lompoc and USP Lompoc to schedule legal calls with the following four prisoners:
    21 (1) Lonnie Ben, No. 69141-051; (2) Yonnedil Carror Torres, No. 41928-69;
    22 (3) Andre Brown, No. 54460-097; and (4) Kanagasabai Kanakeswaran, No.
    23 75139-112. That same day I received responses asking about the urgency of each
    24 call. I immediately responded that each call was urgent, I would abide by any time
    25 limits, and I could make myself available at any time for the calls in question.
    26               5.    The next day, May 13, I received email responses indicating that due to
    27 “lack of information regarding the urgency” of my request to speak with each
    28 prisoner, the matters were being referred to the BOP Legal Department.
         3649734.2
                                          DECLARATION OF JIMMY THREATT
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 166 of 189 Page ID #:166




     1 I immediately responded to indicate that, while I would not divulge privileged
     2 information, the calls concerned release options in light of the COVID-19 crisis.
     3 That same day, I also submitted requests for legal calls with prisoners (1) Vincent
     4 Reed, No. 27173-016, and (2) Vazgen Terpogosyan, No. 77271-112.
     5               6.    Later on May 13, I received a call from Jennifer Merkle, an attorney
     6 with the BOP Legal Department, informing me that a call had been approved with
     7 Lonnie Ben.
     8               7.    At 12:18 A.M. on May 14, I emailed the address for Lompoc to request
     9 a legal call with Felix Samuel Garcia, No 46693-298. I have not received
    10 a response.
    11               8.    At 12:21 A.M. on May 14, I emailed the address for Lompoc to request
    12 a legal call with Shawn Fears, No 34183-060. I have not received a response.
    13               9.    Later on May 14, I received email responses indicating that requests for
    14 calls with the following prisoners had been approved: (1) Lonnie Ben, (2) Yonnedil
    15 Carror Torres, (3) Andre Brown, (4) Kanagasabai Kanakeswaran, (5) Vincent Reed,
    16 and (6) Vazgen Terpogosyan. I have not heard anything regarding prisoners Brown
    17 or Reed since.
    18               10.   Shortly thereafter, I received an additional email scheduling a legal call
    19 with Yonnedil Carror Torres for 9:00 A.M. on May 19. As to my other outstanding
    20 requests for legal calls, the officer could not “tell me when they [the prisoners] will
    21 be afforded the legal call.” Later that afternoon, the officer cancelled the call with
    22 Torres that had been scheduled just hours earlier: “Per our legal department, I am
    23 going to cancel the scheduled legal call [with] the above client [Torres].”
    24               11.   Also on May 14, an officer called to schedule my call with prisoner
    25 Lonnie Ben for 1:00 P.M. later that same day. When I called FCI Lompoc at
    26 1:00 P.M., I was told that the call had been cancelled and that it would be
    27 rescheduled but was not given any other details.
    28               12.   I received another call on May 14 scheduling calls for the following
         3649734.2
                                                        2
                                         DECLARATION OF JIMMY THREATT
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 167 of 189 Page ID #:167




     1 morning, May 15, with prisoners (1) Kanagasabai Kanakeswaran and (2) Vazgen
     2 Terpogosyan. But shortly later, the same officer called to cancel both because
     3 “something came up.”
     4               13.   At 1:04 P.M. on May 14, I received an email from Jennifer Merkle, an
     5 attorney with BOP, informing me that she had been referred thirteen of my requests
     6 to speak with prisoners, which would include all of my requests to speak with
     7 prisoners at FCI Lompoc, USP Lompoc, and FCI Terminal Island. She stated she
     8 would need to assess every request individually and would be in touch as to each
     9 separately.
    10               14.   As I was finalizing this declaration on May 15, I received a second
    11 email from Ms. Merkle, asking me to call her so that she and I could “identify [my]
    12 specific needs.”
    13               I declare under penalty of perjury under the laws of the United States of
    14 America that the foregoing is true and correct, and that I executed this declaration
    15 on May 15, 2020, at Los Angeles, California.
    16
    17
                                                         Jimmy Threatt
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
         3649734.2
                                                        3
                                          DECLARATION OF JIMMY THREATT
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 168 of 189 Page ID #:168




                         EXHIBIT A
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 169 of 189 Page ID #:169

Karen M. Minutelli




From:                                      Jimmy Threatt
Sent:                                      Tuesday, May 12, 2020 12:16 PM
To:                                        LOX/ExecAssistant@bop.gov
Cc:                                        Christopher J. Lee; Naeun Rim
Subject:                                   Legal Call with Inmate at FCI Lompoc

Importance:                                High



My firm is counsel for Lonnie Ben (Inmate No. 69141-051). We are trying to schedule a call to discuss an
urgent legal matter with him. We called the facility this morning, but no one is answering the phone.

We would appreciate any assistance you can provide. You can reach me at this email address or on my cell
phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here): Christopher Lee at
617-631-2122 and Naeun Rim at 678-492-6707.

Thank you.


Jimmy Threatt
Associate
T: 310.201.2100
F: 310.201.2110
E: jthreatt@birdmarella.com
Bird, Marella, Boxer, Wolpert, Nessim,
Drooks, Lincenberg & Rhow, P.C.
1875 Century Park East, 23rd Floor
Los Angeles, California 90067‐2561
www.BirdMarella.com




                                                                   1
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 170 of 189 Page ID #:170

Karen M. Minutelli




From:                                      Jimmy Threatt
Sent:                                      Thursday, May 14, 2020 12:19 AM
To:                                        LOX/ExecAssistant@bop.gov
Cc:                                        Christopher J. Lee; Naeun Rim
Subject:                                   Legal Call with Inmate at USP Lompoc



I am writing to schedule a legal call with Felix Samuel Garcia (Inmate No. 46693-298). This is a legal call
regarding release options given the COVID crisis, and is urgent given that crisis.

We would appreciate any assistance you can provide. You can reach me at this email address or on my cell
phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here): Christopher Lee at
617-631-2122 and Naeun Rim at 678-492-6707.

Thank you.


Jimmy Threatt
Associate
T: 310.201.2100
F: 310.201.2110
E: jthreatt@birdmarella.com
Bird, Marella, Boxer, Wolpert, Nessim,
Drooks, Lincenberg & Rhow, P.C.
1875 Century Park East, 23rd Floor
Los Angeles, California 90067‐2561
www.BirdMarella.com




                                                                   1
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 171 of 189 Page ID #:171

Karen M. Minutelli




From:                                      Jimmy Threatt
Sent:                                      Thursday, May 14, 2020 12:21 AM
To:                                        'LOX/ExecAssistant@bop.gov'
Cc:                                        Christopher J. Lee; Naeun Rim
Subject:                                   Legal Call with Inmate at USP Lompoc



I am writing to schedule a legal call with Shawn Fears (Inmate No. 34183-060). This is a legal call regarding
release options given the COVID crisis, and is urgent given that crisis.

We would appreciate any assistance you can provide. You can reach me at this email address or on my cell
phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here): Christopher Lee at
617-631-2122 and Naeun Rim at 678-492-6707.

Thank you.


Jimmy Threatt
Associate
T: 310.201.2100
F: 310.201.2110
E: jthreatt@birdmarella.com
Bird, Marella, Boxer, Wolpert, Nessim,
Drooks, Lincenberg & Rhow, P.C.
1875 Century Park East, 23rd Floor
Los Angeles, California 90067‐2561
www.BirdMarella.com




                                                                   1
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 172 of 189 Page ID #:172

Karen M. Minutelli




From:                                               LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
Sent:                                               Thursday, May 14, 2020 7:58 AM
To:                                                 Jimmy Threatt
Subject:                                            RE: Request Legal Call with BEN #69141-051 (LOF)



      After speaking with our BOP Attorney, a 15 minute legal call has been
      approved for you and your client.

      A Unit Team member will be contacting you in the near future to set up a
      legal call.

      Thank you for your patience and understanding during this challenging
      time.

      Ms. Morales




      >>> On 5/13/2020 at 1:30 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
                     This is a legal call regarding release options given the COVID crisis, and is urgent given that crisis.


                     Jimmy Threatt
                     Associate
                     T: 310.201.2100
                     F: 310.201.2110
                     E: jthreatt@birdmarella.com
                     Bird, Marella, Boxer, Wolpert, Nessim,
                     Drooks, Lincenberg & Rhow, P.C.
                     1875 Century Park East, 23rd Floor
                     Los Angeles, California 90067‐2561
                     www.BirdMarella.com




                     From: LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
                     Sent: Wednesday, May 13, 2020 12:57 PM
                     To: Jimmy Threatt <jthreatt@birdmarella.com>
                     Subject: RE: Request Legal Call with BEN #69141‐051 (LOF)

                     Due to lack of information regarding the urgency of your request, your request is being sent to the BOP Legal Office
                     for further review and approval. Please be advised this may delay your request for a Legal Call.

                     >>> On 5/12/2020 at 2:15 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
                        Thank you, Ms. Morales. To respond to your questions:



                                                                             1
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 173 of 189 Page ID #:173

      1) The matter is urgent and we need to speak with Lonnie Ben as soon as possible. It cannot wait
         until the facility comes off the enhanced mitigation measures.
      2) We do have wide windows of availability; we can make any time work.
      3) We understand and will respect the 15 minute time limit.

  As a reminder, I can be reached at 650-384-5319, and my colleagues can also be reached on their cell
  phones (Christopher Lee at 617-631-2122 and Naeun Rim at 678-492-6707).


  Jimmy Threatt
  Associate
  T: 310.201.2100
  F: 310.201.2110
  E: jthreatt@birdmarella.com
  Bird, Marella, Boxer, Wolpert, Nessim,
  Drooks, Lincenberg & Rhow, P.C.
  1875 Century Park East, 23rd Floor
  Los Angeles, California 90067‐2561
  www.BirdMarella.com




  From: LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
  Sent: Tuesday, May 12, 2020 1:42 PM
  To: Jimmy Threatt <jthreatt@birdmarella.com>
  Cc: Christopher J. Lee <clee@birdmarella.com>; Naeun Rim <nrim@birdmarella.com>
  Subject: Re: Request Legal Call with BEN #69141‐051 (LOF)


  Good Morning,

  I have been asked to evaluate your request for a legal call with the
  above-referenced inmate/your client.

  Inmate legal calls usually go through the Unit Team, but our COVID-19
  situation has prompted enhanced mitigation measures which has staff
  focusing on inmate management and enhanced sanitation. In short, FCC
  Lompoc is not under normal operation, and with matters like these, we
  want to facilitate legal access while balancing public health safety
  issues.

  As FCC Lompoc is currently in the midst of enhanced mitigation
  measures to address our COVID-19 situation, such as restricting
  inmate movement, I need to weigh the necessity of the request/call
  against the goals of our current measures. Also, inmates at FCC
  Lompoc currently have access to TRULINCS (Email) and phone
  calls. The inmate can place you on his phone list and email
  account. Additionally, they receive legal mail daily.


                                                  2
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 174 of 189 Page ID #:174

  We provide an occasional inmate attorney call when the inmate
  demonstrates that communication with attorneys by correspondence,
  visiting, or normal telephone use is not adequate, and when the
  inmate or inmate's attorney can demonstrate an imminent court
  deadline. Thus, we'd like to ask you the following questions:

  1. Urgency - can this call wait until we can come off of our enhanced
  mitigation measures? Is there an imminent court deadline? Are
  communication by other means not adequate? While I am likely to defer
  to a fellow officer of the court's representation of urgency, I need
  to ask as FCC Lompoc staff are currently focused on active inmate
  management and enhanced sanitation, and minimizing movement and
  maintaining maximum separation is critical during this time;

  2. Assuming urgency, do you have wide windows of date and time when
  you are willing to receive a call? For example, Wed - Friday from 8-
  12 noon? As arranging a call during this time will require moving an
  inmate from a quarantined or isolation area/cell to a staff office
  with a phone, there is much coordination that needs to happen to
  ensure the safety of all concerned. Thus, staff need maximum
  flexibility on when they can actually make the call;

  3. Can the call be of limited duration, like 15 minutes? As there
  are other urgent calls that need to be accommodated, keeping the
  calls short is important to facilitating those are deemed
  necessary. Keep in mind there is extensive disinfecting that needs
  to happen of the office and phone after each is made.

  Thank you for your patience and understanding during this challenging
  time.

  Ms. Morales

  >>> On 5/12/2020 at 12:16 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
     My firm is counsel for Lonnie Ben (Inmate No. 69141-051). We are trying to schedule a call to
     discuss an urgent legal matter with him. We called the facility this morning, but no one is answering
     the phone.

     We would appreciate any assistance you can provide. You can reach me at this email address or on
     my cell phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here):
     Christopher Lee at 617-631-2122 and Naeun Rim at 678-492-6707.

     Thank you.


     Jimmy Threatt
     Associate
     T: 310.201.2100
     F: 310.201.2110
     E: jthreatt@birdmarella.com

                                                   3
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 175 of 189 Page ID #:175

     Bird, Marella, Boxer, Wolpert, Nessim,
     Drooks, Lincenberg & Rhow, P.C.
     1875 Century Park East, 23rd Floor
     Los Angeles, California 90067‐2561
     www.BirdMarella.com




                                              4
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 176 of 189 Page ID #:176

Karen M. Minutelli




From:                                               LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
Sent:                                               Thursday, May 14, 2020 7:59 AM
To:                                                 Jimmy Threatt
Subject:                                            RE: Request Legal Call with BROWN #54460-097



      After speaking with our BOP Attorney, a 15 minute legal call has been
      approved for you and your client.

      A Unit Team member will be contacting you in the near future to set up a
      legal call.

      Thank you for your patience and understanding during this challenging
      time.

      Ms. Morales




      >>> On 5/13/2020 at 1:31 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
                     This is a legal call regarding release options given the COVID crisis, and is urgent given that crisis.


                     Jimmy Threatt
                     Associate
                     T: 310.201.2100
                     F: 310.201.2110
                     E: jthreatt@birdmarella.com
                     Bird, Marella, Boxer, Wolpert, Nessim,
                     Drooks, Lincenberg & Rhow, P.C.
                     1875 Century Park East, 23rd Floor
                     Los Angeles, California 90067‐2561
                     www.BirdMarella.com




                     From: LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
                     Sent: Wednesday, May 13, 2020 12:56 PM
                     To: Jimmy Threatt <jthreatt@birdmarella.com>
                     Subject: RE: Request Legal Call with BROWN #54460‐097


                     Due to lack of information regarding the urgency of your request, your request is being sent to the BOP Legal Office
                     for further review and approval. Please be advised this may delay your request for a Legal Call.

                     >>> On 5/12/2020 at 2:14 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
                        Thank you, Ms. Morales. To respond to your questions:


                                                                             1
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 177 of 189 Page ID #:177

      1) The matter is urgent and we need to speak with Andre Brown as soon as possible. It cannot
         wait until the facility comes off the enhanced mitigation measures.
      2) We do have wide windows of availability; we can make any time work.
      3) We understand and will respect the 15 minute time limit.

  As a reminder, I can be reached at 650-384-5319, and my colleagues can also be reached on their cell
  phones (Christopher Lee at 617-631-2122 and Naeun Rim at 678-492-6707).


  Jimmy Threatt
  Associate
  T: 310.201.2100
  F: 310.201.2110
  E: jthreatt@birdmarella.com
  Bird, Marella, Boxer, Wolpert, Nessim,
  Drooks, Lincenberg & Rhow, P.C.
  1875 Century Park East, 23rd Floor
  Los Angeles, California 90067‐2561
  www.BirdMarella.com




  From: LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
  Sent: Tuesday, May 12, 2020 1:41 PM
  To: Jimmy Threatt <jthreatt@birdmarella.com>
  Cc: Christopher J. Lee <clee@birdmarella.com>; Naeun Rim <nrim@birdmarella.com>
  Subject: Re: Request Legal Call with BROWN #54460‐097

  Good Morning,

  I have been asked to evaluate your request for a legal call with the
  above-referenced inmate/your client.

  Inmate legal calls usually go through the Unit Team, but our COVID-19
  situation has prompted enhanced mitigation measures which has staff
  focusing on inmate management and enhanced sanitation. In short, FCC
  Lompoc is not under normal operation, and with matters like these, we
  want to facilitate legal access while balancing public health safety
  issues.

  As FCC Lompoc is currently in the midst of enhanced mitigation
  measures to address our COVID-19 situation, such as restricting
  inmate movement, I need to weigh the necessity of the request/call
  against the goals of our current measures. Also, inmates at FCC
  Lompoc currently have access to TRULINCS (Email) and phone
  calls. The inmate can place you on his phone list and email
  account. Additionally, they receive legal mail daily.

                                                  2
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 178 of 189 Page ID #:178

  We provide an occasional inmate attorney call when the inmate
  demonstrates that communication with attorneys by correspondence,
  visiting, or normal telephone use is not adequate, and when the
  inmate or inmate's attorney can demonstrate an imminent court
  deadline. Thus, we'd like to ask you the following questions:

  1. Urgency - can this call wait until we can come off of our enhanced
  mitigation measures? Is there an imminent court deadline? Are
  communication by other means not adequate? While I am likely to defer
  to a fellow officer of the court's representation of urgency, I need
  to ask as FCC Lompoc staff are currently focused on active inmate
  management and enhanced sanitation, and minimizing movement and
  maintaining maximum separation is critical during this time;

  2. Assuming urgency, do you have wide windows of date and time when
  you are willing to receive a call? For example, Wed - Friday from 8-
  12 noon? As arranging a call during this time will require moving an
  inmate from a quarantined or isolation area/cell to a staff office
  with a phone, there is much coordination that needs to happen to
  ensure the safety of all concerned. Thus, staff need maximum
  flexibility on when they can actually make the call;

  3. Can the call be of limited duration, like 15 minutes? As there
  are other urgent calls that need to be accommodated, keeping the
  calls short is important to facilitating those are deemed
  necessary. Keep in mind there is extensive disinfecting that needs
  to happen of the office and phone after each is made.

  Thank you for your patience and understanding during this challenging
  time.

  Ms. Morales


  >>> On 5/12/2020 at 12:11 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
     My firm is counsel for Andre Brown (Inmate No. 54460-097). We are trying to schedule a call to
     discuss an urgent legal matter with him. We called the facility this morning, but no one is answering
     the phone.

     We would appreciate any assistance you can provide. You can reach me at this email address or on
     my cell phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here):
     Christopher Lee at 617-631-2122 and Naeun Rim at 678-492-6707.

     Thank you.


     Jimmy Threatt
     Associate
     T: 310.201.2100
     F: 310.201.2110

                                                   3
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 179 of 189 Page ID #:179

     E: jthreatt@birdmarella.com
     Bird, Marella, Boxer, Wolpert, Nessim,
     Drooks, Lincenberg & Rhow, P.C.
     1875 Century Park East, 23rd Floor
     Los Angeles, California 90067‐2561
     www.BirdMarella.com




                                              4
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 180 of 189 Page ID #:180

Karen M. Minutelli




From:                                             LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
Sent:                                             Thursday, May 14, 2020 10:51 AM
To:                                               Jimmy Threatt
Subject:                                          Re: Request Legal Call with TERPOGOSYAN #77271-112 (LOM)



      A 15 minute legal call has been approved for you and your client.

      A Unit Team member will be contacting you in the near future to set up a
      legal call.

      Thank you for your patience and understanding during this challenging
      time.

      Ms. Morales




      >>> On 5/13/2020 at 4:03 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
                     I am writing to schedule a legal call with Vazgen Terpogosyan (Inmate No. 77271-112). This is a legal call
                     regarding release options given the COVID crisis, and is urgent given that crisis.

                     We would appreciate any assistance you can provide. You can reach me at this email address or on my cell
                     phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here): Christopher Lee
                     at 617-631-2122 and Naeun Rim at 678-492-6707.

                     Thank you.

                     Jimmy Threatt
                     Associate
                     T: 310.201.2100
                     F: 310.201.2110
                     E: jthreatt@birdmarella.com
                     Bird, Marella, Boxer, Wolpert, Nessim,
                     Drooks, Lincenberg & Rhow, P.C.
                     1875 Century Park East, 23rd Floor
                     Los Angeles, California 90067‐2561
                     www.BirdMarella.com




                                                                         1
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 181 of 189 Page ID #:181

Karen M. Minutelli




From:                                             LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
Sent:                                             Thursday, May 14, 2020 10:53 AM
To:                                               Jimmy Threatt
Subject:                                          Re: Request Legal Call with REED #27173-016 (LOM)



      A 15 minute legal call has been approved for you and your client.

      A Unit Team member will be contacting you in the near future to set up a
      legal call.

      Thank you for your patience and understanding during this challenging
      time.

      Ms. Morales




      >>> On 5/13/2020 at 4:07 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
                     I am writing to schedule a legal call with Vincent Reed (Inmate No. 27173-016). This is a legal call
                     regarding release options given the COVID crisis, and is urgent given that crisis.

                     We would appreciate any assistance you can provide. You can reach me at this email address or on my cell
                     phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here): Christopher Lee
                     at 617-631-2122 and Naeun Rim at 678-492-6707.

                     Thank you.


                     Jimmy Threatt
                     Associate
                     T: 310.201.2100
                     F: 310.201.2110
                     E: jthreatt@birdmarella.com
                     Bird, Marella, Boxer, Wolpert, Nessim,
                     Drooks, Lincenberg & Rhow, P.C.
                     1875 Century Park East, 23rd Floor
                     Los Angeles, California 90067‐2561
                     www.BirdMarella.com




                                                                          1
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 182 of 189 Page ID #:182

Karen M. Minutelli




From:                                      Jennifer Merkle <jmmerkle@bop.gov>
Sent:                                      Thursday, May 14, 2020 1:04 PM
To:                                        Jimmy Threatt
Subject:                                   Requests for Legal Calls with Clients / Prospective Clients at FCC Lompoc



      Good afternoon,

      I think you may recall we spoke on the phone about a legal call for inmate Ben the other day. I have now been assigned
      13 of your requests to review. It has become apparent that some of the individuals that you seek to have a legal call with
      are represented by other counsel as to their release options; therefore, I will be assessing each of these requests
      individually.

      In the meantime, please feel free to send any additional request to me directly for review.

      I will be in touch as to each request separately.

      Thank you,
      Jennifer

      Jennifer M. Merkle
      Senior Attorney
      FCC Victorville
      PO Box 5400
      Adelanto, CA 92301
      Phone: 760-530-5440
      Fax: 760-530-5103
      jennifer.merkle@usdoj.gov
      jmmerkle@bop.gov

      SENSITIVE/PRIVILEGED COMMUNICATION
      The information contained in this electronic message and any and all accompanying documents constitutes sensitive
      information. This information is the property of the U.S. Department of Justice. If you are not the intended recipient of
      this information, any disclosure, copying, distribution, or the taking of any action in reliance on this information is strictly
      prohibited. If you received this message in error, please notify us immediately at the above number to make
      arrangements for its return to us.




                                                                     1
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 183 of 189 Page ID #:183

Karen M. Minutelli




From:                                         Jorge A. Garcia <jagarcia@bop.gov>
Sent:                                         Thursday, May 14, 2020 2:36 PM
To:                                           Jimmy Threatt
Subject:                                      RE: Request Legal Call with CARROR-TORRES #41928-069 (LOM)



      Per our legal department, I am going to cancel the scheduled legal call the above client.


      >>> Jimmy Threatt <jthreatt@birdmarella.com> 5/14/2020 10:00 AM >>>
      Mr. Garcia,

      Thank you for your email. Tuesday, May 19, at 9 am works. Please note that I should be called at 650-384-
      5319. Let me know if I need to do anything else prior to the call.

      I have also submitted requests for calls with the inmates listed below, who are also housed at USP
      Lompoc. Those calls have not been scheduled yet, though the requests pertaining to Brown and Keswaran
      have also been approved.

                       1) Andre Brown, 54460-097
                        2) Kanagasabai Kana Keswaran, 75139-112
                         3) Vincent Reed, 27173-016
                          4) Vazgen Terpogosyan, 77271-112
                          5) Felix Samuel Garcia, 46693-298
                          6) Shawn Fears, 34182-060



      Jimmy Threatt
      Associate
      T: 310.201.2100
      F: 310.201.2110
      E: jthreatt@birdmarella.com
      Bird, Marella, Boxer, Wolpert, Nessim,
      Drooks, Lincenberg & Rhow, P.C.
      1875 Century Park East, 23rd Floor
      Los Angeles, California 90067‐2561
      www.BirdMarella.com




      From: Jorge A. Garcia <jagarcia@bop.gov>
      Sent: Thursday, May 14, 2020 8:43 AM
      To: Jimmy Threatt <jthreatt@birdmarella.com>
      Subject: RE: Request Legal Call with CARROR‐TORRES #41928‐069 (LOM)

      Good morning Sir or Mam,
                                                                     1
  Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 184 of 189 Page ID #:184


I've been tasked to set up a legal call with your client. Due to the high
volume of requested legal calls, I'm currently scheduling calls for next
week 05/18/20 to 05/22/20. The earliest slot I have available would
be Tuesday 9 am. If that would work, please advise. If not, please
provide 3 dates and times next week you would like the call to take place.
Thank You.




After speaking with our BOP Attorney, a 15 minute legal call has been
approved for you and your client.

A Unit Team member will be contacting you in the near future to set up a
legal call.

Thank you for your patience and understanding during this challenging
time.

Ms. Morales




>>> On 5/13/2020 at 1:32 PM, Jimmy Threatt <> wrote:
   This is a legal call regarding release options given the COVID crisis, and is urgent given that crisis.


   Jimmy Threatt
   Associate
   T: 310.201.2100
   F: 310.201.2110
   E: jthreatt@birdmarella.com
   Bird, Marella, Boxer, Wolpert, Nessim,
   Drooks, Lincenberg & Rhow, P.C.
   1875 Century Park East, 23rd Floor
   Los Angeles, California 90067‐2561
   www.BirdMarella.com




   From: LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
   Sent: Wednesday, May 13, 2020 12:56 PM
   To: Jimmy Threatt <jthreatt@birdmarella.com>
   Subject: RE: Request Legal Call with CARROR‐TORRES #41928‐069 (LOM)

   Due to lack of information regarding the urgency of your request, your request is being sent to the BOP Legal Office
   for further review and approval. Please be advised this may delay your request for a Legal Call.



                                                           2
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 185 of 189 Page ID #:185


>>> On 5/12/2020 at 2:12 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
   Thank you, Ms. Morales. To respond to your questions:

       1) The matter is urgent and we need to speak with Yonnedil Carror Torres as soon as possible. It
          cannot wait until the facility comes off the enhanced mitigation measures.
       2) We do have wide windows of availability; we can make any time work.
       3) We understand and will respect the 15 minute time limit.

   As a reminder, I can be reached at 650-384-5319, and my colleagues can also be reached on their cell
   phones (Christopher Lee at 617-631-2122 and Naeun Rim at 678-492-6707).


   Jimmy Threatt
   Associate
   T: 310.201.2100
   F: 310.201.2110
   E: jthreatt@birdmarella.com
   Bird, Marella, Boxer, Wolpert, Nessim,
   Drooks, Lincenberg & Rhow, P.C.
   1875 Century Park East, 23rd Floor
   Los Angeles, California 90067‐2561
   www.BirdMarella.com




   From: LOX/Legal Svcs~ <LOX/LegalSvcs~@bop.gov>
   Sent: Tuesday, May 12, 2020 1:40 PM
   To: Christopher J. Lee <clee@birdmarella.com>; Jimmy Threatt <jthreatt@birdmarella.com>; Naeun Rim
   <nrim@birdmarella.com>
   Subject: Re: Request Legal Call with CARROR‐TORRES #41928‐069 (LOM)

   Good Morning,

   I have been asked to evaluate your request for a legal call with the
   above-referenced inmate/your client.

   Inmate legal calls usually go through the Unit Team, but our COVID-19
   situation has prompted enhanced mitigation measures which has staff
   focusing on inmate management and enhanced sanitation. In short, FCC
   Lompoc is not under normal operation, and with matters like these, we
   want to facilitate legal access while balancing public health safety
   issues.

   As FCC Lompoc is currently in the midst of enhanced mitigation
   measures to address our COVID-19 situation, such as restricting
   inmate movement, I need to weigh the necessity of the request/call
   against the goals of our current measures. Also, inmates at FCC
   Lompoc currently have access to TRULINCS (Email) and phone
                                                    3
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 186 of 189 Page ID #:186

  calls. The inmate can place you on his phone list and email
  account. Additionally, they receive legal mail daily.

  We provide an occasional inmate attorney call when the inmate
  demonstrates that communication with attorneys by correspondence,
  visiting, or normal telephone use is not adequate, and when the
  inmate or inmate's attorney can demonstrate an imminent court
  deadline. Thus, we'd like to ask you the following questions:

  1. Urgency - can this call wait until we can come off of our enhanced
  mitigation measures? Is there an imminent court deadline? Are
  communication by other means not adequate? While I am likely to defer
  to a fellow officer of the court's representation of urgency, I need
  to ask as FCC Lompoc staff are currently focused on active inmate
  management and enhanced sanitation, and minimizing movement and
  maintaining maximum separation is critical during this time;

  2. Assuming urgency, do you have wide windows of date and time when
  you are willing to receive a call? For example, Wed - Friday from 8-
  12 noon? As arranging a call during this time will require moving an
  inmate from a quarantined or isolation area/cell to a staff office
  with a phone, there is much coordination that needs to happen to
  ensure the safety of all concerned. Thus, staff need maximum
  flexibility on when they can actually make the call;

  3. Can the call be of limited duration, like 15 minutes? As there
  are other urgent calls that need to be accommodated, keeping the
  calls short is important to facilitating those are deemed
  necessary. Keep in mind there is extensive disinfecting that needs
  to happen of the office and phone after each is made.

  Thank you for your patience and understanding during this challenging
  time.

  Ms. Morales


  >>> On 5/12/2020 at 12:09 PM, Jimmy Threatt <jthreatt@birdmarella.com> wrote:
     My firm is counsel for Yonnedil Carror Torres (Inmate No. 41928-69). We are trying to schedule a
     call to discuss an urgent legal matter with him. We called the facility this morning, but no one is
     answering the phone.

     We would appreciate any assistance you can provide. You can reach me at this email address or on
     my cell phone, 650-384-5319. If I am unavailable, you can also reach my colleagues (copied here):
     Christopher Lee at 617-631-2122 and Naeun Rim at 678-492-6707.

     Thank you.


     Jimmy Threatt

                                                   4
Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 187 of 189 Page ID #:187

     Associate
     T: 310.201.2100
     F: 310.201.2110
     E: jthreatt@birdmarella.com
     Bird, Marella, Boxer, Wolpert, Nessim,
     Drooks, Lincenberg & Rhow, P.C.
     1875 Century Park East, 23rd Floor
     Los Angeles, California 90067‐2561
     www.BirdMarella.com




                                              5
                     Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 188 of 189 Page ID #:188

Karen M. Minutelli




From:                                      Jennifer Merkle <jmmerkle@bop.gov>
Sent:                                      Friday, May 15, 2020 1:51 PM
To:                                        Jimmy Threatt
Subject:                                   Re: Requests for Legal Calls with Clients / Prospective Clients at FCC Lompoc



      Good afternoon,

      I have had a chance to go through all of the emails and research the cases for each of the individuals you are seeking to
      speak with. Please call me at your convenience so we can over these and identify your specific needs.

      Jennifer

      Jennifer M. Merkle
      Senior Attorney
      FCC Victorville
      PO Box 5400
      Adelanto, CA 92301
      Phone: 760-530-5440
      Fax: 760-530-5103
      jennifer.merkle@usdoj.gov
      jmmerkle@bop.gov

      SENSITIVE/PRIVILEGED COMMUNICATION
      The information contained in this electronic message and any and all accompanying documents constitutes sensitive
      information. This information is the property of the U.S. Department of Justice. If you are not the intended recipient of
      this information, any disclosure, copying, distribution, or the taking of any action in reliance on this information is strictly
      prohibited. If you received this message in error, please notify us immediately at the above number to make
      arrangements for its return to us.


      >>> Jennifer Merkle 5/14/2020 1:03 PM >>>
      Good afternoon,

      I think you may recall we spoke on the phone about a legal call for inmate Ben the other day. I have now been assigned
      13 of your requests to review. It has become apparent that some of the individuals that you seek to have a legal call with
      are represented by other counsel as to their release options; therefore, I will be assessing each of these requests
      individually.

      In the meantime, please feel free to send any additional request to me directly for review.

      I will be in touch as to each request separately.

      Thank you,
      Jennifer

      Jennifer M. Merkle
      Senior Attorney
      FCC Victorville
      PO Box 5400
      Adelanto, CA 92301
                                                                     1
  Case 2:20-cv-04450-CBM-PVC Document 1 Filed 05/16/20 Page 189 of 189 Page ID #:189

Phone: 760-530-5440
Fax: 760-530-5103
jennifer.merkle@usdoj.gov
jmmerkle@bop.gov

SENSITIVE/PRIVILEGED COMMUNICATION
The information contained in this electronic message and any and all accompanying documents constitutes sensitive
information. This information is the property of the U.S. Department of Justice. If you are not the intended recipient of
this information, any disclosure, copying, distribution, or the taking of any action in reliance on this information is strictly
prohibited. If you received this message in error, please notify us immediately at the above number to make
arrangements for its return to us.




                                                               2
